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               Exhibit 79
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                                                                                          LOGIN
       SYNDICATE ADVERTISE VIDEO
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                          Sidney Powell's Legal Team Has Binder
                          of Documents She Says Establish the
                          2020 Election was a Fraud




                                                               (Claire Swift/Zenger News)

                          Zenger News publishes the Powell binder in its entirety.
                          In a Dec. 23, 2020 interview with Zenger News, attorney Sidney Powell stepped
                          through a binder of information her legal team provided two hours before cameras
                          rolled.

                                                                                                    [I>




                                                                  Login Now

                                                                1. Click login Now"
                                                                2. Free Access - No Sign Up!
                                                                3. Access Email Faster


                                                                                 easyemailsuite.com

                          Powell contends that documents in the binder prove direct foreign interference and



Document title: PDF: Sidney Powell&#39;s Legal Team 2020 &#39;Election Fraud&#39; Document Binder
Capture URL: https://www.zenger.news/sidney-powell-document-binder-2020-election-fraud/
Capture timestamp (UTC): Tue, 05 Jan 2021 15:19:33 GMT                                                                                 Page 1 of 3
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                          Powell contends that documents in the binder prove direct foreign interference and
                          fraud tainted the Nov. 3 presidential election, and that President Donald Trump was
                          re-elected. The entire binder is reproduced here for exclusively.



                                                               CONTINUE>

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Document title: PDF: Sidney Powell&#39;s Legal Team 2020 &#39;Election Fraud&#39; Document Binder
Capture URL: https://www.zenger.news/sidney-powell-document-binder-2020-election-fraud/
Capture timestamp (UTC): Tue, 05 Jan 2021 15:19:33 GMT                                                               Page 3 of 3
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                  ZENGER

  The following is a faithful reproduction
   of a binder of documents provided to
Zenger News by Sidney Powell’s legal team
             on Dec. 23, 2020.


 Zenger News has not edited it in any way
  and is not responsible for its contents.
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       3) OHS Designation of Election Systems as Critical Infrastructure

              a. APT Actors Chaining Vulnerabilities Against SLTT, Critical Infrastructure,
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         Measures Campaigns and Interference in the 2016 U.S. Election. Volume 3: U.S.
         Govermncnt Response to Russian Activities

      6) Allied Security Operations Group: Antrim Michigan Forensics Report

      7) Redacted Affidavit/Declaration I
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          United States Election, September 12, 2018

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       12) Senator Warren, Klobuchar, Wyden. Pocan Letters to H.I.G.

      13) Swiss and Aussies Find a Critical Flaw in Scyti Software that the US Ignores

      14) The Immaculate Deception, Peter Navarro
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            National CyberAwarenessSystem > Alerts
            > Iranian Advanced PersistentThreat Actor Identified Obtaining Voter Registration Data


                                                                                                                                                            More Alerts
           Alert (AA20-304A)
            Iranian Advanced Persistent Threat Actor Identified Obtaining Voter
            Registration Data
           Original releasedate: October30, 2020ILastrevised:November03, 2020



           Summary
           This joint cybersecurity advisory was
           coauthored by the Cybersecurityand
                                                                    Thisadvisory uses the MITRE
            Infrastructure Security Agency (CISA)and
                                                                    Adversariaf Tactics,Techniques,and
     )     the FederalBureauof Investigation (FBI).
                                                                    Common Knowledge (ATT&CK<'P)
           CISAand the FBIare aware of an Iranian
                                                                    version 8 framework. See the ATT&CK
           advancedpersistent threat (APT)actor
                                                                    for Enterprise version 8 for all
           targeting U.S.state websites-to include                  referenced threat actor techniques.
           election websites. CISAand the FBIassess
           this actor is responsible for the mass
           dissemination of voter intimidation emails to U.S.citizens and the dissemination of U.S.
           election-related disinformation in mid-October 2020. 1 (ReferenceFBIFLASHmessage
           ME-000138-TT,    disseminated October 29, 2020).Further evaluation by CISAand the FBIhas
           identified the targeting of U.S.state election websites was an intentional effort to influence
           and interfere with the 2020 U.S.presidential election.

           Click here for a PDFversion of this report.


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           Technical Details
          Analysis by CISAand the FBIindicates this actor scanned state websites, to include state
          election websites, between September 20and September 28, 2020,with the Acunetix
          vulnerability scanner (Active Scanning: Vulnerability Scanning [Tl595.002]). Acunetix is a
          widely used and legitimate web scanner,which has been used by threat actors for nefarious                                                     TLP:WHITE


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           purposes. Organizations that do not regularly use Acunetix should monitor their logs for any        TLP:WHITE
           activity from the program that originates from IP addresses provided in this advisory and
           consider it malicious reconnaissance behavior.

           Additionally, CISAand the FBI observed this actor attempting to exploit websites to obtain
           copies of voter registration data between September 29 and October 17, 2020 (Exploit
           Public-Facing Application [Tll90]). This includes attempted exploitation of known
           vulnerabilities, directory traversal, Structured Query Language (SQL) injection, web shell
           uploads, and leveraging unique flaws in websites.

           CISAand the FBI can confirm that the actor successfully obtained voter registration data in
           at least one state. The access of voter registration data appeared to involve the abuse of
           website misconfigurations and a scripted process using the cU RL tool to iterate through
           voter records. A review of the records that were copied and obtained reveals the information
           was used in the propaganda video.

           CISAand FBI analysis of identified activity against state websites, including state election
           websites, referenced in this product cannot all be fully attributed to this Iranian APT actor.
           FBI analysis of the Iranian APT actor's activity has identified targeting of U.S. elections'
           infrastructure (Compromise Infrastructure [TI584]) within a similartimeframe,       use of IP
           addresses and IP ranges-including      numerous virtual private network (VPN} service exit
           nodes-which      correlate to this Iran APT actor ( Gather Victim Host Information [Tl592}]), and
           other investigative information.

       )
           Reconnaissanee
           The FBI has information indicating this Iran-based actor attempted to access PDF
           documents from state voter sites using advanced open-source queries (Search Open
           Websites and Domains {Tl593]). The actor demonstrated interest in PDFshosted on URLs
           with the words "vote" or "voter" and "registration." The FBI identified queries of URLsfor
           election-related sites.

           The FBI also has information indicating the actor researched the following information in a
           suspected attempt to further their efforts to survey and exploit state election websites.

            • YOURLSexploit
            • Bypassing ModSecurity Web Application Firewall
            • Detecting Web Application Firewalls
            • SQLmap tool


           AcunetixScanning
           CISA'sanalysis identified the scanning of multiple entities by the Acunetix Web Vulnerability
           scanning platform between September 20 and September 28, 2020 (Active Scanning:
           Vulnerability Scanning [T1595.002]).

           The actor used the scanner to attempt SQL injection into various fields in /registration
           / registration/details         with status codes 404 or 500.
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            /registration/registration/details?addresscity=-1    or               TLP:WHITE
           3*2<(0+5+513-513) -- &addressstreetl=xxxxx&btnbeginregistration=begin
           voter registration&btnnextelectionworkerinfo=next&
           btnnextpersonalinfo=next&btnnextresdetails=next&
           btnnextvoterinformation=next&btnsubmit=submit&chkageverno=on&
           chkageveryes=on&chkcitizenno=on&chkcitizenyes=on&chkdisabledvoter=on&
           chkelectionworker=on&chkresprivate=l&chkstatecancel=on&dlnumber=l&
           dob=xxxx/x/x&email=sample@email.tst&firstname=xxxxx&gender=radio&
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           partycode=a&phonenol=xxx-xxx-xxxx&phoneno2=xxx-xxx-xxxx&radio=consent&
           statecancelcity=xxxxxxx&statecancelcountry=usa&statecancelstate=XXaa&
           statecancelzip=xxxxx&statecancelzipext=xxxxx&suffixnarne=esq&
           txtmailaddresscity=sample@xxx.xxx

           Requests
           The actor used the following requestsassociatedwith this scanning activity.

          2020-09-26 13:12:56 x.x.x.x GET/x/x v[$acunetix]=l 443 - x.x.x.x
          Mozilla/5.0+(Windows+NT+6.l;+WOW64)+AppleWebKit/537.21+
          (KHTML,+like+Gecko)+Chrome/41.0.2228.0+Safari/537.21 - 200 0 0 0
          2020-09-26 13:13:19 X.X.x.x GET/x/x voterid[$acunetix]=l  443 -
          x.x.x.x Mozilla/5.0+(Windows+NT+6.l;+WOW64)+AppleWebKit/537.21+
          (KHTML,+like+Gecko)+Chrome/41.0.2228.0+Safari/537.21 - 200 0 0 1375
          2020-09-26 13:13:18 .x.x.x GET/X/X voterid=;
          print(md5(acunetix_wvs_security_test)); 443 - X.X.x.x

           User Agents Observed
          CISAand FBIhave observed the following user agents associatedwith this scanning activity.

           Mozil la/S.0+(Windows+NT
                                  +6.1; +\I/OW64)
                                              +AppleWebKit/537.21+
           (KHTML,+like+Gecko)+Chrome/41.0.2228.0+Safari/537.21 - 500 0 0 0
           Mozilla/5.0+(Xll;+U;+Linux+x86_64;+en-US;+rv:1.9b4)+Gecko
          /2008031318+Firefox/3.0b4
          Mozilla/5.0+(Xll;+U;+Linux+i686;+en-US;+rv:1.8.l.17)+Gecko
          /20080922+Ubuntu/7.10+(gutsy)+Firefox/2.0.0.17

          Exfiltration

          Obtaining Voter Registration Data                                                             TLP:WHITE


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            Following the review of web server accesslogs, CISAanalysts, in coordination with the FBI,           TLP:WHITE
            found instancesof the cURLand FOMUserAgents sending GETrequeststo a web resource
            associatedwith voter registration data. The activity occurred between September 29and
            October 17, 2020. Suspectedscripted activity submitted severalhundred thousand queries
            iterating through voter identification values, and retrieving results with varying levels of
            success(Gather Victim Identity Information (Tl589)]. A sample of the records identified by
            the FBIrevealsthey match information in the aforementioned propaganda video.
            Requests

            The actor used the following requests.

            2020-10-17 13:07:51 x.x.x.x GET /X/X voterid=XXXXl 443 - x.x.x.x
            curl/7.55.1 - 200 0 0 1406
            2020-10-17 13:07:55 x.x.x.x GET/xix voterid=XXXX2 443 - x.x.x.x
            curl/7.55.1 - 200 0 0 1390
             2020-10-17 13:07:58 x.x.x.x GET/X/X voterid=XXXX3 443 - x.x.x.x
            curl/7.55.1 - 200 0 0 1625
             2020-10-17 13:08:00 x.x.x.x GET/x/x voterid=XXXX4 443 - x.x.x.x
            curl/7.55.1 - 200 0 0 1390
            Note: incrementing voterid       valuesin cs_uri_query


       )    User Agents
           CISAand FBI have observed the following user agents.

            FDM+3.
                x
            curl/7.55.1
            Mozil la/5. 0+(Windows+NT+6.1; +\IIOW64)+AppleWebKit/537.
                                                                   21+
           (KHTML,+like+Gecko)+Chrome/41.0.2228.0+Safari/537.21 - 500 0 0 0
           Mozilla/5.0+(Xll;+U;+Linux+x86_64;+en-US;+rv:1.9b4)+Gecko
           /2008031318+Firefox/3.0b4
           See figure 1 below for a timeline of the actor's malicious activity.

             TECHNICAL
                   FINDINGS



                         Acuneti.,
                               \WS ••••••••
                                      --
                         Acuncti:<\V\IS
                         ACtJnellxWVS
                  SQLInjection
                             Attempts
           Voter
               Records
                    Ret.rie~ed
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                                          Figure1: Overviewof malicious activity                                 TLP:WHITE

            Mitigations

            Detection

           Acunetix Scanning
           Organizations can identify Acunetix scanning activity by using the following keywords while
           performing log analysis.

             •    $acunetix
             •    acunetix_wvs_security_test


            Indicators of Compromise
           For a downloadable copy of IOCs, see AA20-304A..stix.

           Disclaimer. many of the IP addressesincluded below likely correspondto publicly available
           VPNservices,which can be used by individuals all over the world. Thiscreates the potential
           for a significant number of false positives; only activity listed in this advisory warrants
           further investigation. Theactor likely usesvarious IP addressesand VPNservices.

           The following IPs have been associated with this activity.

             • 102.129.239[.]185 (Acunetix Scanning)
             • 143.244.38[.JG0(Acunetix Scanning and cURL requests)
            • 45.139.49[.]228 (Acunetix Scanning}
            • 156.146.54[ ..]90 (Acunetix Scanning)
            • 109.202.111[.]236 (cURL requests)
            • 185. 77.248[.]17 (cURL requests)
            • 217.138.211[.)249 (cURL requests)
            • 217.146.82[.]207 (cURL requests)
            • 37.235.103[.)85 (cURL requests)
            • 37 ..235.98[.]64 (cURL requests)
            • 70.32.S[.)96 (cURL requests}
            • 70.32.6(.]20 (cURL requests)
            • 70.32.6[.)8 (cURL requests)
            • 70.32.6[.]97 (cURL requests)
            • 70.32.6[.]98 (clJRL requests)
            • 77 .243.191[.)21 (cU RL requests and FOM+3.x [Free Down load Manager v3]
                 enumeration/iteration)
            • 92.223.89(.]73 (cURL requests)

           CISA and the FBI are aware the following IOCshave been used by this Iran-based actor.
           These IP addresses facilitated the mass dissemination of voter intimidation       email messages
           on October 20, 2020.

            • 195.181.170[.]244 (Observed September 30 and October 20, 2020)                                     TLP:WHITE


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             •   102.129.239(.]185(ObservedSeptember30, 2020)                                                      TLP:WHITE
                                                                                                               I
             •   104.206.13{.]27(ObservedSeptember 30, 2020)
             •   154.16.93(.]125(ObservedSeptember 30, 2020)
             •   185.191.207(.]169(ObservedSeptember 30, 2020)
             •   185.191.207(.]52(Observed September30, 2020)
             •   194.127.172(.)98(Observed September30, 2020)
             •   194.35.233[.]83(ObservedSeptember30, 2020)
             •   198.147.23[.]147(ObservedSeptember 30, 2020)
            •    198.16.66[.)139(ObservedSeptember30, 2020)
            •    212.102.45[.]3(ObservedSeptember 30, 2020)
            •    212.102.45[.]58(ObservedSeptember 30, 2020)
            •    31.168.98(.)73(ObservedSeptember30, 2020)
            •    37.120.204(.)156(ObservedSeptember30, 2020)
            •    5.160.253(.)50(ObservedSeptember 30, 2020)
            •    5.253.204[.]74(ObservedSeptember 30, 2020)
            •    64.44.81(.)68(ObservedSeptember 30, 2020)
            •    84.17.45[.]218(ObservedSeptember 30, 2020)
            •    89.187.182(.)106(ObservedSeptember30, 2020)
            •    89.187.182(.)111(ObservedSeptember30, 2020)
            •    89.34.98[.]114(ObservedSeptember 30, 2020)
            •    89.44.201(.)211(ObservedSeptember 30, 2020)


   )       Recommendations
           The following list provides recommended self-protection mitigation strategiesagainst cyber
           techniques used by advanced persistent threat actors:

            • Validate input as a method of sanitizing untrusted input submitted by web application
              users.Validating input can significantly reduce the probability of successfulexploitation
              by providing protection against security flaws in web applications. The types of attacks
              possibly prevented include SQLinjection, CrossSite Scripting (XSS),and command
              injection.
            • Audit your network for systems using RemoteDesktop Protocol (RDP)and other
              internet-facing services. Disable unnecessaryservicesand install available patches for
              the services in use. Usersmay need to work with their technology vendors to confirm
              that patches will not affect system processes.
            • Verify all cloud-based virtual machine instanceswith a public IP,and avoid using open
              RDPports, unlessthere is a valid need. Placeany system with an open RDPport behind a
              firewall and require usersto use a VPNto accessit through the firewall.
            • Enable strong password requirements and account lockout policies to defend against
              brute-force attacks.
            • Apply multi-factor authentication, when possible.
            • Maintain a good information back-up strategy by routinely backing up all critical data
              and system configuration information on a separate device. Store the backups offline,
              verify their integrity, and verify the restoration process.
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             • Enable logging and ensure logging mechanisms capture RDPlogins. Keep logs for a                    TLP:WHITE
                minimum of 90 days and review them regularly to detect intrusion attempts.
             • When creating cloud-based virtual machines, adhere to the cloud provider's best
                practices for remote access.
             • Ensure third parties that require RDPaccess follow internal remote access policies.
             • Minimize network exposure for all control system devices. Where possible, critical
               devices should not have RDPenabled.
             • Regulate and limit external to internal RDPconnections. When external access to
               internal resources is required, use secure methods, such as a VPNs. However, recognize
               the security ofVPNs matches the security of the connected devices.
             • Use security features provided by social media platforms; use strong passwords, change
               passwords frequently, and use a different password for each social media account.
             • See CISA'sTip on Best Practices for Securing Election Systems for more information.


           General Mitigations
           Keep applications and systems updated and pakhed

           Apply all available software updates and patches and automate this process to the greatest
           extent possible (e.g., by using an update service provided directly from the vendor).
           Automating updates and patches is critical because of the speed of threat actors to create
           new exploits following the release of a patch. These "N-day" exploits can be as damaging as
           zero-day exploits. Ensure the authenticity and integrity of vendor updates by using signed
       )   updates delivered over protected links. Without the rapid and thorough application of
           patches, threat actors can operate inside a defender's patch cycle. 2 Additionally, use tools
           (e.g., the OWASPDependency-Check Project tool 3) to identify the publicly known
           vulnerabilities in third-party libraries depended upon by the application.

           Scan web applications for SQL injection and other common web vulnerabilities

           Implement a plan to scan public-facing web servers for common web vulnerabilities (e.g.,
           SQL injection, cross-site scripting) by using a commercial web application vulnerability
           scanner in combination with a source code scanner. 4 Fixing or patching vulnerabilities after
           they are identified is especially crucial for networks hosting older web applications. As sites
           get older, more vulnerabilities are discovered and exposed.

           Deploy a web application firewall

           Deploy a web application firewall (WAF) to prevent invalid input attacks and other attacks
           destined for the web application. WAFsare intrusion/detection/prevention          devices that
           inspect each web request made to and from the web application to determine if the request
           is malicious. Some WAFs install on the host system and others are dedicated devices that sit
           in front of the web application. WAFsalso weaken the effectiveness of automated web
           vulnerability scanning tools.

           Deploy techniques to protect against web shells

           Patch web application vulnerabilities or fix configuration weaknesses that allow web shell
           attacks, and follow guidance on detecting and preventing web shell malware. 5 Malicious               TLP:WHITE


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            cyber actors often deploy web shells-software    that can enable remote administration-on           TLP:WHITE
            a victim's web server. Malicious cyber actors can use web shells to execute arbitrary system
            commands commonly sent over HTTP or HTTP$. Attackers often create web shells by
            adding or modifying a file in an existing web application. Web shells provide attackers with
            persistent access to a compromised network using communications channels disguised to
            blend in with legitimate traffic. Web shell malware is a long-standing, pervasive threat that
            continues to evade many security tools.

            Use multi-factor authentication for administrator accounts

           Prioritize protection for accounts with elevated privileges, remote access, or used on high-
           value assets. 6 Use physical token-based authentication systems to supplement knowledge-
            based factors such as passwords and personal identification numbers (PINS).7
           Organizations should migrate away from single-factor authentication, such as password-
           based systems, which are subject to poor user choices and more susceptible to credential
           theft, forgery, and password reuse across multiple systems.

           Remediate critical web application security risks

           First, identify and remediate critical web application security risks. Next, move on to other
           less critical vulnerabilities. Follow available guidance on securing web applications. 8 910


           How do I respond to unauthorized access to election-
           related systems?
    )
           Implement your security incident response and business
           continuity plan
           It may take time for your organization's IT professionals to isolate and remove threats to
           your systems and restore normal operations. In the meantime, take steps to maintain your
           organization's essential functions according to your business continuity plan. Organizations
           should maintain and regularly test backup plans, disaster recovery plans, and business
           continuity procedures.


           Contact CISAor law enforcement immediately
           To report an intrusion and to request incident response resources or technical assistance,
           contact CISA(Central@cisa.gov or 888-282-0870) or the FBI through a local field office or the
           FBl's Cyber Division (CyWatch@ic.fbi.gov or 855-292-3937).


           Resources
            • CISATip: Best Practices for Securing Election Systems
            • CISATip: Securing Voter Registration Data
            • CISATip: Website Security
            • CISATip: Avoiding Social Engineering and Phishing Attacks
            • CISATip: Securing Network Infrastructure Devices
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            • Joint Advisory: Technical Approaches to Uncovering and Remediating Malicious Activity             TLP:WHITE


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                 • CISAInsights:Actions to Counter Email-BasedAttacks on Election-related Entities                                                                    TLP:WHITE
                 • FBI and CISAPublic ServiceAnnouncement (PSA):Spoofed Internet Domains and Email
                   Accounts PoseCyber and Disinformation Risksto Voters
                 • FBIand CISAPSA:Foreign Actors Likely to Use Online Journals to Spread Disinformation
                   Regarding2020 Elections
                 • FBIand CISAPSA:Distributed Denial of ServiceAttacks Could Hinder Accessto Voting
                   Information, Would Not Prevent Voting
                 • FBI and CISAPSA:FalseClaims of HackedVoter Information likely Intended to Cast
                   Doubt on Legitimacy of U.S.Elections
                • FBI and CISAPSA:CyberThreats to Voting ProcessesCould Slow But Not Prevent Voting
                • FBI and CISAPSA:Foreign Actors and Cybercriminals Likely to Spread Disinformation
                  Regarding2020 Election Result




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           Revisions
           October 30, 2020: Initial Version
           November 3, 2020: Updated IOC disclaimer to emphasize that only activity listed in this alert warrants rurther investigation.



                 This product is provided subject to this Notification and this Privacy& Use policy.




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    Alert{AA20-296B)                                                                                                         MoreAlerts




     IranianAdvancedPersistent
                             ThreatActorsThreatenElection-Related
     Systems
    Original releasedate: October 22, 2020



     Summary
    The Cybersecurity and Infrastructure Security Agency (CISA) and the Federal Bureau of
    Investigation (FBI) are warning that Iranian advanced persistent threat (APT) actors are
    likely intent on influencing and interfering with the U.S. elections to sow discord among
    voters and undermine public confidence in the U.S. electoral process.

    The APT actors are creating fictitious media sites and spoofing legitimate media sites to
    spread obtained U.S. voter-registration data, anti-American propaganda, and
    misinformation about voter suppression, voter fraud, and ballot fraud.

    The APT actors have historically exploited critical vulnerabilities to conduct distributed
    denial-of-service (DDoS) attacks, structured query language (SQL) injections attacks, spear-
    phishing campaigns, website defacements, and disinformation campaigns.

    Click here for a PDF version of this report.


    TechnicalDetails
    These actors have conducted a significant number of intrusions against U.S.-based
    networks since August 2019. The actors leveraged several Common Vulnerabilities and
    Exposures (CVEs)-notably CVE-2020-5902 and CVE-2017-9248-pertaining                           to virtual
    private networks (VPNs) and content management systems (CMSs).

     • CVE-2020-5902 affects FS VPNs. Remote attackers could exploit this vulnerability to
       execute arbitrary code. [l].
     • CVE-2017-9248 affects Telerik UI. Attackers could exploit this vulnerability in web
          applications using Telerik UI for ASP.NETAJAX to conduct cross-site scripting (XSS)
          attacks.[2]

    Historically, these actors have conducted DDoS attacks, SQL injections attacks, spear-
    phishing campaigns, website defacements, and disinformation                        campaigns. These activities
   could render these systems temporarily inaccessible to the public or election officials,
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     which could slow, but would not prevent, voting or the reporting of results.                                        TLP:WHITE
      • A DDoSattackcould slow or render election-related public-facing websites inaccessible
          by flooding the internet-accessible server with requests; this would prevent users from
          accessing on line resources, such as voting information or non-official voting results. In
          the past, cyber actors have falsely claimed DDoS attacks have compromised the
          integrity of voting systems in an effort to mislead the public that their attack would
        prevent a voter from casting a ballot or change votes already cast.
      • ASQLinjectioninvolves a threat actor inserting malicious code into the entry field of an
        application, causing that code to execute if entries have not been sanitized. SQL
          injections are among the most dangerous and common exploits affecting websites. A
          SQL injection into a media company's CMScould enable a cyber actor accessto
        network systems to manipulate content or falsify news reports prior to publication.
      • Spear-phishingmessages  may not be easily detectible. These emails often ask victims
          to fill out forms or verify information through links embedded in the email. APT actors
          use spear phishing to gain access to information-often credentials, such as passwords
          -and to identify follow-on victims. A malicious cyber actor could use compromised
          email access to spread disinformation to the victims' contacts or collect information
          sent to or from the compromised account.
      • Public-facing
                    websitedefacements
                                     typically involve a cyber threat actor compromising
          the website or its associated CMS,allowing the actor to upload images to the site's
          landing page. In situations where such public-facing websites relate to elections (e.g.,
          the website of a county board of elections), defacements could cast doubt on the
 )
          security and legitimacy of the websites' information. If cyber actors were able to
          successfully change an election-related website, the underlying data and internal
          systems would remain uncompromised ..
      • Disinformation
                     campaigns
                             involve malign actions tal<en by foreign governments or
         actors designed to sow discord, manipulate public discourse, or discredit the electoral
         system. Malicious actors often use social media as welt as fictitious and spoofed media
         sites for these campaigns. Based on their corporate policies, social media companies
         have worked to counter these actors' use of their platforms to promote fictitious news
         stories by removing the news stories, and in many instances, closing the accounts
         related to the malicious activity. However, these adversaries will continue their
         attempts to create fictitious accounts that promote divisive storylines to sow discord,
         even after the election.


     Mitigations
     The following recommended mitigations list includes self-protection strategies against the
     cyber techniques used by the APT actors:

     • Validate input-input validation is a method of sanitizing untrusted input provided by
       web application users. Implementing input validation can protect against security flaws
         of web applications by significantly reducing the probability of successful exploitation.
         Types of attacks possibly prevented include SQL injection, XSS,and command
         injection.                                                                                                      TLP:WHITE
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    • Audit your network for systems using Remote Desktop Protocol (RDP)and other               TLP:WHITE
       internet-facing services. Disablethe service if unneeded or install available patches.
       Usersmay need to work with their technology vendors to confirm that patches will not
      affect system processes.
   • Verify all cloud-based virtual machine instances with a public IP; do not have open RDP
      ports, unless there is a valid business reason to do so. Placeany system with an open
      RDPport behind a firewall, and require users to use a VPNto accessit through the
      firewall.
   • Enable strong password requirements and account lockout policies to defend against
      brute-force attacks.
   • Apply multi-factor authentication, when possible.
   • Apply system and software updates regularly, particularly if you are deploying products
      affected by CVE-2020-5902and CVE-2017-9248.
        o For patch information on CVE-2020-5902,     refer to FSSecurity Advisory K52145254.
        o For patch information on CVE-2017-9248,     refer to ProgressTelerik details for CVE-
           2017-9248.
   • Maintain a good information back-up strategy that involves routinely backing up all
      critical data and system configuration information on a separate device. Store the
      backups offline; verify their integrity and restoration process.
   • Enable logging and ensure logging mechanisms capture RDPlogins. Keep logs for a
      minimum of 90 days, and review them regularly to detect intrusion attempts.
 ) • When creating cloud-based virtual machines, adhere to the cloud provider's best
      practices for remote access.
   • Ensurethird parties that require RDPaccessare required to follow internal policies on
      remote access.
   • Minimize network exposure for all control system devices. Where possible, critical
      devices should not have RDPenabled.
     • Regulateand limit external to internal RDPconnections. When external accessto
       internal resources is required, use secure methods, such as VPNs,recognizingVPNsare
       only as secure as the connected devices.
     • Be aware of unsolicited contact on social media from any individual you do not know.
     • Be aware of attempts to pass links or files via social media from anyone you do not
       know.
     • Be aware of unsolicited requests to share a file via online services.
     • Be aware of email messagesconveying suspicious alerts or other on line accounts,
       including login notifications from foreign countries or other alerts indicating attempted
       unauthorized accessto your accounts.
     • Be suspicious of emails purporting to be from legitimate on line services (e.g.,the
       images in the email appear to be slightly pixelated and/or grainy, language in the email
       seems off, the email originates from an IP address not attributable to the
       provider/company).
     • Be suspicious of unsolicited email messagesthat contain shortened links (e.g.,via
        tinyurl,    bit. ly ).
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      • Use security features provided by social media platforms, use strong passwords,                                 TLP:WHITE
           change passwords frequently, and use a different password for each social media
          account.
      • See CISA's Tip on Best Practices for Securing Election Systems for more information.

     General Mitigations
     Keep applications and systems updated and patched

     Apply all available software updates and patches; automate this process to the greatest
     extent possible (e.g., by using an update service provided directly from the vendor).
     Automating updates and patches is critical because of the speed at which threat actors
     create exploits after a patch is released. These "N-day" exploits can be as damaging as a
     zero-day exploits. Vendor updates must also be authentic; updates are typically signed and
     delivered over protected links to ensure the integrity of the content. Without rapid and
    thorough patch application, threat actors can operate inside a defender's patch cycle.[3] In
     addition to updating the application, use tools (e.g., the OWASP Dependency-Check
     Project tool[4]) to identify publicly known vulnerabilities             in third-party libraries that the
    application depends on.
    Scan web applications for SQL injection and other common web vulnerabilities

     Implement a plan to scan public-facing web servers for common web vulnerabilities                       (SQL
    injection, cross-site scripting, etc.); use a commercial web application vulnerability scanner
    in combination with a source code scanner.[SJ As vulnerabilities                 are found, they should be
    fixed or patched. This is especially crucial for networks that host older web applications; as
    sites get older, more vulnerabilities          are discovered and exposed.
    Deploy a web application firewall

    Deploy a web application firewall (WAF) to help prevent invalid input attacks and other
    attacks destined for the web application. WAFsare intrusion/detection/prevention                       devices
    that inspect each web request made to and from the web application to determine if the
    request is malicious. Some WAFs install on the host system and others are dedicated
    devices that sit in front of the web application. WAFs also weaken the effectiveness of
    automated web vulnerability scanning tools.
    Deploy techniques to protect against web shells

    Patch web application vulnerabilities            or fix configuration weaknesses that allow web shell
    attacks, and follow guidance on detecting and preventing web shell malware.[6] Malicious
    cyber actors often deploy web shells-software                that can enable remote administration-on
    a victim's web server. Malicious cyber actors can use web shells to execute arbitrary system
    commands, which are commonly sent over HTTP or HTTPS. Attackers often create web
    shells by adding or modifying a file in an existing web application. Web shells provide
    attackers with persistent access to a compromised network using communications
    channels disguised to blend in with legitimate traffic. Web shell malware is a long-standing,
    pervasive threat that continues to evade many security tools.
    Use multi-factor authentication for administrator accounts

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     Prioritize protection for accounts with elevated privileges, with remote access, and/or used                        TLP:WHITE
     on high value assets.[7] Use physical token-based authentication systems to supplement
     knowledge-based factors such as passwords and personal identification numbers (PINs).
     [8] Organizations should migrate away from single-factor authentication, such as
     password-based systems, which are subject to poor user choices and more susceptible to
     credential theft, forgery, and password reuse across multiple systems.
     Remediate critical web application security risks

     First, identify and remedite critical web application security risks first; then, move on to
     other less critical vulnerabilities.        Follow available guidance on securing web applications.
     [9],[10),[ll]
     How do I respond to unauthorized access to election-related systems?
     Implement your security incident responseand businesscontinuity plan

     It may take time for your organization's IT professionals to isolate and remove threats to
    your systems and restore normal operations. In the meantime, take steps to maintain your
    organization's essential functions according to your business continuity plan.
    Organizations should maintain and regularly test backup plans, disaster recovery plans,
    and business continuity procedures.
    ContactCISAor law enforcement immediately

    To report an intrusion and to request incident response resources or technical assistance,
    contact CISA (Central@cisa.dhs.gov or 888-282-0870) or the Federal Bureau of Investigation
  J (FBI) through a local field office or the FBl's Cyber Division (CyWatch@ic.fbi.gov or 855-292-
    3937).


     Resources
      • CISATip: Best Practices for Securing Election Systems
      • CISA Tip: Securing Voter Registration Data
      • CISA Tip: Website Security
      • CISA Tip: Avoiding Social Engineering and Phishing Attacks
      • CISATip: Securing Network Infrastructure Devices
      • CISAActivity Alert: Technical Approaches to Uncovering and Remediating Malicious
          Activity
      • CISA Insights: Actions to Counter Email-Based Attacks On Election-related Entities
      • FBI and CISA Public Service Announcement (PSA): Spoofed Internet Domains and Email
          Accounts Pose Cyber and Disinformation Risks to Voters
     •    FBI and CISA PSA: Foreign Actors Likely to Use Online Journals to Spread
          Disinformation Regarding 2020 Elections
     • FBI and CISA PSA: Distributed Denial of Service Attacks Could Hinder Access to Voting
       Information, Would Not Prevent Voting
     • FBI and CISA PSA: False Claims of Hacked Voter Information Likely Intended to Cast
          Doubt on Legitimacy of U.S. Elections
     • FBI and CISA PSA: Cyber Threats to Voting Processes Could Slow But Not Prevent Voting
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      • FBIand CISAPSA:ForeignActors and Cybercriminals likely to Spread Disinformation                                TLP:WHITE
        Regarding2020 Election Results



    Contact Information
    To report suspicious or criminal activity related to information found in this Joint
    CybersecurityAdvisory, contact your local FBIfield office at www.fbi.gov/contact-us/field 1
    or the FBl's24/7 Cyber Watch (CyWatch)at (855) 292-3937or by e-mail at CyWatch@fbi.gov.
    When available, please include the following information regarding the incident: date,
    time, and location of the incident; type of activity; number of people affected; type of
    equipment used for the activity; the name of the submitting company or organization; and
    a designated point of contact. To request incident responseresources or technical
    assistancerelated to these threats, contact CISAat Central@cisa.dhs.gov.

    References
     (1) FSSecurity Advisory: K52145254:TMUIRCEvulnerability CVE-2020-5902
     [2) ProgressTelerik details for CVE-2017-9248
     [3] NSA"NSA'STop TenCybersecurity Mitigation Strategies
     (4) OWASPDependency-Check
     [5) NSA"Defending Againstthe Exploitation of SQLVulnerabilities to Compromis...
     {6) NSA&ASD"CyberSecurityInformation: Detectand Prevent WebShell Malware"
     (7) CISA:Identifying and Protecting HighValueAssets:A Closer Look at Govern...
   • [8] NSA"NSA'STop TenCybersecurityMitigation Strategies"
     (9) NSA"Building WebApplications - Securityfor Developers":
     [10) OWASPTop Ten
    [11] 2020 CWETop 25 Most DangerousSoltware Weaknesses


    Revisions
    October 22,2020:Initial Version



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                      Congressional           Research        Service
                       Informing the legislative debate since 1914
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        The Designation of Election Systems as Critical Infrastructure
         Prior to the 2016 federal election. a seriesof cyheratlacks   scvcml, including the elections infrastructure subscctor
         occurred on informmion systemsof state and local election     (EIS).
        jurisdictions. Subsequently, in January 20I7 the
         Depanment of Homeland Security (DI lS) designatedthe          The componentsof the EIS a:, described by DHS include
        election infrastruclllrc used in federal elections as a        physical locations (storage faciliti1..-s.polling places.and
        component of U.S. critical infrastrucLurc.The designation      locations where votes are tabulated) and technology
        sparked some initial concerns by state and local election      infrastructure (voter regiiaration databases,\ oting sysLcms,
        officials ahout federal encroachmentof their prerogatives.     and other tcchnolog} used LOmanageelections and to report
         but progresshas been made in overcoming those ccm<.:ems       and validate results). It does not include infrastructure
        and providing assistanceto election jurisdi<.:tions.           related 10 political campaigns. However, OHS docs provide
                                                                       cyber vulnerability assessmentsand risk miligation
        What Led to the Designation?                                   guidanceto political c.·ampaign  · upon requestas resources
        In August 2016, the Federal Bureau of lnvestigmion (FBI)       permil.
        announcedthat some state elecLionjurisdictions had been
        the victims of cyhcrattacks aimed at exfiltrating data from    Does the Designation Permit Federal
        information systemsin thosejurisdictions. The attacks          Regulation of Election Infrastructure?
        appearedto be of Russian-governmentorigin. That same           DHS does not have regulator} authority over EIS. Five
        month. DHS contactedstate election officials to offer          other agenciesha\'e significant roles with respectto federal
        cybersecurity assistancefor their election infmstructure.      elections. but none ha1-.
                                                                                              claimed regulatory authority over
        Most staresacceptedthe offer. Although the cyberauacli.s       the EIS:
        did nol appear to affect the integrity of the election
        infmslructure, some observers begancalling roriL to be         •   The Election Assistance Commission (EAC), created hy
        designatedas critical infrastructure (Cl). On Januar) 6.           the Help America Vote Act (HAVA, P.L. !07.252),
)       2017, the Secretary of Homeland Security announcedthal
        designation.
                                                                           pm\ idesa hroad rangeof assistancelo states, including
                                                                           development of voluntary technical standardsfor voting
                                                                           systems,voluntary guidance on implementing HA VA
        What Is Critical Infrastructure?                                   requirements,and researchon issues in election
        Under federal law, CI refers to systemsand w,scts for which        administration. It also has statutory authority for
        "incapacity or destruction ... would ha\c a dcbilitaling           administering formula paymentsto states to a,;sistthem
        impact on security, national economic security. national           in meeting HA YA (equircmcnts and improving election
        public health or safety, or any combination•· of them (42          administmlion, including $380 million appropriated in
        U.S.C. §5 I 9Sc(c)). Most Cl entities arc not gO\crnment-          FY2018 in responseto security concerns.
        owncd or -operated. Presidential Policy Dirccti vc 21 (PPO
        21) identified 16 Cl sectors, \\ ith some including            •   The National Institute of Standardsand Technology
        subsectors.Sectors var) in scope and in degreeof                   (NIST) assiststhe EAC on technical mailers, including
        regulation. For e.\ample. the financial service, sector is         developmentof the voting system standards..
        highly regulated, whereasthe information technology sector         ce11ificationof voring systems.and research.
        i, not. Election infrastructure ha.~been designatedas a
        subsectorof government facilities. That sector includes two    •   The Oepartmentof .Justice(DOJ) ha<;some enforcement
        previously establishedsuhscctors: education facilities, and        responsibilities with rcsp«l to requirementsin HAYA
        national monuments and icons.                                      and other relevant statutes.

        The Homeland Security Act M2002 (P.L. 107-296)gave             •   The DcpanmcnLorDefense(DOD) assistsmilitary and
        DHS responsibility for several functions aimed at                  overseasvoters.
        promoting th<.securit)· and resilience of Cl witJ1respectto
        both physical and cyhcr-based hazards.either human or          •   The FederalElection Commission (FEC) is responsible
        natural in origin. Among those functions are providing              f~>renforcementof campaign finance law but is not
        assessments,guidance..and coordina1ionof federal efforts.           involved in election administration by state and local
                                                                           jurisdictions.
         E.1chCl sector has beenassignedone or two federal sector-
        specific agencies(SSAs), which are responsible for             HA YA expressly prohibits the F.AC from issuing
        coordinating public/private collaborative efforts to protect   regulations of relevance to the Cl designation, and it leaves
        the sector, including incident managementand technical         the methodsof implementation of the act's requirements to
        assistance.DHS has regulatory authority over two sectors:      the slates. However, it does permit DOJ to bring civil
        chemical and transportation systems. It servesas SSA for       actions if necessaryto implement HA VA 's requirements.

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                                                                      The Designation of EleclJonSys1emsas Critical Infrastructure

    What Does the Designation Mean?                                        addressingrisks. They are generally updatedon a four-
    While both DHS and the EAC provided assistanceto states               ·ycar cycle. DHS is curremly drafting an SSP for the
    in addressing the security concerns that arose in the run-u1>          EIS.
    to the November 2016 clcelion, the Cl designation had
    several notable consequences:                                     The Cl designation for election infrastructure is also
                                                                      intended to facilitate useof existing resources.suchas
    •   ll raised the priority for IJHS lo provide security
        a~sistanceto election jurisdictions that request it and for   • Cybersecurityand /11Jras1mc111re
                                                                                                     Scrurity Ag<·nry
        other executive branch actions. such as economic                  (CISA). CISA, an agency within D11S.servesas the
        sanctions that the Department of the Treasury can                 SSA for the ElS.
        impose against foreign actors who attack clements of
        U.S. CI. including tampering with elections.                  •   Critical lnfraslmct11re
                                                                                                Parmership Advisory Cmmril.
                                                                          CIPAC provides election officials accessto a broad
    •   ILbrings the subscctor under a 2015 United Nations                rangeof relevant e,pertise and participation in scnsicive
        nonbinding consensusrepon (An0/174) stating that                  planning conversations.
        nations should not conduct or support cyber-activity that
        intentionally damagesor impairs the operation of Cl in        •   M11lti-Starelllformmio11Shari11,:   and Analysir Cemcr.
        providing services to the public. II also statesthat              The M -JSAC is one of the centers created to facilitate
        nations should take steps to protect their own Cl from            the sharing of security information for different Cl
        cyberaltacks and to assist other nations in prote<.:ting          sectors. IL works with CISA, all states.and man) local
        their CI and responding LOcyberattacks on it. The report          governments to assist them in cybcrsecurity. The MS-
        was the work of a group of governmental experts from              ISAC support~ the US-ISAC, created in 2018 to
        20 nations. including Russia and the United States.               fa<.:ilitalcinformation-!-.haringacti, itics for and among
                                                                          mol'e than 500 membersconsisting of ·1meand local
    •   It provided DHS the authority to establish formal                 election off'ices. as well as the National Association of
        coordination mechanismsfor Ci sectors and suhsectors              Secretariesof State (NASS) and the National
        and to use existing entities to support the sccuril} of the       Association of State Election Directors (NASED).
        suhscctor. Those mechanismsarc usedto enhance
        information sharing within the subsector and to facilitate    Pursuantto the EIS designation. OHS and the EAC assisted
        collaboration within and acrosssubsectorsand secrors.         both jurisdictions and vendors in preparationson election
        For example, both the FBI and the Oflice of the Director      security for the 2018 federal election. For more
)       of National Intelligence (OONI} have participated in
        briefing election officials on threats to the EIS.
                                                                      i nformution, sec https://www .dhs.gov/topic/elcction-
                                                                      securit). lmps://\\'ww .eac.gov/election-officials/elcctions-
                                                                      critical-infrastructure/, lmps://www.cisecurity.org/ei-isac/.
    Among the coordination mechanisms for the subsectorarc
    the following:                                                    Why Was the Designation Initially
                                                                      Controversial?
    •   Govemmem Coordinming Council. The GCCconsists                 Misgivings about IJHS involvement were raised when it
        of representativesof DHS and the EAC. as well as              first offered assistanceto election jurisdicLions in August
        secretariesof state. lieutenant governors. and elections      2016. Someobservers feared that DHS would begin to exert
        officials who altogether l'epresent24 state and local         conlrol over the administration of elections or 10 engage in
        governments. It also includes non-voting memhen,from          unrcqucstci.lsecurity activities.
        other rcle\·ant Ccderalagencies.The GCC facilitates
        coordination across government entities both within EIS       Contro\·ersy over the federal role in election administration
        and in other sectors. Activities include communications,      is not new. Concerns about federal regulation of the
        planning, issue resolution, and implementation of the         election prcx.-csswere promincnLduring the legislati\•e
        security missions of the entities.                            debateover HAVA and led to the inclusion of the
                                                                      regulatory restrictions in the law. Furthermore. bills in prior
    •   Sector Coordinating Council. The SCC consists of              Congressesthat would have provided OHS broad
        representativesof nongovernmem entities, most of              regulatory authority over cyhersecurity have all failed.
        which are providers of vming systems and other
        election-related product-. and services. SCCs are self-       The CI designation does not contravene the HAVA
        organinxl and sclf-go,emed. They are intended to               restrictions on EAC regulations or create OHS regulatory
        represent privace-scctor interests and LOraciliuue            authority for the EIS. DH5 provides assistance10 election
        collahonuion activities, including information sharing,       jurisdictions only on a voluntary basis. In the 115111
        among the private-se<.:torentities in the Cl sector and       Congress,a few bills would ha,1e established mandatory
        with government entities.                                     standardsor federal rule-making authority, but none
                                                                       receivedcommittee or Ooor action. Bills with relevant
    • Sector-SpecificPlan. Public- and private-sector partners         provisions have also been introduced in the I 16th Congress.
      have created SSPsfor each of the 16 Cl sectors.The
        plans are components or an overall National                   .Brian E. Humphreys, bhumphrcys@crs.loc.gov, 7-0'-Y75
        Infrastructure Protection Plan and provide a meansfor
        the sectors to establish goals and priorities for                                                                    1Ft0677


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                                                                                                                                            More Alerts
   Alert (AA20-283A)
   APTActorsChainingVulnerabilities
                                  AgainstSLTT,CriticalInfrastructure,
                                                                   and Elections
   Organizations
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                   date: October 09, 202011..lstrevised:October 24,2020



   Summary
              Thisjoint c-ybersecurityadvisory usesthe MITREAdversarialTactics,Techniques,and CommonKnowledge
              {ATT&C~ framework. SeetheATT&CKfor enterprise frameworl<.    for all referencedthreat actor techniques.

   Note:the analysisin this joint cybersecurityadvisory is ongoing, and the information provided should not be
   consideredcomprehensive.The Cybersecurityand Infrastructure SecurityAgency(CISA)will update thisadvisory as
   new information is available.

   This joint cybersecurity advisory was written by CISAwith contributions from the FederalBureauof Investigation
   (FBI).

   CISAhas recently observed advancedpersistent threat (APT)actors exploiting multiple legacyvulnerabilities in
   combination with a newer privilege escalationvulnerability-CVE-2020-1472-in Windows Netlogon.The commonly
   .Jsedtactic, known as vulnerability chaining, exploits multiple vulnerabilities in the courseof a single intrusion to
   compromise a network or application.

   This recent malicious activity has often, but not exclusively,beendirected at federal and state, local, tribal, and
   territorial (SLTT)government networks. Although it does not appear these targets are being selected becauseof
   their proximity to elections information, there may be some risk to elections information housed on government
   networks.

   CISAis awareof some instanceswhere this activity resulted in unauthorized accessto elections support systems;
   however,CISAhas no evidence to date that integrity of elections data has been compromised.There are stepsthat
   election officials, their supporting SLTTIT staff, and vendors can taketo help defend against this malicious cyber
   activity.

   Some common tactics, techniques, and procedures(TTPs)used by APTactors include leveraginglegacynetwork
   accessand virtual private network (VPN)vulnerabilities in associationwith the recent critical CVE-2020-1472
   Netlogon vulnerability. CISAis aware of multiple caseswhere the Fortinet FortiOSSecureSocket Layer(SSL)VPN
   vulnerability CVE-2018-13379  has been exploited to gain accessto networks. To a lesserextent, CISAhasalso
   observed threat actors exploiting the Mobilelron vulnerability CVE-2020-15505.While these exploits have been
   observed recently,this activity is ongoing and still unfolding.

   After gaining initial access,the actors exploit CVE-2020•1472
                                                               to compromise all Active Directory (AD)identity
   services.Actors havethen been observed using legitimate remote accesstools, such asVPNand RemoteDesktop
   Protocol (RDP),to accessthe environment with the compromised credentials. Observedactivity targets multiple
   sectors and is not limited to SLTTentities.

   CISArecommendsnetwork staff and administrators review internet-facing infrastructure for these and similar
   ,ulnerabilities that have or could be exploited to a similar effect, including Juniper CVE-2020-1631,   PulseSecure
   CVE-2019-11510,   Citrix NetScalerCVE-2019·19781,    and Palo Alto Networks CVE-2020-2021   {this list is not considered
   exhaustive).

   Click here for a PDFversion of this report.
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       Technical Details                                                                                                                    TLP:WHITE

       Initial Access
       APTthreat actors are actively leveraging legacyvulnerabilities in internet-facinginfrastructure (Exploit Public-
       FacingApplication (Tl190], External RemoteServices[Tll33}) to gain initial accessinto systems.The APTactors
       appear to have predominately gained initial accessvia the Fortinet FortiOSVPNvulnerability CVE-2018-13379.
       Although not observedin this campaign, other vulnerabilities, listed below,could be used to gain network access
       (as analysis is evolving, these listed vulnerabilities should not be consideredcomprehensive).As a best practice, it is
       critical to patch all known vulnerabilities within internet-facing infrastructure.
        •   Citrix NetScalerCVE-2019-19781
        •   Mobilelron CVE-2020-15505
        •   Pulse SecureCVE-2019-11510
        •   Palo Alto Networks CVE-2020-2021
        •   F5 BIG-IPCVE-2020-5902
       Fortinet FortiOSSSLVPNCVE-2018-13379
   CVE-2018-13379    is a path traversal vulnerability in the FortiOSSSLVPNweb portal. An unauthenticated attacker
   could exploit this vulnerability to download FortiOSsystemfiles through specially crafted HTTPresourcerequests.
   (1)


       Mobilelron Core & Connector Vulnerability CVE-2020-15505
   CVE-2020-15505  is a remote code executionvulnerability in Mobilelron Core& Connectorversions 10.3and earlier.
   [2} Thisvulnerability allows an external attacker,with no privileges,to executecode of their choice on the
   vulnerable system.As mobile device management(MOM)systemsare critical to configuration managementfor
   external devices,they are usually highly permissioned and make a valuable target for threat actors.
   I
   Privilege Escalation
   Post initial access,the APTactors use multiple techniques to expand accessto the environment. The actors are
   leveraging CVE-2020-1472   in WmdowsNetlogon to escalate privilegesand obtain accessto WindowsAOservers.
   Actors are also leveragingthe opensource tools such as Mimikatz and the CrackMapExectool to obtain valid
   account credentials from AD servers ( ValidAccounts(T1078]).
   Microsoft Netlogon Remote Protocol Vulnerability: CVE-2020-1472
   CVE-2020-1472 is a vulnerability in MicrosoftWindows Netlogon RemoteProtocol(MS-NRPC),a core authentication
   component of Active Directory.;3JThis vulnerability could allow an unauthenticated attacker with network access
   to a domain controller to completely compromise all AOfdentity services( ValidAccounts: Domain Accounts
   (T1078.002]).Malicious actors can leveragethis vulnerability to compromise other deviceson the network (Lateral
   Movement[TAOOOS]).

   Persistence
   Oncesystemaccesshas beenachieved, the APTactors use abuse of legitimate credentials ( ValidAccounts(T1078])
   to log in via VPNor remote accessservices{ExternalRemote Services(11133))to maintain persistence.

   Mitigations
   Organizationswith externally facing infrastructure devices that havethe vulnerabilities listed in this joint
   cybersecurity advisory, or other vulnerabilities, should move forward with an "assumebreach" mentality. As initial
   exploitation and escalation may be the only observableexploitation activity, most mitigations will need to focus on
   more traditional network hygiene and user management activities.

   Keep Systems Up to Date

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   Patchsystemsand equipment promptly and diligently. Establishingand consistently maintaining a tho,ough                                  TLP:WHITE
   patching cycle continues to be the best defenseagainst adversaryTTPs.Seetable 1 fo, patch information on CVEs
   mentioned in this ,eport.

                                                Table1: P<3tch
                                                             information forCVEs
      IMrability             lnerableProducts                                     tchInformation
                            • FortiOS6.0: 6.0.0 to 6.0.4
                            • FortiOS5.6: 5.6.3 to 5.6. 7                        • Fortinet Security Advisory: FG-IR-18-384
                            • FortiOS5.4: 5.4.6 to 5.4.12

                                                                                 • Citrix blog post: firmware updates for Citrix ADCand Citrix Gate
                                                                                   way versions 11.l and 12.0
                                                                                 • Citrix blog post: security updates for Citrix SD-WANWANOPrele
                            • Citrix Application Delivery Controller
                                                                                   ase 10.2.6and 11.0.3
    VE-2019--19781          • Citrix Gateway
                                                                                 • Citrix blog post: firmware updates for Citrix ADCand Citrix Gate
                            • Citrix SDWANWANOP
                                                                                   way versions 12.1and 13.0
                                                                                 • Citrix blog post: firmware updates for Citrix ADCand Citrix Gate
                                                                                   way version 10.5

                            • Big-IPdevices(LTM,AAM,AdvancedWAF,AF
                                                                   • FSSecurity Advisory: K52145254:TMUI RCEvulnerability CVE-20
     E-2020-5902              M,Analytics, APM,ASM,DDHD,DNS,FPS,GT     _
                                                                     20 5902
                              M,Link Controller, PEM,SSLO,CGNAT)

                           • PulseConnect Secure9.0Rl - 9.0R3.3,8.3Rl -
                             8.3R7,8.2Rl • 8.2R12,8.lRl - 8.lRlS
                                                                             • PulseSecureOut-of-CycleAdvisory: Multiple vulnerabilities reso
    VE-2019·11Sl0          • PulsePolicy Secure 9.0Rl - 9.0R3.l, 5.4Rl - 5.
                                                                               lved in PulseConnect SecureI PulsePolicy Secure9.0RX
                             4R7,S.3Rl • S.3Rl2, 5.2Rl - 5.2Rl2, 5.lRl - 5.1
                             RlS

                           • Mobilelron Core & Connector versions 10.3.0.
                             3 and earlier, 10.4.0.0,10.4.0.1,10.4.0.2,10.4.f
                             0.3, 10.5.1.0,10.5.2.0and 10.6.0.0                   b
     E-2020-lSSOS                                                             • Mo ilelrorl Blog: Mobilelron Security UpdatesAvailable
                           • Sentry versions 9.7.2 and earlier, and 9.8.0;
                           • Monitor and Reporting Database(ROB)versio
                             n 2.0.0.1and earlier

                           • Ju nos OS 12.3, 12.3X48,14.1X53,15.1, 15.1X4
                             9, 15.1X53,17.2, 17.3,17.4,18.1,18.2, 18.3, 1 • Juniper SecurityAdvisory JSA11021
                             8.4, 19.l, 19.2,19.3, 19.4,20.1
                              ,---,
                           • PAN-OS9.1 versions earlier than PAN-OS9.1.
                             3; PAN-OS9.0 versions earlier than PAN-OS9.
                                                                         • PaloAlto Networks Security Advisory for CVE-2020-2021
                             0.9; PAN-OS8.1 versions earlier than PAN-OS
                             8.1.15,and all versions of PAN-OS8.0 (EOL)




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                                  APT Actors Cflaining Vuh1cmbili1iesAgai11s1
         ln«ab~                    lnerableProduct$                                   teh Information                                            TLP:WHITE
                               • WindowsServer2008R2for x64•basedSyste
                                 ms ServicePack1
                               • WindowsServer2008R2for x64•basedSyste
                                 ms ServicePack1 (ServerCoreinstallation)
                               • WindowsServer2012
                               • WindowsServer2012(ServerCoreinstallatio
                                    n)
                               •    Windowsse,ver2012R2
                               •    WindowsServer2016
         ·2020-1472                                                          • MicrosoftSecurityAdvisoryfor CVE-2020-1472
                               •    WindowsServer 2019
                               •    WindowsServer2019 (ServerCoreinstallatio
                                    n)
                               • WindowsServer,version 1903 (ServerCore i
                                 nstallation)
                               • WindowsServer,version 1909 (ServerCorei
                                 nstallation)
                               • Windows Server,version 2004 (ServerCorei
                                 nstallation)


    ComprehensiveAccount Resets
    If there is an observation of CVE-2020-1472   Netlogon activity or other indications of valid credential abusedetected,
    it should be assumedthe APTactors havecomprornisedAOadministrative accounts,the ADforest should not be
    fully trusted, and, therefore, a new forest should be deployed. Existinghosts from the old compromisedforest
    cannot be migrated in without being rebuilt and rejoined to the new domain, but migration may be done through
    "creative destruction," wherein as endpoints in the legacyforest are decommissioned,new onescan be built in the
    new forest. This will need to be completed on on-premiseaswell asAzure-hostedAD instances.

    Note that fully resetting an ADforest is difficult and complex;it is best done with the assistanceof personnelwho
    havesuccessfullycompleted the task previously.

   It is critical to perform a full passwordreset on all user and computer accountsin the ADforest. Usethe following
   stepsas a guide.

        1. Createa temporary administrator account, and use this accountonly for          all administrative actions
        2 Resetthe KerberosTicket GrantingTicket ( k rbtgt ) password(4); this must be completed before any
        additional actions (asecond reset will take place in step S)
     3. Wait for the krbtgt resetto propagateto all domain controllers (time may vary)
     4. Resetall account passwords(passwordsshould be 15charactersor more and randomly assigned):
         a. Useraccounts(forced resetwith no legacy passwordreuse)
         b. Localaccountson hosts (including local accountsnot coveredby LocalAdministrator PasswordSolution
            [LAPS))
         c. Serviceaccounts
         d. Directory ServicesRestoreMode (DSRM)account
         e. DomainController machine account
         f. Application passwords
     5. Resetthe krbtgt passwordagain
     6. Wait for the krbtgt resetto propagateto all domain controllers (time may vary)
     7. Rebootdomain controllers
     8. Rebootall endpoints

   The following accountsshould be reset:

    •    AD KerberosAuthentication Master(2x)
    •    All Active DirectoryAccounts
    •    All Active DirectoryAdmin Accounts
    •    All Active Directory ServiceAccounts
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     •   All Active Directory UserAccounts                                                                                                       TLP:WHITE
     •   DSRMAccounton Domain Controllers
     •   Non-ADPrivilegedApplication Accounts
     •   Non-ADUnprivilegedApplication Accounts
     •   Non-WindowsPrivilegedAccounts
     •   Non-WindowsUserAccounts
     •   WindowsComputer Accounts
     •   WindowsLocatAdmin

    CVE-2020-1472
    To secureyour organization's Netlogon channelconnections:

     • Updateall Domain Controllers and ReadOnly DomainControllers. OnAugust 11, 2020, Microsoftreleased
       software updatesto mitigate CVE-2020-1472.    Applying this update to domain controllers 1scurrently the only
       mitigation to this vulnerability (asidefrom removing affected domain controllers from the network).
     • Monitor for new events, and addressnon-compliant devicesthat are using vulnerable Netlogon securechannel
       connections.
     • Block public accessto potentially vulnerable ports, such as445 (ServerMessageBlock [SMB])and 135 (Remote
       ProcedureCall [RPC)).

    To protect your organization againstthis CVE,follow advice from Microsoft, including:

     •   Updateyour domain controllers with an update releasedAugust 11, 2020,or later.
     •   Find which devices are making vulnerable connections by monitoring event logs.
     •   Addressnon-compliant devicesmaking vulnerable connections.
     •   Enableenforcement mode to addressCVE-2020·1472     in your environment.

    VPN Vulnerabilities
    Implement the following recommendationsto secureyour organization'sVPNs:

     • UpdateVPNs,network infrastructure devices,and devices being used to remote into work environmentswith
       the latest software patchesand security configurations. SeeCISATips Understanding Patchesand Software
       Updatesand Securing Network Infrastructure Devices.Whereverpossible, enable automatic updates.Seetable
       l for patch information on VPN-relatedCVEsmentioned in this report.
     • Implement multi-factor authentlcatlon (MFA)on all VPNconnectionsto Increasesecurity. Physicalsecurity
       tokens are the most secure form of MFA,followed by authenticator app-basedMFA.SMSand email-basedMFA
       should only be used when no other forms are available. If MFAis not implemented, require teleworkersto use
       strong passwords.SeeCISATips Choosingand Protecting Passwordsand Supplementing Passwordsfor more
       information.

   Discontinue unusedVPNservers.Reduceyour organization'sattack surfaceby discontinuing unusedVPNservers,
   which may act asa point of entry for attackers. To protect your organization againstVPNvulnerabilities:

    • Auditconfiguration and patch managementprograms.
    • Monitor network traffic to, unexpectedand unapproved protocols, especiallyoutbound to the internet (e.g.,
      SecureShell (SSH),SMB,ROP).
    • ImplementMFA,especially for privileged accounts.
    • Useseparateadministrative accounts on separateadministration workstations.
    • Keepsoftware up to date. Enableautomatic updates, if available.

   How to uncover and mitigate malicious activity
    • Collectandremovefor further analysis:
       o Relevantartifacts, logs, and data.
    • Implementmitigation steps that avoid tipping off the adversarythat their presencein the network has been
      discovered.
    • Considersoliciting incident responsesupport from a third-party ITsecurity organization to:
       o Provide subject matter expertise and technical support to the incident response.
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                                    APT Actors Cha ming Vulncrnbililics Agailt$l SCIT, Cri1ical lnfrMtructurc, nnd 1-'JcclionsOr11ani1.11ion~
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          o Ensurethat the actor is eradicated from the network.                                                                                    TLP:WHITE
          o Avoid residual issuesthat could result in follow-up compromisesonce the incident is closed.


    Resources
     •   CISAVPN-RelatedGuidance
     •   CISAlnfographic: RiskVulnerability And Assessment(RVA)Mappedto the MITREATT&CKFRAMEWORK
     •   National SecurityAgencylnfoSheet: Configuring IPsecVirtual PrivateNetworks
     •   CISAJoint Advisory:AA20-245A:TechnicalApproachesto Uncoveringand RemediatingMaliciousActivity
     •   CISAActivity Alert: AA20-073A:EnterpriseVPNSecurity
     •   ClSAActivity Alert: AA20-031A:DetectingCitrix eve-
                                                          2019-19781
     •   CISAActivity Alert: AA20-010A:Continued Exploitation of Pulse SecureVPNVulnerability
     •   CybersecurityAlerts and Advisories:Subscriptionsto CISAAlerts and MS•ISACAdvisories

    Contact Information
    Recipientsof this report are encouragedto contribute any additional information that they may have related to this
    threat.

    For any questions related to this report or to report an intrusion and request resourcesfor incident responseor
    technical assistance,pleasecontact:

     • CISA(888-282-0870or Central@cisa.dhs.gov),or
     • The FBIthrough the FBICyber Division(855-292-3937or CyWatch@fbi.gov)or a local field office


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      the United StatesGovernment.



    References
   (1) Fortinet Advisory; f(l..lR-18·384
   (2]Mobitelron Blog: Mobilelron Se<;u,ltyUpd~tesAv,,il~ble
   (31Microsoft Secu1ity Advis0<yrorCVE· 2020•l 472
   (4] Microsoft:AO ForestRe(.Ollety· Re$t1tlng the krbttt password


   Revisions
   October 9, 2020:InitialVers;on
   October11, 2020:Updated Summ;try
   October12,2020:Added Additional Links


                           This product is provided subject to this Notification and this Privacy& Usepolicy.




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    Press Releases


    Treasury Continues Pressure on Maduro Regime for Role in
    Fraudulent Elections
    December 18, 2020

    Washington - Today, the U.S. Department of the Treasury's Office of Foreign Assets Control
    (OFAC) designated Ex-Cle Solucioncs Biometricas C.J\. (Ex-Cle C.A.) for materially supporting
    the illegitimate President of Venezuela Nicolas Maduro Moros. including by providing goods
    and services that the Maduro regime used to carry out the fraudulent December 6, 2020
    parliamenta1y elections. Jn addition, OFAC designated Guillermo Carlos San Agustin and
    Marcos Javier Machado Requena for having acted for or on behalf of Ex-Cle Soluciones
    Biometrieas C.A.

    "The illegitimate Maduro regime's efforts to steal elections in Venezuela show its disregard for
    the democratic aspirations of the Veneiuelan people," said Secretary Steven T. Mnuchin. "The
    United States remains committed to targeting the Maduro regime and those who support its aim
    to deny the Venezuelan people their right to free and fair cJcctions."

    This entity and individuals were designated pursuant to Executive Order (E.O.) 13692, as
    amended.
)
    EX-CLE SOLUCIONES BIOMETRICAS C.A.

    Ex-Cle Soluciones Biometricas C.A. (Ex-Cle C.A.). a Venezuelan-registered biometric
    technology company, operates in Venezuela a<; the subsidiary' of Argentine-registered Ex-Cle
    S.A. The parent company opened an office in Venezuela in 2004 to provide management
    solutions for government entities, including to Maduro's National Electoral Council (CNE-
    Conscjo Nacional Electoral). In May 2016, the parent company began operating in Venezuela
    under the name Ex-Cle C.A., and since then, Ex-Cle C.A. has been doing business as the
    electoral hardware and software vendor with Maduro regime-aligned government agencies and
    officials. In addition, Ex-Cle C.A. has assisted the CNE in purchasing thousands of voting
    machines from foreign vendors, which were transshipped through Tehran, Iran, via Mahan Air
    and Conviasa, both previously sanctioned by OF AC. Ex-Cle C.A.. has contracts worth millions of
    dollars with the Maduro regime.

    GUILLERMO CARLOS SAN AGUSTIN

    Guillermo Carlos San Agustin (San Agustin), a dual Argentine and Italian national, is a co-
    director. the administrator, a majority shareholder, and ultimate beneficial owner of Ex-CJc C.A.
    San Agustin is partnered in Ex-Cle C.A. with Marcos Javier Machado Requena. a Venezuelan
    national, and Carlos Enrique Quintero Cuevas (Quintero), previously designated by OFA.C, who
    is an alternate CNE rector and member of the Venezuelan military, and is the primary day-to-day
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    manager of the procurement and electoral corruption activity from inside the C Eon behalf of
    Ex-Cle C.A.

    MARCOS JAVIER MACHADO REQUENA

    Marcos Javier Machado Requena (Machado), a Venez.uelan national, is a co-director, the
    president, and a minority shareholder or Ex-Cle C.A. Machado is involved in the management
    and financial operations of procurement of election-related voting machines and hardware
    procured from foreign vendors for the Government of Venezuela, and is partnered with San
    Agustin and Quintero in running Ex-Cle C.A. out of Caracas.

    Today, Ex-Cle C.A. was designated pursuant to E.O. 13692 for having materially assisted,
    sponsored, or provided financial, material, or technological support for, or goods or services to or
    in suppott of, Maduro. In addition, San Agustin and Machado were designated pursuant to E.O.
    13692 for having acted or purported to act for or on behalf of, directly or indirectly, Ex-Cle C.A.

    As a result of today's action, all properly and interests in property of the persons designated
    today that arc in the United States or in the possession or control of U.S. persons arc blocked and
    111ust
         be reported to OFAC. In addition, any entities that are owned, directly or indirectly, 50
    percent or more by the designated persons arc also blocked. OFAC's regulations generally
    prohibit all dealings by U.S. persons or those v.·ithin (or transiting) the United States that involve
    any property or interests in property of blocked or designated persons.

)   U.S. sanctions need not be permanent; sanctions are intended to bring about a positive change of
    behavior. The United States has made clear that the removal of sanctions may be available for
    individuals and entities, including those designated pursuant to E.O. 13692, who take concrete
    and meaningful actions to stop-providing support to the illegitimate Maduro regime, including to
    those Government of Venezuela agencies that support him.

    Yi~idcnti   fying information on the cnti1y de;.ig.natcd today.
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             116THCONGRESS          SENATE             REPORT
              /st Session                              116-XX




                               REPORT
                                  OFTHE

              SELECTCOMMITTEEON INTELLIGENCE

                       UNITED STATES SENATE
                                    ON

    RUSSIAN ACTIVE:MEASURESCAMPAIGNSAND JNTERFERENCE
)
                      INTHE2016 U.S. ELECTION

         VOLUME 1: RUSSIAN EFFORTS AGAINSTELECTION

                           INFRASTRUCTURE

                       WITH ADDITIONALVIEWS




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            COMMITTEESENSITIVE-RUSSIA INVESTIGATIONONLY
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        I. (l') INTRODUCTIO~

              (lJ) from 2017 to 20 I9, lht' Committee held hearings. conducted interview-.. and
     re, icwcd imelligcm;c related to Ru,sian attempt~ in 2016 lo accc~:.election infra-.tructure. ·1he
     Committee sought to determine lhc extent of Rus~ian activitie'-, idcmif) then: po1i-,c of the l'.S.
     (,ovemmcnl at the :.talc. local, and federal level lo the threat. and make rL-corYlnH.:mlat
                                                                                               ion" on
     ho,~,to heller rrcpan: for such threats in the future. J he Commi11ccrccci, cd tcstimon~ from
     state election onicials. Obama admini$lrntion ollicials. and those in lhl.' lnlclligencc Communit)
     and cJ-.c,,here in the U.S. tiovernmcnt responsible for evaluating threat:, to <:ledion,.

        II. ( ) FINDINGS

           I. -The         Russian government directed l'}'.tcn,i,c activit). bcginning in at lca,t 2014
               and carr in into at least 2017, n ,ainsl U.S. election infraMructun:1 at the state and local
               level.



                                           The Committee has seen no cv1
               changed or that any voting machines \\ere manipulatcd. 2

          2.
)



    1
      (U) 111cl>.:panmcm of lfomdand Sccurit} I OH, I delines <'h•cti1111       i11JrmIrucI11reus "~torngc facilitici., polling
    place~.and ce111raliLcd  voll' tabulation location" used to suppon the election proces~. and information and
    commum,ations tcchnolog~ to include vottr re-gi~trationdatabases,,, oting machines, and other syi.1einsto manage
    the clecuun procc,-. and repon and displ:t} rc~uh~on behalf of state tlnd local gmemmcnts ... according 10 1hc
    J,muar} 6. ~o,.,,tatc:rncntis~ued b) Sccn·1.1r}ofllomeland Securit} Jch Johnson on the L)esignat1011           of Election
    lnfr.Mntcture a, a< nlical lnfra~tnid1m: Sub,cctor. a, ailablc .u hups:tr,n, \\.dhs.gO\-/ne,,s,2017110106:,tatemmt•
    ~1.'\:n:tJr'}-johu,011•dl·\tJ;;IIJlion-t>kt'lto11-111frasLruc1ure-crrti1.:al.
                                                                        Similar!). the l lclp Americn Vote Act (HA VA). Pub.
    I.. '-o. 107-::>2.S4."Ction101(b)( I I rcfors 10u func:tionall)'!-imilarset of equipment as "voting systems.··althou(!.hthe
    definition excludes ph)sical f)olhng plncts themsehes. among other ditl'erencc)., 52 U.S.C. ~2108 l(b). This rnport
    use~ the 1en11L'fec1lo11
                           i11Jrauruc11tr.•broad!)'. 10refer 10 the equipment. procc~~cs,and s)stems related 10\'Oting.
    tabulatin re ortin and registration.
                                  The Committee has re, ic\~ed the intelligence re ortin • undcrl
                                 lbSessment from earl ' 2017


                                                                                                   . , inc state!>
    asked1heCommilh.:c10protect su11c     namesbefore providing the C'ommi11cc\\ith information. I he c.'ommiuce·~
    goal \\a lo ge11hcmost information possible. su state mimesarc anon) mi£e<lthroughout this repon. Where tht
    report refer~to public tci.timon) by lllinoi~ state election ollicials. that state is idcmifird.
                                                                3
                        C         ·-·     .        ..    ~          ,           ......     .
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    J. (lJ) While 1hcCommittee doc-..not kntl\\ "ith co111idcnc1.:
                                                               \,hat f\foscow·s inh;mion-..
        were. Russia may hove been probing vulnerabilities in , oting S) stems to exploit latt•r.
        Ahernati\-cl), Mosco\\ rna) ha"c sought Ill undaminc cnntickncc in the 2016 l I.\.
        elections simply through the discovery of their acti, it).

    ~. ( ) Russian l'fforts exploited the scams bc1,,cen federal authorities and capabilities. and
       protections for the ,;\ates. The U.S. intelligence appuratui-b, b) dc-.ig.n,foreign-facing.
       with limited dorncs1iccybcrsccurit) authorities cxcepL"hcrc the h·deral Bureau or
       ln\'estigation (FBI) and the Dqnlrtmcm orHomeland Securit) ( DI IS) can work" ith state
       and local partnen,. Stat1.:dcction officials, who lun c primac) 111running elections, \\.ere
       not sufficiently warned or prepared to handle an allack from a hostile nation- tatc actor.

    5. (U) DI IS and FBI alerted states to the threat of cybcr aum:b in the late summer and tal I
       of 2016, bu1 the warnings did not provide enough information llr go to the right Jlcople.
       /\lcrts were ac1ionablc, in that they provid1.·dmaliciow, Internet Protocol (IP) nddresses 10
       infonnation tcchnolog) ( IT) proli!~sional-.,but the) provided no dear reason for states to
       cake this threat more -,eriousl>rhan an) other akrt received.

    6. (U) In 2016, ofliciab al all levels orgm ernmcnt debated whether publicly
       acknowh:dging thi~ foreign activity \\ a, the righ1 course. Some were deeply concerned
       that public warnings might promote the ,cry impression the) \\Crc trying to dispel-that
       the voting systcmi; \.\Crcinsecure.
)   7. (U) Russian activities demand rcne\\cJ attention to, ulncrabilities in U.S. voting
       infrastructure. In 2016. C) bersecurit) for electoral i11fras1ructurcat the .,late and local
       level was sord) lacking: for c,amplc. voter registration dataha..-.es"ere not as secure as
       they could ha, c been. Aging \uting equipment. particularly voting machines that had no
       paper record of vote....were , ulni:rablc tu e:\ploitation by u committed adversary. Despite
       the focus on this issue since 2016. some of these vulnerabilities remain.

    8. (ll) In the face of this threat and thc::.esecurity gaps, DI IS has redoubled its efforts to
       build trust with states and dcplo) rcl>ourcesto assist in securing elections. Since 2016,
       DI IS has made great stride'>in learning how election proccdurci. vary across state!:.and
       how federal entities can be of mo::.thelp Lo states. The U.S. 6lcc1ion Assistance
       Commis,ion (EAC). the ational Association of Seerctarie~of State ( ASS), the
       National A,sociation of State Election Directors (NASED), and other groups have helped
       OHS in this effort. IJIIS's work to bolster ::,tatcs;cybcrsccurity has likely been effective,
       in particular for th,>,;(''-lilies th.ti have lovcroged DI IS'.-,cyl.11.:rl,ccurity
                                                                                        assessments tor
       election infrastructure, but much more needs to be done to coordinate state, local, and
       federal knowledge and cfforb in order to harden states' electoral infrastructure against
       foreign meddling.

    9. (lJ) To assist in addrcs ing these vulnerabilities, Congress in 2018 appropriated $380
       million in grant money for the state, to bols1ercybcrsccurity and replace vulncrublc


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             ,otin~ machine, 1 \\ hen thnw lumb an.:,pcnt. longrc,, ,hould 1:,.1lualcthe rt.',ult-.amJ
             consider an adJ111onalappropriJtion to addrc,~ remaining in,ecure, oting machmc, and
             S)Stem,.

         10. (l)   1)1 JSand other federal gmcmmcnt cntitic, remain rc,pcctful of the limit-. oftcdcrnl
             ill\ oh cmcnl 111stale clcecion ') ,tern-.. State!>should be firmI) in the lead li.lr running
             election,. I he i:ounlt')'!> <kccntrnli ✓cd l'lcction ~) ,tcm c.111 he a stn.:n •th li',un a
             cyber<;ccurit)pcrspccti"c, hut each operntor ,hould he l-.ccnl) ,mare of the Ii nut.it ion, 01·
             their C)bcr,ceurit) capahilitie-. ,111J~mm ho,, lO quickly and propl"rl) obtain :,.....1,tarH:c.

    Ill. (l:) THE ARC OF RUSSIAN ACTIVITIES

             -       l n its re" ie\\ orthe 2016 election,. the Co1111nith.'c
                                                                            found nu c, idcncc that , 011:
    callie:>,~ered       or that ,oter rcgistr) tile~ \\ere deleted or modilicd. though the Committee
    and IC', insight into thb is limited. Ru,,ian go, crnmcnt-artiliatcd l'~ ocr actor-. conducted an
    unprecedented level of activit a •ain,t state dcction infrastructure in the run-u to the 2016 lJ.S.
    elections

                                                                                                                                C




                                                   c Comm1llcc found ump c evidence to suggl!st
    that t e Russian government \\as c,c oping and impkmcnting capabilitic-, to interfere in the
    2016 election , including undcnnining confidcn,c in l .S. dcmn\:rattl'.1m,titution and \.Oting
)   processes.5




      (l ) ( on~olid3tcd Ar1,mr11;11ton, \cl. 2018. l'ub. I 1-.o.115-1-1I. I 12 Stat. 148. 561-56~.
    \ (li) I he Committee ha\ limited 111fonna1ion on the e:-.tcm10,vhich :.rnIcand local clt>ctionau1horiIicscarried out
     on:n\iC evalua1fo11 (lf rcgi!>lr,11ion        I he,c acti\'ltici. 11rerout incl) carried out in the context of private s1.-ctor
                                         d:11abase!>.
    brckhC!>.
              rm111\1,
              IBI LIIM.
                   D11


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                       COMMIT"! CL:.SENSITIVC- RUSSIA INVES rtGA flON 0
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                        ('(~,r                              -RlJS~I\       I VI SIIC,/\TION 01\JI Y


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            -         Evidence orscanning orstate election :))Stcmo., lir~l appeared in the summer
    prior rnTe'ioi 6 l!lcc.:tion.In mid-Jul) 2016. lllinoi-; di co, crcd anomalou, 111.:t\\orl-..acti, it).
    ,pccificall) a large incrca-,c in outbound dat.1.on a Illinois Board of I lc\:tiorl'>· voter rc~istr)
    website.•~ Workin • with Illinois. the FBI commenced an imcsti •ation. 11




             ( ) On /\u=      18, 2016, FUI issued an unclassified I·I ASI I 1, to :-.lutetechnical-level
    expert on a set of~       sus eel IP addrc-,ses idcntilicd from the attack on Illinois's voter
    rcl!istration databao;es.

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    ,.,.)            r Bl I lcctronic C'o111111unka11on.
    11           • 11 ltM.
     J (ll) I> S hneling for SSCI stall: More 5. 20 I K.
    1' (l) SS('I I ranscript t'lthe OJ en ltcaring~n RII\ 1:111lntcrkrcnce in the 2016 L.S. Clcction~. held 011 \\-cdnl-:.da).
    Junc21..:!0l ....p. Ill
      '(l-)            \cnin.hn}! to th..: l mtl-d \t.ttl'' ( 0111J1utcr             lkadmcss I cam ( U\-(TRTJ, .m ',QI injection
                                                                        l.1111.:rlclcnc)
    ,,. "nr--\l·i:hni4111:      th,11attempt~ 10 "'uh\<.'1'1 the rclarion)hipoet\\Cen a \\Chpagc and Hs ~UJlportm~ dutabasc.
    t) p1call) 111 order to 11,d the daltlha,I.'11110  c,cculing malicio11,code."
    1
     ~ (l') DIIS IIR 4 005000(1 17. An II'. t,ldru, /ur,:i·tnl \/11/11p/eI .\ St"'' <,11wmmt•111  \ 111l11d1uk f.'l,·i:11011
    s, ,,~obcr         4, ~o I<•
       (l-)         OHS brn:ting for ssn .,rnff.Mardi 5.1018.
    ,- (ll) FBI FLASH alert) arc notifications of po1cntial C) ber 1hre:11,;
                                                                           !>Cntto local l1rn enforcement and J!rivote
    industl) so that admini,trator are able 10guard their S)Stcm~against the dc~cribcd tJ1rca1.l'LASI •~ mor\..edfLP·
    AM RI-R ore coi1silkr,·d ~harablc \\llh member-.of the recipient\ O\\ n organit.'ll ion and tho~c "ith dirc,:t n..-edto
    kno\\.
    ~umber                               1-1O100~-1 I, 11.P-AMlll R.
    ____.,,(lJ)flml.
    ; (ll) /hi,/.



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                  (lJIIIII)
                                C<-
                               Aftl.'rthe hsuuncc oflhc Augw,Ll'I A ':>11.the Dcrartmcnt l)r I lomeland
         Security (DI IS) and the Multi-State-Information Sharing & Anal)si<, Center (MS-ISAC)" .a,1-..cc.J
         state!)to review their log files 10 dc1crmine if the IP addn:ssc!-c.Jcscrihcdin the FLASI I hau
         ,ouched their infl1btruc1urc. rhb n:~uc!)l for \Olumar) st.:lf-rcporting, in conjunction \\ith DHS
         analysis of NetFlo,, m.:tivit) on MS-ISAC intcrnl.'tsensor:,. identified anOLhcr20 '>latcswho!-.C
         networks had made connections to at lea!)tone IP address listed on the FI.ASI I.~: DI IS wal-1
         almost entirely reliant on states 10 !-.Clf-rcponscanning activit).




                                                                           Fonner Spccia Assistant to
     the President and Cybersccurity Coordinator M1chac Dame said. "eventually we get enough or
     a picture that we become confident over thr.:cour!)c of August or2016 that "c 're seeing the
     Russians probe a whole hunch of c.Jiffcrcntstate election infra.structure. otcr registration
     darnbases.and other related infra~1n11.:1urt·
                                                on a n:gular basi!>_-,:<Dr. Samuel Liles. Acting
     Director of the C'ybcr Anal)sis Divi:>ionwithin DHS's Office of lmclligcncc and Analysi!>
     (l&A}. tcstilicd lO the Cummittcc 011 June 21, 2017. that ..b) late September. \\C llctcrmincd that
     imcrnct-conncctc<lch:ction-rclatcd
                               .. ~,,
                                        net\\ orks in 2 I l>tatc,were potential!~ targeted b) Rus:>ian
     government cyb er actors. -
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    t,·rritorial ( LTT) go\ cmmcnt emitii.:~.It serve" ns the central cyb..-rsecurit)1-e-.ourccfor SL rr governments.
    En11tics  join to recch,c C) ~l'>,·curity ad, iwrics and alens, , ulncrability a<;ses-;mcnts.i11dde11t
                                                                                                         rc~ponseassistance,
    and oth~r Ser\ ice~.
    :, (ll--)             DIIS IIR 4 0(150006.A11II' :ldch•.,., forgetcd \f11/11ple l' S. Store Gm·erm1w1m m lndride t:lection
    .'))1h'~ohcr             4. 2016, OIIS briefing for SSCI <;t~ll \larch .S.2018.
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             (LJ) SSCI 1 rnnscript of the lntcn ic\~ \\ ith John Brennan. Former Din:ctor, CIA. held on l·riday, June 23.2017, p.


         '   (L) SSCI ·1ran:;cript of the lntcrvic~, with 'v1ichacl1>u11icl.
                                                                          Former Spt•cial 1\s,is1an110 the 1•reside111and
    C')'bcr'iernril)     Coordinator, 'lntionol Sccurit) Council. held 01t Augusl JI, 2017, p. J<>.
    26
             (U)   ssn   Transcript of the Open ll('aring on Russian ln1crforcnccin the 2016 ll.S. Pleetions, held on \Vcdnesda~.
    June 21. 2017. p. 12.
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                               C'OMMllTEE SE1 SITIVE- RUSSIA INVESTIOATIO 'ONLY
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             ~.!.:111                     ,I ,l'\·nnd 1:1 l\\,II and a foi111,\11:Jl)si•, Report in (ktohcrthat
                                   iv,111.:d
     !lugged-                 su!.pcct If' atklrcsse,, many unrelated to Rw,saa.]' DI IS bridcrs told the
     Committee that they \,ere inlcmionall_\ mcr-n.:por1ing out Man abundance or caution, gi,cn
     their concern about the scriow,ncs!iof the threat. 01 IS rcprcscntati, cs told the Commillel', "We
     \\Cre very much at that poim in a l>Ortofduty•hM,arn type orauitudc ... wh1:rcma)bc a specific
     incident like lhb. \\ hich \\,b unuurihuled at thl· time.wouldn't have nccc::Nlril) ri,;cn to that
     level. But ... W<; were seeing concurrcnr Hlrgctingorother ckction-rdatcd und political figures
     and political institutions ... [which) led to "hat \\Ould probahl) be more sharing than \\C \\Ould
     normal!) think to do:·=~




                                    isted of re care on genera     c I n-re uted web pages, v er ID
     information, ch.:ction ystcm soft,,arc, and ckctilln crvicc companic-,:· 11


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                    COMMITfEE        SI: SITIVE- RUSSIA INVESTIGATIO
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      Russian Embassy placed a forma request to observe t 1c elections with the Department of State.
      but also reached outside diplomatic channel!. in un attempt IO secure pcrmi::.siondirect!) from
      stmc and local ckction officials. 17 In objecting to these tm:tics, then-As,i::.tantSccrctar) orState
      for European and l,urasian Affairs Victoria , uland reminded the Russian Amba:-.:-.,1dor     that
      Russin had rl'fuscd invitation_:,lO participate in the uffi<.:ialOSCE mis:-.ionthat wa!, to obscr\'c
      the U.S. clcctions.1g




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     ;, (l') FBI IIR
     ·•• (l )/hid.
     ~-(l'.) DTS 2018-215~. SSC'l lnte,"',i:" ,\ith Andre,, McCabe. former Dcpul) Directorofthe 1'131.rebruary 14.
     _oIs.pp. 221-222.
     '•    Email. sent 'ovcmbcr 4. 2016: from




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                       COMMlrfEE        SENSITIVE- RUSSIA INVESTIGATION 0
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         ( ) The Committee found 110 C\ idc11Cl'
                                              of R111,.,i,111 :w1nr-. ,11tcmptinglo manipulull• , olc
 tallks on 1:kction Da). though again the Commith:c and IC''>insight into thi!>i!-.lrmitcd.

 (U-)           In the )Car:-.since the 2016 election. awarencs-. of the threat. acli\ it) b) DI IS, and
 measures at the :,late and local le\ cl 10 heller :,ecur1.:dcction infras1ructurc have all ,ho\.\ 11
 considcrahle impro\cmcnl. n,cthreat. hm\ c, er, remains imperfectI) umlcr!-.t(1odIn a brieling
 before Senato~ on August 22. 20 I8. l) I Daniel Coats, FBI Director Christopher \\ nt). then•
 DI IS St..-crctnr)Kirstjcn \Jid,cn. and then~[)I I~ l ln(krsccrctar) for the ational Prlltcc1ion.111d
 Program,; Di\'i:,ion C'hri!-.lopherKreb:, 1old Scn11tor!-.
                                                          1ha1there ,,ere nu l-.11m,nthreat-. to dection
 infrastructure. llowc\cr. Mr. Kn:bs also :-.aidthat top election vulncrnhilitie:-.remain, induding
the administration of the vmer <latabascsand the tabulation nf the data. \\ ith the latter being a
                                        1
much more dillicult targel to ('llt.tck.--1
                                          Relatcdl). SC\cral wcel..:'iprior lo the 201X mid•tcrm
election. DHS assessed lha1 "numcrow, actor, Ml' regularly targc1ingclcc1i()ninfrwaructurc.
likd) for different purposes. including to cause di-.ruptivc elkct'> . .,,cal cn..,itivedata, and
umlem,ine confidence in the election:·➔'




IV. (U) ELEMENTS OF Rl:SSIA~ ACTIVITIES

     A. (U) Tar~eting Activi~

                            Scanning uf dcction-rclatcd stmc infras1ruc1urcb) Mosco\, ,,as the most
                           c I(' and Olis clements obscnc<l in the run unLothe 2016 clcction ..ili

     • -            In an inlcrviC\.\with th!!Commitll.:c. \,1r. Daniel stated: "What it mostl, lc,okec..l
          ~l'>       "as rcconnai, ..anct!.... I \\OU luhave characterized it at the time as sort of
           conducting the rcconnais ..ancc 10 do the network mapping. to do the topology mapping so




•➔ (ll) DTS 2011--l::! 7 5. umm:iryof8t22l1018 All Senators Clection Securit) Oril!lini,;.1\UJe\USl28. 2018.
"(l'-)          llonwlnnd Sccurit~ Intelligence /\,,~ssm1:nt:  C'ybcrJ\ctorsConunue 10 Engage in lntlu~nc~·
Al'II\ 11,e~ andI a,,;cting of Election Infrastructure,Octohcr 11.2018.
•6 ( l-) DT~ 2019-136!1.NIC 2019-01. Intelligence Communit)' Ass.1:-~smc:111:i\ SumnHlf) of 1he 1111..dhgcncc
Conununll) Report on l·oreign lntcrforcncea~ Directed h) Exc-cuthcOrder IJ8<i8,:-1arch29. 201'>.p. 2-3.
' ( ) /bu/.
                                         from DIIS and< I IIC l·ebruary27.2018. p. 12.
•~(ll) SSC'!inter\lc,, of rcprcscntatiH~!>
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                   COMMITl'l::'.E SE SI flVE • RUSSIA I VESTKiATIO                          ONLY
             Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 42 of 215




               that )OU could actually tmdcr-;tan<lthe ncl\\ork. c-.whli"h a pr,'wnc<.:rn         )OU   could com1.
               hack later and acturtll) c,ccutc all opcmtion." 19

         •     (lJ) l es1il) ing before thl' Cu111111i11ee,
                                                         Dr. I ilcs charac1cri1cd the acti,,it) tts '•.,impk
               scanning for \'lllncrahilitics. analogou-. to ~omcbnd) walking dc.mn lhl' street and looking
               10-.cc ir) ou arc home. A small number ors),;tcms ,,ere unsucccssfull~ c.\ploitcd. a~
               though somebody had rattled the doorknob but \\ as unahlc to get in ... Iho\\ ever I a small
               number of the nc1,,orl-.swere successfitlly c,ploitc<l. The) made it thmugh the door."'''

                             DIIS and FHI assc~smcnts on the number of afll.·ttcd slates evohcd -.ince
     2016. In a Joint Ff31/DIISintelligence product publii.hcd in \.larch 2018, and cooruinatcd \\ ith
     the Central lntclligcm:<.:Agenc) (Cl/\), the 0l'f1.:n:-.cIntelligence Agency (DIA). lhl· Ocpartllll'nl
     of State, the Na1ional lnwlligence Council. thl.!1 ational Sccurit, A •enc) (N'SA). and thl.!
     Department ofTreasur), DHS and FBI assc!)scd                              that Ru-,:,ianintdli •cncc
     services conducted ac1ivi1v




         • -         DI IS arrived at their initial u,scs,mcnt b) evaluating\\ hcthl·r the tactics,
           ~ues,        and procedure., ( ITPs) obsen cJ wt·rc con-;istent ,, ilh previously observed
           Russi~mrn>s,\\,hethcr the actor:-.U'-Cdk1Hmn Russian-afiilia1cd naliciom, infrastructure.
)          and ,-..hethera stale or local election ~:'>lcm'"'" the target.~·

         •    (U) The majority orinfomu1tionexamined b_ DI IS wa:-.provided by the states
              themselves. ·1he \1S-ISAC gathered inl,,rmation from state:. that noticed the suspcc1 IPs
              pinging their :.):,tc,m. In addition, I Bl \\a, \\\irking with some !>talcsin local field
              offices nml rl'porting bad. FBl's findings.

         •    ({;) If some !>late~evaluated their logs incompletely or inaccurately, then DI IS might
              ha, c no indication of whether the) , ere scanned or auackcd. As formcr-1lomcland
              Sccuril) Ad, iscr Lisa Monaro told the Commillcc. ··orcourse. the law cnforccmcnL and
              the intelligence comm unit) i-, going lO be signiticantly reliant on what the holders and




    ~~ (L:) SSCI1 nmscript of the lntcr\-iC\\of \4ichael Dm1iel.1-onncr As'\istant 10 the Prcsid,mtand Cybcm"t"uril)
    Coordinntor. at,onal Sccuril} Council, J\ugu~t 31.2017, p. 44.
    ~•(ll) SSCI rranscript of theOpen Ik.1ring on Russian Interference111the2016 IJ.~. Uecrions. held on Wcdm.-sda)',
    Jundl.2017 .. 11.
    ;,              DIISlt-BI I lomelnnd lntclli •enccBrief.


           . ,•ec art. in ru. tor infom,aiion on -;uccestill breaches.
    si (U) DIIS did noicount anacks 011 political panics. poh111.:alorganitations, or NGOs. for cxnmplc. rhe compromise
    ofan email alliliated \.\ith a panis.anSlate U ,01cr registration orgm1i.aHion\\US 1101included in DIIS's count.
                                                      11
                      COMMITfEE         SENSITIVl: - RUSSIA I VESTIGA.I ION ONLY
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                                                            ..,cc,on i1, ")''''111 (rn:I :m<ldl-cidc ◄ to 14i~1.
             tmner, ,111<.Ioperator, of the inlh.1'-.tructurc
             their han<l...-i


           -                    llo\\'C\'Cr. both the IC and the C,,rnmittcc in its m,n rcvic,, ,,ere unabk to
    disccrn~c                   aflcctcd -.late~.

              (ll) \1r. D.m,cl 1old 1hcCommittee that b~ late :\ugm,t 2016, he h.1tlalrcad~ pcr ....<.mall)
    conclu<lcd that the Ru-;<:ian~  had allemptcd to intrude in all 10 ,talcs, b:hl'd on the cxtcnt nf thl"
    ac11,it) and the apparent randomncs:.-ol'thc attcmrl'-.. ··M~ profc!>,inn,111udgmcn1     "·' \\C ha\l·
    to" orf...under the u,,umption that the) ·,c tried to go C\ Cr)" here. hc1.:au,cthe) ·re thorough.
          .                I .        I ,.,<
    t I1C) re competent, t lC)' re gom . ·


            -                   Intelligence de, clo
    that all~                  tar •cted.




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       (ll) 'IS('I I mnscnpr ol 1h,:lntcn ,c,, "ith ol I h:I Monaco, Forn1l'r llomcland "-ccurll) \1h isor. \ugu~I 10, 2017.
    p. 18.                                                                 ·
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       (I) \SCI I ran:...·rip1ol tht• lnter.1C\\ ,\ith \llchad Daniel. Fonner ,h~1'tan110 the Pre idem and C)bc~'CUnl)
    Co,,rJ111ator.'111mnal ccunt} C.oundl. Augu\t ll, :?017.. 40.
    '•        l)IIS I Bl I lomcl:md l111clh•cncc 13u11c1in,

     , )    ,,.
    a (l') 1>11._  briefing fur SCI staff. "-1:lrch"· :?0IS .
    •., (U) "iS<.'I mien it:\\ of n:pn:!>cntalhes from 1)11",Jnd CTIIC'. Fchruar> 27. 2018, pp. 11-12.
    .,,.(U) DIIS hricfing for SSC! staff. March 5. 2018.
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                       COMMIT! lJ~ SI· Sil IV!· - RUS~IA I
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            ( ) llm,c,cr, IP addrc,-,c::,associated \\ith the i\ugu-.1 t,·. 2016 n .\SH prmidcd some
    indications the acth it> might be attributable to the Rw,sian gm crnmcnt. particular!) the GRl                    1
                                                                                                                          :




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          •     ( U-)         One orthe 1';cthcrl<111ds-ha,ed
                "l.'\~the      ::,amc bch.i, ior from the same node over a period of time .... It was
                hd1.1vinglike ... the same u,er nr group of u!!c~ was using this to di reel activity agaim,t
                the ,;ame type of tJrgct<,."according to DII S ::,taff.6<)




      (        ) •r     eat ntc 1gence Integration Center (CI IIC'l C) ~r fhreat Intelligence     ummar). Octo~r 7.2016.
    ,., ( lJ) '""'·
    11
     ~ (lJ) SSCI interview ofrerrc~entati,·\.-Sfrom DIIS and C'Tll(.   r cbruary 27, 2018. p.   IJ.
                                                                13
                         COMMl17'EL SL           •snIVC-      RUSSIA INVESTIGATION 0
          Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 45 of 215




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                                   The IC's confidence level about the attribution           orthe attacks evolved o,cr




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          -            The Committee reached out to the 21 ~talc<;that DI IS first i<lcntilicJ a...target!>of
    scan11i11g
             act1\. lly to learn about their experiences. Election onicials provided the Commillce




           OHS cleclronic<.ommunu:ation.December 19 2016, email from: IJIIS/NCCI('; to: ( IA.



                   ~   ntc 11:1cnce<;SCS',ll1Clll.   Q.1/i c> 11.1~i,m(y   ,•r
                                                         \la) \, 2017.
    l'ro a ,, N1111-.",tatc.-lc1ol',\Afl1:111ptD1~111p1io11,

     -J
    74
        (ll) Ibid.
    75
             SSCI intervie1, of representatives from OHS and CTIIC, Fchruar) 27, 2018. p. 13.
    71'           DI IS arrived al their initial ass~!>mtllll
                                                           of 21 ~tutes affected by adding 1heeleven plw; se-.enstates, plus
    the t m:e where scanning acti, ity appeared dir,:ctooat less speciFicl!II>elec11on-focu~cdinfrastructure.
     • (U) SSCI conference call "ith DI IS and ru I, \lurch 29. 2018.
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                                                                              ··
                                                                    14
                        COMMITrEE SENSITIVE~ RUSSIA INVESTIGATION 0'11.Y
      Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 46 of 215




 dctaib ,11>11u1 the .1ctiv1t)the) :,,a\\ on their ncl\.\ork, and 1hc Co111rn1ttcc           1ha1
                                                                                 ..u1111,a11.:<l
 l\Cwu11tingtn I >II~':-.reporting. of C\.1!11h. 7s Whcn.: thosc accou1w, diflcrcd i!-.noted belt)\\. I he
 :-.canning i\ctiviL) Lookplace from approxirnalcl) June through September 2016.

     STATE                                            OBSERVEDACTIVJTY79
      lllinoi'i      (lJ) S<!eil~/1·0,"'Rw,.sianAcccs,; to Llcc1io11-Rda1edlnfraslructurc .. for a
                     detailed descri >lion.
      State   2      (li) See i11/i'a."Rth'iian Access Lo Flcc1io11-Rcla1cdlnfra,1nu.·1un:··for a
                     dctaikJ <lcscri lion.
                     (U) According to Stall.' J oflicials, cybcr actors u.;;ing infrastructure ilkntilkd                 in
                     th1: August FLASI I conductcd ~canning activit~. xr, "itatc 3 offici.ib noticed
     State J
                     "abnormal behavior" and iool,. ,u.:tionto bloc!.. the related IP sJdrc:,,;,.c,.~,

                    -         DI IS reported GRI J ~c,\nning allcmpts aga,n-,11,,0 -,cparatc domain-,
                    ~to        election infrastructure. x1
     State 4         U See ilJii-t,. ''Two Uncxpl~incd I ,~         for a Jctailed Jc-,~tion.
                                                                                              --          -
                    (U) Cyhcr actor, using infrastructure identified in the ,\ugw,t I I ASI I ,canned
                    "an old \\eb!>itcand non-rclcHu11archi\'c:-..,"aCl'onJing to the State 5 S1.'t:retar)
                    of State's ollice. ~; l'hc folh.rn ing da), Slate 5 wok action to hlod the IP
                    address. M
     State 5
                    -          DI l!-i,hm,c,cr. reported (iRIJ ~canning acti, iL) on two separate State
                    5 Sccrc1ar) of State \\Ch-,ite,. plu-, targeting of a District Altornc) ·..,onicci- 5 in a
                    r,articular cit) y, Uoth the ,1,.d1-,itc appc;ir to bc nirrcnt addrc!>scsfor the State
                    5 Sccrctan of State·~ office.
                    (U) According 10 Stale 6 onicial'>. C)~ actors using infrastructure identified in
                                                    7
     State 6        the August l'I ASH canncd~ the emirc -,tmc n infra~tructurc, including by
                    u,in~ the Acuncti. tool, but the ..affc1:1edS)Stcm~" were the Secretary of State's



 '* (l') l>II", briefed Comm1u.:cs1afTthree 1h11c~llll thi?attach. and ~lillTn:vic\\C<lhundreds of pages of imclligcnce
 a~sl>s!imenh.
  ·~ (l:) Slight , ar1,1ti11n                           DI IS rcpone<l101hc Commiucc i~ an indication of one of the
                            bl.'l\\t!en\\ha1 slate, ,111d
 challenges in election cybe~ccuril). fhc ~)~tem o" nen, in this cuse, ~talc und local administrator.. are in 1he
 be~, position to carr) 1H1l    comprchcn:,i\c c)bcr re, ic,\i,, but 1heyoften lack the exp,mi:.cor resources io do so. I he
 fi:dl.'ralg-owrnment ha\ r.:\t)ltrCt1, aml c,pcrtbc. but the IC can 1,cconl) limited inltlrnhllionabout inbound attuci..~
 bt',atl';e or lcg.11restrktmn:. on opl'ralion~ in~idc 1hc United State~.
i,, (l) \lemorandum        for the Rcwnt.       Cl Stuff, Confcn.:nl·eCull \\ilh [Stai.· 11,Dccemhcr 8. 2017.
     (lJ) Ibid
~- (l'.) DIIS briefing for C-ommicu.-c     s1affon \larch 5, 2018.
l' (l') \ilcmorandum f,)r the Record. SCI Staff~ Conlcrcncc Call \\ ith fS1a1e 5J. Deccmher I.2017.
ll-l (l} /hid
8
  ~ {e-)            Bricli?rssugge:.1ed1hc"most \ltan1ed'.list housed on thl' District A11ome)·c; 11cb~i1elllll) have lu
some~en              connected ro voter rcgis1ra1   ion. rhc c11actnature of thb connection, includin£ 11 hether it 1\lb a
technical ncr,\ork connection or whether databa.,ci.of individuals \1 ith felon) com ictic,n, hdd by the District
All11rn~) \ ollicc had voting regis1ra1ionimplica1ion~.is unclear.
86
   (U) DI t<.;briefing for Committee staff on March~.2018.
81
   (IJ) State 6 olliciub did not !.pccif). bur 111light of thl' DI I~ as~essment.the)' Iii.cl) meant SQL injection.
                                                    15
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                              \H'h ,1pplica1ion :md lhl' dcction rc'luh, wch'litc Xi< If th1.:p1.:111.:lt
                                                                                                     ctl iu11 had been
                              successful, actors could have manipulah.:d the unofficial displa) or1hc election
                              tallics. 1"' State otfa:ial-. hcliC\'C<ltltC) \\ould have caught an) inconsi-.1e1H.:)
                              quick I) .'10 State 6 bi.:camef!\\MC of thi~ malici(ius acti\ ity and alerted
                              pai1ncn,.'11

                           -           DHS rcpo11cdth.it GRl I actor.- scanned State 6, then u1M1cces-;full)
                           attempted man~ SQL injection a11ack'>.Stall.' 6 '>U\\ the highc!>tnumh\.·r of SQI
                           atkm }b uf' mw '>Lme.
                                               --------
                           ( U) According to Stale 7 officials. C) bcr actor~ using infrastrncturc idcntitkd in
                           the Augu~t I Li\SI I -,c:1m1cdpublic-facing \\Ch~itc,. im:luding the ·',tatic''
                           election site.' 1: II scemc;d the acto111\\WC "cataloging holes to come hack Inter."
                           according to -;talc election officiul--.'11 State 7 hcl.'.alllci.l\\Htc ol'this maliciou'>
                          Iacti, it) a ti.ern:i.:l'ivingan FBI .ilcrt.' 11

                           -           DI IS reported GRU scan_ningaucmpt ngain,1 t,\o ~l!paratc domain~
                           ~to           election inrra~tructurc.'"
                                                                -------·
                           (ll) According to State 8 ortkial-., c)ber:actors u~ing illlra!ltrlll:turc identified in
                           the Augu~t rt.A ',I I scanned a Stale 8 putilic ckction ,,ch~i1c on one day. 111'
                           State 8 officials descrihcd the acti, it} as heightened llut not particulurl) out of
                           the ordinary.'n State X became av,arc of this maliciou~ ar.:ti,ity after rccci, ing
                           an alert. ''6
               State~
)

                           (lJ) According to State() ot)icials. C) bcr actors w,ing infrm,tructure idcnti f1cd in
                           .mOctober  MS-IS!\(' advisor ·'°1 scanned the statewide voter re istration



    K• (  I ) kmur;mdum for the Record. SSCI S1aff.(_onfor.:ncc Call \\1th [State 6 J.N4.wcmlx:r17. :?O17.
    K'I ( l l /hid
    '"'(l') /hid
     II (ll) /hid

     ,: (I:) Memorandu111for tll\' Rl'cnrd. SSCI <;1aff.C'(mli:reuccCall ~~ilh[State 7], Januar) :?\ 20 Ill.
    •IS ( ll) /hid                                                       .
    9
      ' ( l I) Ibid.

    ;, (ll) DIIS briefing for Committee ~taffon March 5. 2018.
    "'' (ll) Memorandum for the Record. SSCI St,lff, Conti:rcncc C:tll ,~ith (Srnte 8 J,Fcbruar) 2. 2018.
    "' (LI) /hid.
    "*  (l') /hit/
    · (l') OHS briefing for Co111mi11c,c  Slaff on March 5, 2018.
    lt,.l(l)    /hit/
    101
            (l') While the Committ-:c was unable10 review the specific im.lic:1tors
                                                                                  \hared ,.,.uhState') b~ the MS-ISAC in
    October. the Committee he lie, ci. at least one of the relevant IP~ was origmall) named in the August FLASII because
    oftcchmcnl data held b:r DIIS \\hich "a~ briefed to thi: Commillec.
                                                 16
                           COMMrITEE SENSITIVE- RUSSIA INVESTIGATIO
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                        '-)'>1•''''·lu~ Onicilll, uwtl the an.ting) nr a 1h11.:I
                                                                              ca-.ing a parking lot: the) said
                        !he car thicl "didn't c:o in. bul wc don't kmm wh\.'' 1111 State 9 became a,\arc of
                        this malicious activi~\ al'icr m:ch ing an alert. 111·1 •

                        -         D11Srcpor1ed <,RI I st:anning ac1ivit} on the Sccrc1ary of Stall:
                        =·I05
                        (U) According 10 Slate IO oniciab. C} bcr m:tor:-u,ing infra'>lruclUrc-------iicknlificd
                         in 1hc August l'I ASH conducted acti\'il} that wa:- ··,w) lot1d;· \\ ith a three•
                        pronged attack: a \Jc1hcrlancls-based IP addrcsl-.attemph:d S<)I. injection on all
                         lidd~ 1,500 times. a U.S.-ba,cJ IP address a11emp1cJS()I. injcction on ,c\ cral
                         fields. and a Pl)land-bascd IP addrc!'>'>  attempted S()I injection on one field 6-7
                                1
                        limcs. <H, Stale IO rccci,c(I relevant c\'bcrsecurit, mdic101~ from \IS-IS,\C in
                        earl) August. around the same 1i1111.:    tl~atthe attuc·b occurred. 1"' State IO's 11
                        contractor attributed the attad. 10 Russia and sugge ...te<lthat the acrh ity \\as
                                                                                    "ith lors of noise and then
                        reminiscent of othc·r nttacJ..-;\\ ht:rc attad.crs di!)trm.:1
                        ··sneal-.in the back.'' 111x

                       (U) State I 0, through its lire\, al I. blocked attcmr1cd maliciow, ac1int)' against
                       the onlinc ,okr rcgislration ")stem and provided log)>lo thc National
                       Cybcrsccurit) ~ml Communicmiuns lnt~gration Center tl\CCIC) 1114        and the U.S.
                       Computer Erncrgcnc) l{cadinc ...s I cam ( US-CERT). 1111 State 10 also brought in
                       an outside contrnctor to assist. 11

                 -         DI IS confirmed (iRl I S(.)I. i1licc1kmtlllcmri...again:,,\State I ()'s voter
)                st:rv1ce.swebsite on Augu.,t 5 and ~aid 1ha1 the attal:J..,,n, hlockcd aflcr one day
                 b · Stale 10·, firewall. 111
    1-------t------                  ----=----
                 ( U) According to State I I olfo.:ial.,. they have scc-nno c, idcncc orscanning or
                 attack attempts ri:lat~d to election infra.,tructurc in 2016. 111 While State 11
      State I I  oflicinls noted an IP addrc!)~"probing" ·1utesystems, activity which ,,as
                 ·'broader than state election S)SICm'-," State I I election ufliciab did nm pro, idc
                 specifics on which:-~ stems. 11~




     ,,: ( I ) \h:morarnJum for 1hc Record. '-'-iCI Srnf[ Conference Call \\ilh l tmc 9 I. ?\'member 17, 2017.
     "'(l')/hid
    "" (ll) /hid
    ~" (ll) 1)11Sbriefing for (\m1111i11cc  staff on March 5, 10 I l!.
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     "" (lJ) Mcmoromlum for the Record. SSCI Stall: Cunforencc (\1ll \\ilh [Stale 101, November 29, 2017,
    19· (ll) Ibid
    111 1
       ~ (1 ' Ibid
    ,o-,(t:) NCCIC l\ 011 "!'> cybcr \\atch center.
    114(I ) /hid
    111 (I!) lhul
    112
         (I') DIIS briefing for C'ommitti.."C
                                           :.taITon ~larch 5. 2018.
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         (tJ) \1cmorandumtor the Record, SSC! Stall l'onlcrcncc Call \\ ith ISuuc I t I, December 8, 20 I7.
    11~ ((I) /hid

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                          C(-'I:-                                     Rl 'SSIA l'\JVES f I(;/\ I Oi\ ONl Y
                                       DI I~ reported CiRl 1 ,1:a~ning acti, it) on 1hc sc-;:-clar) ot'~rn1c
                              omrnn. 11'
                  -~1--
                          (C) C') bcr acwr~ using infra..,tructurcidcntilicd in the /\ugus1 rl ./\Sil
                          conduc1cd;;canning nc1h it) that ''la,tcd kss than a ~ccond and no ,ccurit)
                          breach m:currcd." accordin1.tto State 12 onicials. 11'' State 1.2bcl·a111t.: ,l\\arc of
                          1hi-;maliciou., acti\ it) after-being :1lcncd to it. w
           Statt' I~

                          =t.
                          -         DI IS reported that bccau'>cora lack ofsc1hor data rdatcJ to tlw,
                                    the) n:licd on ct~lo\\ data. which pro\'idcd k,, granular
                          inlbrmation. m DI IS·., onl) dear indication of (iRI wanning on State 12·.,
                          Sccretttr) of Swtc \\Cbsitc came from State 12 i-clf-rcpor1i11g information to f\1'.-1-
                          IS/\C alter the is!>uanccol"thc Augw,t Fl.AS! I n~)tification. 11'1
                          (lJ) 1\ccordmg IClState 13 ol1icial~. the) li.1,c: seen no cddcm:c of scanning or
                          attack attempts related to :..late-wideelection infras1rnclurl' in 2016. l:?o




           State 13




)
                               MS-ISAC' passed DI IS reports of communications between a suspect
        State 14
                       a  r re,, used In the GRU a1the time and the State 14 election commission
                    ,,cbpagc. hut no i.ndication of a compromise. •~1 111       .id<.lition.DIIS wm,
    ,______      _.__i1--ll_<>_n
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                           11
                            __     acti, ity relating lo '-.l'E_aratc
                            cd.;...ot'                              IP addn.:s,cs in the Aup_ustFl .ASI I.




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        ' (IJ) DI!\ briefing li1rCommitt~ staO\,n \Ian h 5. 2018.
       '' (lJ) Memorandum for 1he Record. SSC'I -;,aff. Conkrcncc Call ,, ith IState 121.Dc.:cmber I, 2017.
    w (ll)     lhitl
    rix (ti)   OHS briefing tor Committc...-~,affon \larch 5. 2018.
    i1•, (l')  /hid.
    ,:., (l ') Memorandum for the Record•. SCI Staff. Conference Call ,, ith [State IJ ), December I. 2017.
    1 1
     :    l' FRI IIR                 DHS bricfrn for C'omnllllcestaff on \ii arch 5. 2018.




    s      . .    .           .   . '"DIIS Meth          ,
                                                   ntclligl'ncc Ori
                                                  : DI IS briefing
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                                   induJing ,1Hc111p1cd     I 1oma111~amc ~ystcm (D S) hmkup!->     and potcntiall~
                                   '!:!alicious emails. !,OlllC dating bad, to fanuar> 2016. 1.:•1   __
                                   ({;) State 15 oniciuh. \\Crc nm a\\·arc thm the :.late ,,a._ among thost>targ"'t\.·d
                                   until they \\\!re notified.'~~ State 15'<;curT<.:nllead election official \\~h not in
                                   place during the ~016 ckction s1>they had littk insight into any -,canning or
                                   attempted intrusion 011their") stem..,, St.itc 15 of'licial, said that gc1h:rally the)
                Stat<: 15          , ic" cd 2016 a., a SllCCCssstol') because the at1cmp1cdinti h ratH111111.:\er got past
                                   the st.lie\; four la) ers orsccurit~.

                               -.    DIIS reported            broad GIUJ :-canning ac1i, it~ on )late 15 government
                               =.,.116
                                                                                      --            -- -
                                ( U) According to State 16 ot1kials. C) bcr actor-, ll'>tng infra..,rnit'lurcidcnti lied
                                in the October rl,ASI I conductcJ scanning acti, ity against a :-t,1tcgo"crnmcnl
                                nctwork. 117
               Stale 16
                               -DIIS           rl.!portcdinformation 11n Cjl{l ...c..mning acti, ity. ba:-.cJun a .,df'.-
                               report lrom State 16 ancr the i..,uancc orthe October 1-1,\SI I.,,~
                                                   -                   ----                .............
                               (U) State 17 onicials rcporh:d nothing "irregular. inrnnsfstrnt, or :-w,piciou~"
                               leading up to the election. ii,, \\ hilc State 17 IT ,tall rcc<.:ivcdan \1$-ISAC
               Slate 17        notification. that notification ,,a.., not :-hared" ithin the state govcmmcnt. 130

                                        DI IS rcport"·d (iRU ,ca11nin1:;                                domain. 111
                                                                        activit) on an 1:_h:ction-rclatcd
                               (U) State 18 election olfo.:iah ~aid the) ob:-.crvcdno connection from lhc IP
                               addresses listed in the election-related notification~.:-:
)              . 1mc 18
                               -         DI IS n:portc~t indication-, of CJ!HJscanning activity on a State 18
                               0   overnm<.:ntdomain. 1' •
    .1--------------
                               (l'.) According lO State 19 t)fticial-,,cybcr actors using infrnstructurc identified
               Slate 19        in October by I\IS-ISAC conducted canning activily State 19 claimed this
                               activity ,vas ··blod.cd." hut did not daboratc on ,vhy or how it was blocked. 114




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        :,    (l /--)       DIIS IIR -l O19 00 I.:? 17. ()lier Actil/1., Turge1ii1.rdStt1/('14/ Gm-er1m1e111
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    rr111m·r;:r:r:,:r,.e~.)C$ A 11ot                    Sime Elcctio/1\S>,·rem.,.Oc1o~r 21. 2016.
    11
       ' (l ) Memora11duru  for th~ Rl.-cord,SSC! S1afT.Conference Call \\ilh !State 151.~lard1 12, 2018.
    ,:,. (ll) OHS briefing for Commillee stnff on March 5. 20 I 8.
    I' (ll) Memorandum for the R1--cord.       SSC-IStaff. Conference Call \\ith [State 161.December I. 2017.
    1
     ·• (Ii) DIIS briefing for Commillec s1affon March 5. 2018.
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     ?••(ll) \1emoran<lum for the Record. SSCI Staff, ConferenceCall "iah LStatc171.J:inu,11') 25. ~O18.
    I    (I   (ll) Ibid
        (ll) DIIS briefing for Committee staff on March 5. 2018.
        ll
         1
    "   (l') \!cmorandum forlhc Record,SSCI Staff. Conlcrencc C'all,\\ith [State 18). December 8. 2017.
    111
        (L) OHS briefing for Committee 1;1aff  on March S. 2018.
    114
        (U) Memornndum for the Record. SSCI Stan: Conference Call ,, itJ1 (State 191,December I. 2017.
                                                         19
                              COMMITI'hE SE SITIVI:-:.- RUSSIA I. VESTIGATION                              O LY
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                                  DI I~ r"p\lrlcJ 1ndk,1tton, ol <:Rtr ,canning .,cti, it) on L\\O ,eparatc
                       . tatc 19 s_overnmcnt domains. 1''               __
                       (U) Ac:c:ording10 State 20 oniciab, cyber actors using infrastructure identilied
                       in October b) \1S-ISA(' \\Cre "1,..nucking"Oil the stale's nct, ..ork, but no
                       succe,sful intrw,ion occurred. 1~,.
        State 20
                      -           DI IS reported OIH ,c,tnning acti\,it~ on the Sccrct.ir)           orSt.itc
                      =:rn.•n
                       (U) State 21 ollicials m:chcd indicator, from MS-IS~(' in October 2016.
                       They said the) were not ,mare the state" as among tho,c targeted until
                       notified.,,~
       State 21
                      -           DIIS reported emuscanning ac1ivt1) oil an dcction-rclatcd domain ,1,
                      ~at lc~t one         other government system comtc1:h.·d Lo the ,01cr n:gistr::uion
                       s stcm. 1; 9

            -           either DI IS nor the Commince c,m asccnam a pn11emlO the ,tatc, 1.irgctcd.
    lending~cc         to l)I IS's later assessment that all 50 ,t.11cs prohahl) \\Crc ,canned. DI I
    representatives told the Commiuce that "there ,\ao;n'La clear red ,tatc-hluc stutc-purplc statt.:.
    more electoral ,otcs, le<;<; clcc:toralvotcc;"pattern to the auack-.. DIIS ,H:l,..mm !edged that the
    U.S. Government does not ha"c perfect im,ight. and it is possible the IC misst!d some activit
    that states did not notict: intrusion attcm b or re lrt them. 1111


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    Its (ll) DI IS briefing.for < ,,mmiHcc ~,aff 011\1arch 5. 20 IIt     ;
     •<-(l) \lemorJndum for th,· Kecord, 'I Tl Stall. l onll!rcncc Call \,.,1th(Staie :01.No\l:mhcr 17, :!017.
    1 7 (l) l)HS briefing for ( ommittce !>tnffon~larch 5, 2011S. ·
    1 (l.) \lcmorandum for the Record. SSC!. ton: Conf,•renccCall "il11 (State 21 ). -.:o~cm~r 17. 2017.
    11'' ( l ) DHS bril'f1ng torCommittee ,1aff on March 5. 2018. :          '
    1411
           1; SSCI intcnie\, \\ith OHS and ( I IIC. I cbruarv 27, 2018•. 25




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                                               SI I IVI - RUSSIA INVl:S flGA110
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                           J\i, oro~tol>tr 2018. the IC'and DHS were looking for evidence ot threats             10
     election S)Slems,                                              . An October 11, 2018 DIIS
     Intelligence J\s-.essrncntreported the lollowing:

                 Wej11dgethat numerous aclors are regulur(r l<1rKefi11g       elet'tion il1/i-<1Mruc/11re.
                likely/hr dijjerenrp11rpo.~es.inc:/11cli11[.!         disruptive e.ffects,st<!al.w11Jitive
                                                           to r.:£111.w:
                data, and und<!nninewnfidence i11rite electin11. We are ctwm·ec?f'a}(rowin,:
                volume of malicious activiry 10rgeling del'lion i11/i·astructurein !O/H. al1ho11Kh
                11·edo 1101lww a complete baseline ofprior years to de/ermine rc!lariw:sculc: <f
                the activity. Much<~(our understanding o/'c:i•her1hre<1ts       to election in.fi'as11·uc111n'
                is due to pmuctiw slwrin~ hy st<1h'and loc:alelec:1io11     o/)icial,. as well"·' more
                robust i111elligenceand injhrmation slwri11grela1io11.~ltip.,    w11011gsr the <!li:<·tion
                comm1111i~y  a11tlwithin the Depanme11t.The oh.,erved ac11,·i~1·      has h•,·eraxed
                commo11lllNic.\ the lypes <?/'tuc:/ics  !hat are uvailahll' /0 nation-srare (111dnon-
                state c:1·herm:tors, alike-wit!, limited succ,•.n 111<.·cm1promisi11~   11,•rworksand
                accm1111.,·.We have nor aflributed /he adi\•i~1·to <111_1.f,,reil!,11
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                          lo work to identi/5' rhe ocrorJ h£'hintllhese operaliom. At thi, lime, all
                co111i1111<•
                these aclivilies wc•reeith<'rprevented or have been mifi!,!.11/r:d.



               Unide111ifiedcyber actors since at lea.\f April 2018 and as ren.'111/yus early
               Oc!Oberconlim,e ro engage in a rm1},!e ofpo1e,itiul elecriom-rdatcd cyber
               inc:idenr:.taJJ?etinl!e/e('lion infrmtrt1<'lt1r<•
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)              explvilation technique.v.and denial ,~f,ai•ice a/lucks, possib(y indicating
               continued inlen.•,1 in compromi.,ing !he ,,vailohili(v, conjidemiality. and integrity
               rfrhese .\)I.Hem.,. For e.wmple. 01114 A11~11.,1    2018. qbersecurity ojJidals
               derec1edm11//iplealfempts to il/egal~I' acn•,·, rh<'State ol Vermont ·s Online Voter
               Re~i.~trt11ionAppli,:alion (01. IR). which .\l!n'l!.V (IS the slate·.\ resident l'()/er
               re~i.\lralion dalllhuse. m·cording ta DI/S reporrin[!.. The m"lido11s C1ctivi1y
               i11d11ded011eCm.u Site S<'l'iprinK    a/tempi. s1.:\·e11 Structured Query Language
               (SQLJ ittiecrion attempt.,, anti t1J1<' atfemptetl Denial of Sen-ice (DoS) affuck. All
                                               14
               artempls were 1msucc:es.vjiil.     '


            (U/-)         In summarizing Lheongoing 1hrcal to U.S. election systems, DI IS further
    said in the same product, "We continue to assess multiple elements of U.S. election
    infrastructure urc potentially \'Ulncrable to cyber intrusions." 144

           B. (U) Russian Access to Election Infrastructure




    141
          (ll✓--) DHS. Homel:rndSccuril} ln1clligcncci\sscssn~n1:·cjber ActorsCo111inucto Engage in l11jlue11ce
    Acrivit~                                               October 11.201 R.
                    l'argeti11Rof Ele<'lion /1!f'ras1ruc111re,
    144 (IJ) !hid

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            (U) n,cJanuar) 6, 2017 Intelligence C111nmunity All~CS!trncnt l ll'A ), '·Asscs~i11g
             /\clivitie:. aml lntcn11,ms in Rc1.:cntl l.:--..I:lcction~ ... states:
     R11<;sian

                Ru:;siani11tell1il!nceoh1ai11edum/ mui111ai11ed   access to C'!emems,d multiple l., S
                stale or local electoral boorll~. DI-IS a,·se.~sC's
                                                                 tlwl rhe type., ,?fsysrems Ru.,,wn
                actor~ targeted or compromi.w:d were not involved in ,·ote talh·in~. 1•1'

             -         Based on the Committcc·s review of the ICA, the Commith:c COllcur-,
     with lhts assessmenl. The Commillcl' found thm Ru-,:.ian-aniltatcdt'~ bcr actors gainc.:d
     occe~sto clecuon infrastructure S)Stcms across two states, including '>Uc<:essfulcxtra<:tion
     of \'Oler data. 1lowcvcr, none or these systems were invol\'cd in rntc tallying.

                1. (U) Russian Access to Election lnfrnstructurc: Illinois

            (U) In June 2016, Illinois experienced the first kmmn hreach h~ Rus::.ian actors of state
    election infrastructure during the2016 elcction. 146 As of the ~nd of'2-0IX. the Russian C)bcr
    actors had successfully penctraccd IIii nois'~ , otcr rcgi:.tration databa c, vic\\cd multiple database
    tables, and accessed up to 200,000 voter regi:.tration rccords. 147 The compromise rc-,ultcd in the
    cxfiltrmion of an unl..nownquantity of voter registration data. 1~~ Russian cyher actors were in a
    po::.itionto deklc or change voter data, but the Committee is not aware of an) evidence that they
    did so. 149

          •    -                   l?I IS assesses,, ith high contidc,~cc that the penetration was carried out hy
               ~s_,,o
)
          •    (UIIIII)       lhc compromised voter re •istrai1ondatabase held records relatinl-!, tu 14
               million registered ,,otcr                                                           . The
               records cxliltratc<linclude in orma1ton on cac 1 ,oter's name. address, pnrt,a social
               sccurit} number, date of birth, and either a driver's license number or state identification
               numhcr. 1>1




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      '   (U) ln1clligc111:c· Community A:.sessrncnl. f ~e.,sinl{ R11:.licm);lcti\-i1ie.1mu/ lntt'nliuns i11R.-l'ellf US ,-;Jeaiom.
    JanuaM!6.
           2017. p. iii                                                         ,
      ,,, (l:           ) DIIS IIR 4 005 000<>.1,, JP Addrl.'ss 1ur[1,<:11:d
                                                                          ,\/11/11;,li:U.S. Swtl! (iol'(!mme111·:.10 /11c/11d,•
                                                                                                                              1,;f,•<'ficm
    ,\1111:m.1, ctobcr 4. 20 I6; DIIS hncling for S Cl sLalT.Mardi 5, 2018.
      • · (l ') "Illinois clc~ion official, sa} hnci..>icldcd information on 2!)0,000 vott'r~:· [Local Ncv,spapcr], August 29,
    2016.
    1•s ll
                                ·n caring on June         I ,p I
            • late oard of Ue<..-tions,
                                      ll/i1101:.VorerRegi.1rroti()n
                                                                  S,l:slem Record, Breached. August 3 I. 20 I6. As reflec1cd
    dsc,,hcre in this rcpon, the Committee did not undenai..c its o,,n forensic analysis of the Illinois server logs to
    corrnborale thb ,1a1emen1;SSCI interview with DI IS and CTIIC. l·ebruary 27, 2018. p. 24.
    10
                        "Russian Scanning and Attempted Access to Elcction-Rclaled lnfras1ruclurc"for a complete
     ' (ll) St•,· i11(ra.
    disnission on auribution related10theset ofc ber ac1ivi1 linl,.edto the infra~truc1ureused in the Illinois breach.
          U/         FUI IIR



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         •   -                 DHS staff further recounted to the Committee that ''Russia would have
             ~ to potentially manipulate some of that data, but we didn't see that." 1s2
             Further, OHSstaff noted that "the level of access that they gained, they almost certainly
             could have done more. Why they didn't ... is .sortof an open-ended question. I think it
             fits under the larger umbrella of undermining confidence in the election by tipping their
             hand that they had this level of access or showing that they were capable of getting it." 153

         •   {U) According to a Cyber Threat Jntelligence IntegrationCenter (CTIIC) product,
             lllinois officials "disclosed that the database has been targeted frequently by hackers, but
             this was the first instanceknown to state officiafaof success in accessing it." 154

           (U) 1nJune 2017, the Executive Director of the 111inoisState Board of Elections ($BE),
    Steve Sandvoss, testified before the Committee about Illinois's experience in the 2016
    elections.iss He laid out the followingtimeline:

         •   (U) On June 23, 2016, a foreign actor successfully penetrated Illinois's databases
             through an SQL attack on the online voter registration website. "Because of the initial
             low-volumenature of the attack, the State Board of Election staff did nQtbecome aware
             of it at first." 156

        •    (U) Three weeks later, on July I 2, 2016, the IT staff discovered spikes in data flow
             across the voter registrationdatabase server. "Analysis of the server logs revealed that
)            the heavy load was a result of rapidly repeated database queries on the application status
             page of our paperless online voter application website."157
                                                                                                           ,,
        •    (U) On July 13, 2016, IT staff took the website and database offline, but continued to see
             activity from the malicious IP address. 158

        •    (U) "Firewall monitoringindicated that the attackers were hitting SBE IP addresses five
             times per second, 24 hours a day. These attacks continued until August 12th [2016], when
             they abruptly ceased."159




                                                                 .   '
                                                                         ..'.
    u 2 (lJ) $SCI interview with DHS and CTllC, February 27, 2018; p.. [4.
    153
        (U) Ibid.
    m (U) C'rUC Cyber Threat IntelligenceSummary, August 18,2016.'
    155
        (U) SSCI Open Hearing on June 21, 2017. The Committee notes that, in his testimony, Mr. Sandvoss said Illinois
    still had not beendefinitively told that Russia perpetrated the attack, despite OHS's high confidence.The Committee
    also notes that OHS eventually provided a briefing to states during which DHS provided further informationon this
    topic, includingthe DHS high-confidenceattribution to Russia..
    156
                     o.
        (U) Ibid., p. 11
    is7 (lJ) Ibid.
    ua (TJ)Ibid., p. I I I.
    u9 (TJ)/ bid.
                                            23
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              •     (U) On Jul)- 19, 2016, the election c;taffnotific,i 1hr llli110i~Gwncrull\'!~CtHbl) umJ the
                    /\ll01'11l'~ t,~nerul'i. nmcc.


              •     (ll) Approximatcl) a week later. the Fl31contacted lllinois. 160

              •     (lJ) On July 28. 2016, both the rcgi~tration system and the Online voter rcgbtration
                    became fully functional again. 161

                    2. (U) Russian Acc<'ssto Election Infrastructure: State 2




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    ~ ( ,)               m• 1111,ton State 2 Elccuon ~ ~hm1s.June 25. 2018.
    11
     ••   W) DI IS bncting for SSCI stoff, March 5. 2018.
    '"' (l') lhtd                                                        ,    ,·.

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    ,o11 (ll) lhul


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    71
                  lhul                                                         ·.
                      DT<;201R-2416: rBI Briefingon (Srnte21 Flcctio11S}'Ml·m~. June 25. :!OI8, p. 16.
          (       • s I intcrvic,~wi1hLJIISand C J'IIC, I cbruar) 27, 20 IR, t<J'mpar11nc111cd
                                                                                           sc:.~ion.
                                                                  24
                             COMMl17'EE SL:NSInvF - RUSS[A INVESTIGA rlON O LY
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                                       (U) FBI and OHS Interactions with State 2 179

            August 18, 2016                (U) FBI rl,/\SII notificacion identified II>aJdrcS!',CS targeting
                                                               11
                                           dcctiim nrtkcs.     ~•



)           August 24. 2016                (lf) Stale 2 lkp.111n,cm of Slate rccciH:tl the fLASI I from
                                             mional A!>sociationof Sccn.:tarics of State. •xi

            I\ ugust 26, 2016              (U) Slate 2 lkpartmcnt        orStulc   fornardcd Fl.AS! I to counties and
                                           ad\ iscd lhc.:m10 blod: the IP addrcs<;es.181

                                          -        Scpara1cly,
                                          ~cs       <;Canned its system.               subsequently
                                          discoven:d su, cctcd intrusion activit and contacted the rBI.        IIN




            Ibid.
                     DfS 2018-2-tI<,;I Bl Briefing on IState 21r lct.:tionSystems.June 25. 2(J 18, pp. 7.
               ,I.                                                          .
                  Ibid See ul,o EB-00048?3-LED
                 'I intCr\il'\\ \\ith DIIS and C'TIIC'.Fcbrual') 27. 2018. p.'42.
                   DTS 2018-2416; rUI Oriclingon fSratc 2] llix1ion Systems, June 25, 2018.
                I rl.ASl-1. Alert Number T-LD I 004-TT. Tl.II-AMBER.

                                            ricting on IStare 2JElec1io11
                                                                        S) stems, June 25. 2018, p. 4.
                "'·· pp. 4-5.
    n• (ll) Ibid. p. 5.
    Iii-' (U) /hid.

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                August 31, 2016                   FBI opened iu, invcsti~                           and
                                         ··con uctcd outn.:ach to State 2 county election ofticials to discus~
                                         individual security postures and any suspicious m:tivity:· 11h l'BI
                                         outreach reveals that one Stutc 2 count}-Coul\l) /\ \\ as
                                         scanned.186

              Scptcm bcr JO, 20 I 6                FBI held .i rnnlcn.'ncc call \Vith count~cdon        ollicials to 1
                                         a vise of the attempt to prohc Count) A. 1i-' 1-1'11   also notith:d state
                                         and local oflicials of available J>IIS-.en ices. ii..x

               October-I, 2016                     Count) B'!-i IT admini.,trator contacted rBI rcgnrding a
                                         po1cnt1al in1rusion.llN According tn the FBI. "'C>rparticular
                                         concern, the activity indudcd a connection to a county voting,
                                         testing. and maintenance sen er uwd for poll worker classes ... ,.,,.

               October 14. 2016          ( ) FBI shared County          B indicators h)' i-.suinga   n .ASI I. 1111
                                                                                             ..,___.,
              Dcccmber 29. 2016          (tr) DI IS and f-'BIreleased a Joint Analysi., Report (JAR) on the
                                         "GRIZl.L Y SlEPPF" intrusion ct; report r~pre,enl!> the first IC
                                         a11ributionof stutc election-related systems to the Russians. 192


)



                                        (ti) OIIS notified State Z counties of a possible intrusion "m, part
                                        of a broader notification to 122 cntitit's identified ,1<.spcarphishing
                                        victims in an intelligence rcpor1:•1<>~




                                                                          '
    ·••-                      16: I Bl Briefing on [S1a1c'.!JElection
                   DTS 2011<-2.J                                        Sst-t~m~.
                                                                              June.15,2018, p. .S.
    IM    cTTrm/                                                        . ...·.
    IR'   (ll) Ibid, pp. 5-6.                                       .     ·.t.·
      • (II) Ibid, p. 6.
    IR••(II) /hit!.
    I '(ll)  /{)id.
                                 H. Alert Number 'J-Ll>I00S-n. TI.P-AMBER.

                    • omt Ano ys1s cport. A -1 •                   . STEPPL R1L~si:an  Maliciou~ C'ybcrActivity.
    Dt.-ccmbcr29, 2016.
    191
        -     DTS 2018-2416; ml Briefing on [State 2) l.lcction Systems, Jund5, 2018. p. 7.
    I9-1~/.

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             Jul~ 20 I 7          I (ll) FBI rublishl•d a ,:-1J\S-1
                                                                  l report ,-.a,11i11g
                                                                                     ol'f'<h!.1bk
                                    -.r,ca,phishing. ,,,

           member :2017             (lf) l·BI and 1)11~participntcd in the first meeting ofthi.: ~late 2
                                    election!) task force. iw.

         l·cbruar~ 2018             (ll) I Bl rcquc.,tc<l direct cngagi.'1m:nt ,, ith Counties B. C'. and D.
                                    including a n:min<ler oravailable DI IS sen kc,. 1' 17

           \larch :?O18             (t:) rOJ rcpon., that ..our onicc cngagi.:d"the alfoctc<l wuntic-.
                                    through the local rl31 liclc.lonicc. !<11< I he I·BI could not prO\ide
                                    any further dclail on the -,ubstancc or these engagement to the
                                    ('ommincc.

                                                                                     -------
                                              l·BI pro-.i<lcda SICIH I l.cttcrhcad Memo to DIIS
                                    •· orma I) advising of our imcstigation into the 111trusion-
                                    -•        the reported intrw,ion at Count~ B, and ,u,rcctcd
                                    compromi-.c, uf Counties C and D."•'"'

         June I I, 2018                                                           ---
                                    (ll) FBI report, that a, of June 11. 2018, Counties A. B. C. and D
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            C. (ll) Russian •:rforts to Rc~carch U.S. Votin~ Systems, Proc~ssc,, and Other
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         D. (ll) Russian Acth·it)' l)ircctcd at Voting Machine Companies




    l,1' (l ') Ibid, p. i
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     ' ' (U) /hul. p. 4.
    11' (L) Ibid




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                 to secure pcrmis,ion Jircctl) from slate and local election uniciab. 2' 7 For example. in
                 September 2016, 1hcStat<:5 St.!cret,.U)of Swtc <lcnil!J" request b) the Russinn Consul
                 General to alto\,\,a Russi.in g.overmm:monicial inside a polling station on Uection Dav
                 to stud the U.S. election )rocc:.s accordin, 10 State 5 officials.:m
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            -        Ru-.sian Activity t>m,,ihl)' Related lo a Misinformation Campaign on Voter




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             (lo) The dcclm,silird. Ju11uar)6. 2017. lmdligcncc Community i\-.,cs!-.mcnt also
     highligh1cd prcpamtion, related 10, Ni.:r fmuu. noting 1hat Ru-.sinn diplomats ··\, ere prepared w
     publi<.:I}call into question thc \al idit) of the rc:-ull'>
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     pn:parc<l a T" iurr campaign. ifl)cmo1..r.11,:~ RIP. ,,n election night Ill a111kipat1onofSccrct,lr)
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                 2. (U) Cybcr Activit)• in State 4

                (l-)          State 4 oflkiab. DI IS, and PBI in .the spring and ::.ummer or :!O16, struggk<l
        to undcrst~         \\a~ responsible for two round:-.of c~l!r activit) related to dcction
        infrastructun.'. Eventual!~. one ,ct ofc)hcr acti\ it) \\3yauribmc<l to Rth,ia and one \\a, 1101.

                (l-)              First. in April or2016, a c)hcr actor -.uccc,-.fiill~t.-.rgctcdState 4 with a
     r,hishing scam. Aller a count) cmplO)CCopcm:J an inli:ctcd email aHuchmcnt. the cybcr actor
     ::.ll>lc cn:<lcntial....\\ hich were later pns,ted011Iinc.~-1 I ho~e ..11,kn nc<lcntial, \\ ere used in June
     2016 to penetrate State 4 ·., , otcr rcgi"ltration database. 1'' A C I I IC product reported the incidem
     as follo\\-s:"An unli.nm\ll actor vie\,,cd u -,tatc\, idc voter n:gi,trntion <lataba~eafter obtaining a
     state employee·, credentials through phishing and kc) strol..c logging 1m1l\\arc.according lo a
     privatc-::.cctorDI IS ranncr claiming o.;l•condhandaccess. rhc actor ust.:<lthe crcdc111ial,10 access
     the <larnhascand w.i:-.in a position tu mod ii) county, but.not state,\ it.le.data:·>'

             (~)           DI IS analy\is or forcn,ic data provided h) a pri\ ate si:ctor partner
    disco, ,.:rc~rc        on the system, ,m<lState -t ,lull do\\ n lhc , lHer registration S) stem for ahnut
    eight da)s lo contain the attack. 1~ 1 ~talc 4 olfa:ial, later wld the Committc~ that that while the
    cybcr at:tor was ,1hk Lusucccssfl,11)log in t<'1a" ml station connected ll> clcclion related
    infrastructure. adJ itional crt:dcntial::,would ha, c been needed for the c, bcr a1:torto act:css the
)   voter registration da1ab1.1con that s~'>lcm.~,,               ____            ·

            (U) At lir,t, I Bl told St.ti\.' -I oftkial::. that the attuck may have originated from Ru~sia.
    but the tic, 10 the Ru<,siangmcrnmcnt \\etc undear. ·• 1he 13un.:audcscribcd th1.:threat as
    ·credible· and signiticam. a srol-.c,m:mfor State -4Scactar) of State said:'~''' Stale 4 oniciab
    nlso told pn:ss that the hacker had u,cd a ,crvcr in Russia. but that the I'Bl could not confirm the




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        ,:.1SSC! irucn iC\\ "1th DIIS and (rllC. Februal') :21.2018. p: 38
    •.,        C)bcr I hrl',11ln1elligenceln1ci:1T8tion
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    :~ (l-)         DII", IIR -t 005 onCJ 16.11                                       ·.\ Eh•Cfion Sy.\11:mTarMeleil by
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     attack was tied to the Russian government.257 DHS and FBl later assessed it to be criminal
     activity, with no definitive tie to the Russian government.258

             -               Subsequently, Russian actors engaged in the same scanning activity as
     seen in ~ut              directed at a domain affiliated with a public library.259 Officials saw no
     effective penetration of the system. DI IS has low confidence that this cybcr activity is
     attributable to the Russian intclli ence services because the tar et was unusual and not direct!
     involved in elections.260


     V. (U) RUSSIAN.INTENTIONS'

            (U) Russian intentions regarding U.S. election infrastructure remain unclear. Russia
    might have intended to exploit vulnerabilities in electiotj'infrastructure during the 2016 elections
    and, for unknown reasons, decided not to execute those-options. Alternatively, Russia might
    have sought to gather information in the conduct of traditional espionage activities. Lastly,
    Russia might have used its activity in 2016 to catalog options or clandestine actions, holding
    them for use at a later date. Based on what the IC knows about Russia's operating procedures
    and intentions more broadly, the IC assesses that Russia's activities against U.S. election
    infrastructure likely sought to further their overarching goal: undermining the integrity of
    elections and American confidence in democracy.

        •    (U) Former-Homeland Security Adviser Lisa Monaco told the Committee that "[t]here
             was agreement[in the IC] that one of the motives that Russia was trying to do with this
)            active measures campaign was to sow distrust and discord and lack of confidence in the
             voting process and the democratic process." 262

        • -         DHS representativestold the Committee that "(w)e see ... Russians in
          ~ar        obviously, gain access, learn about.the environment, learn about what systems
          are interconnected, probing, the type of intelligence preparation of the environment that
          you would expect from an actor like the Russians. So certainly the context going forward




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    m (U) SSCI Tr&nscriptof the Interviewwith of Lisa Monaco,Former HomelandSecurity Advisor, August I0,
    2017, p. 30.
                                          35
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                  they po-;sihl) can," and ·'the) might not he cfli;:ctivcthe lir~t time nr thl' lilih time. but
                  the) arc going to keep at it until the) can wmc b,il:k and du il in an cl1ecti,c way:<'1•~

         •     -                  l\1r Daniel 1nld the Commillce.

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)        •    -                  Ms. Monaco further cch11~dthal con~ern:

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    rBl, I ~hnia,~ 14. 201R. pp. 224-.225.
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     •~ (II) SSC'ITrll1l.Script                                                       to the l'rcsidcnt and CyhcrM.>curit)
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                      horribles j11Jt when you 'te talking about voter registration
                      databases. 266

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                                  (U) Chaos on Election Day: Three Scenarios

      -         Mr: Daniel said that in the early fall of 2016, a policy working group was looking at
      ~cenanos:

              One was, could the Russians do something to the voter registration databases that
              could cause problems on Election Day? An example of that would be, could you go in
              and.flip the digits in everybody's address, so that when they show up with their photo
              JD it doesn 'r match what's in the poll book? It doesn't actually prevent people from
              voting. In most cases you 'l/ still get a provisional ballot, but if this is happening in a
              whole bunch of precincts for just about everybody showing 1p, it gives the impression
              that there 's chaos. 268

)             A second one was to do a variant of the penetrating voting machines, except this time
              what you do is you do a nice viden of somebody conducting a hack on a voting machine
              and showing how you could do that hack and showing them changing a voting
              outcome, and then you post that on You Tube and you claim you've done this I 00, 000
              times across the United Slates, even though you haven't actually do"neit at all. 169

              Then the third scenario that we looked at was conducting a denial of service attack on
              the Associated Press on Election Day, because pretty much everybody, all those nice
              maps that everybody puts up on all the different news services, is in/act achtally based
              on Associated Press stringers at all the different precincts and locations . ... It doesn't
              actually change anything, but it gives the impression that there's chaos. 270




    266
       (U) SSCI Transcript of the Interviewwith Lisa Monaco, Former Homeland Security Advisor, August 10,·2011,
    p.28.                                                        ·
    267
    261

    .Coordinator,National Security Council,August31, 2017, p. 33.
     269
         (U) Ibid., pp. 34-35.
     270
         (U)Ibid, p. 35.
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     VI. (lJ) :\0 E\'Jf>F.NCE Of CHA 'l<a:nVOTES                         on MANIP          LA 11'..UVtrrf. TALLIES

             (ll) In its revie\\, the Commit11x·ha-. seen no indicatiom thaL,otc:-. \\en: changed. vole-
     tallying S)Slcms \\Crc manipulated, or that an) voter registration data wa~ altered or dcktcd.
     although the Committee and IC~ in,igh1 is l,mitl·d. Poll \\orkcr, and voting monitor:-.did not
     repon "idcsprcatl !'IW,piciou,acti, it) surrounding the 2016 election. DI IS A si-.;tantSecrctar)
     Jeanette Manfra ~aid in the Committee·, open hearing in June 2017 that "I ,,ant to reiterate that
     ,,c do hmc conlidcncc in the overall integrity of our electoral S) 'item bccau,c:our, oling
     infr~1n1t1urc ,s funda,rn:ntull) rl·-.ilicnt." l'unhcr. all three\\ llnc'>~c~in that hearing t>.h.
     Manfra, Or. Lile<;,and FBI A:-.:-.io;tant Din:ctor for C'ounterintclligem:e Bill f>riestap-ag_reed that
     the~ had no evi<kncc that , oh~!'.1hcmsc.:l\'cs"c.:n:ch,inged in an) \\ ,1) in the 2016 dcctiori. ~ ·1

         •     (lJ) Dr. Liles said that DI IS ··a-.;sessedthat multiple cl1L·ck~and rctltm<lanc.:ie-,
                                                                                                   in U.S.
               election infrastructure, including <livcr-;il) of :..y,1cms,non-internet c.:onncctedvoting
               machine~. pre-election testing and procc,5c:, l'or media, campaign and election officials to
               check audit, and rnlidatc the results-all these made 11 likcl) that t.:)bcr manipulation of
               the U.S. clcctiM sv,tcms intended to chanl.!c the outcome or the 1H1tionaldection would
               be dctcctcd.''m   I lelater said ··1hc l<:,d l\r"cnon  and scale rcquirc<lto d1angc thl'
               outcome or a national election \,mild make it ncarl) impo,-,ihlc to avoid ~Jctcction.''J7l

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         •     (ll) States did not report either an uptid 111,otcrs ~h1ming up at the polls and being
               unable to \ otc or u largl'r than normal qu.intity ol' prm, isional ballots.

             (U) The Cornmittcc notes that m11w1mitlc dc1.:1io11s arc oficn won or lost in a small
    number of prccincts. A sophi,ticatl·<l actor could target dforts m district!>where margins arc
    al read) ,mall. and discnfranchi~111guni) a sm.lll pcn;cn1agc of ,·otcrs could have a
    disproponwnatc impac1 on an clc-.:ti~m·.,outcome.

            (l ) Man~ -,1,1tl·election ollicial, 1.·mpha-,1/cJtheir concern that press coverage ot: and
    incrca cd aucntron 111,election ;;ecmit) could crcatc the vcr) impre:-.sionthe l{ussians were
    seeking to fo,ter. namcl) undermining votcf!-1'confid~ncc in election integrity. Several insisted
    that whenever ,111~ official, peak-, publtd) on thb i:-.,uc.the) -;hould state clearly the difference
    hcl\,ecn a "scan" anJ a '·hack." and a few even "'ent ac; for a:-to suggest 1ha1U.S. o1licials stop




    m' (l ') "i',( I I r,nN:ripl of lht>Opt.'nl lcari11~on Ru~~ianI n1crfor~nccin 1hc 2016 U.S. Elections. held on
    W dne,da\. Juul.' 21. 2017.
    ~ 7~ (ll) S\(. I I ran~cript of the Open IIL'aringoo Rus~inn l11tcrl't-renccin 1hc"l016 U.S. [lcc1ions, held on
    Wctlnc,da), June:! I, 2017. p. 11.
    '"( )lbid .. 1).47.
                                                38
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         talking about the i,,;uc altogether. One :Hale ntlii-i:11i..iid, "\\'c need          L\.I\\all.. u   tine 1111cbel\\Ccn
         bci11~li1r1hcommgto the public umJ protecting, Oler confidence. ,,m

                    (ll)   Mr. Brennan dcscrihed a ~iinilar wncern in IC and policy discu!>sions:

                     Wt! lumr Jlwt the R11.\.,iamhod ,ilr<'a,~,·  l011d1edsome of'Jl1eelectoral ,,:ptem.~.
                    ,mt! 11e know that they hon· ,:apahle (\'her <.'a/1t1hilitic·s.So there "'"' o real
                                t•1·e11 a nmwulrum. in lc:rm.,oj what cloyou do 1lw1\ ~oing llJ try w
                    clile111111'1.
                               WOJ'H.' acti,m on rite purl of lht R1,,.,icm'i, ullll what do 1•r,11 do that i,
                    \la\'c> <?fl'
                    going lo . .. /gil·e/ the Rmsiw1., irhat tht:1·wer<'seeking. which 1r11.,to really rui,e
                    the spcdc:r that the dectum wos 110/ .~oinr.tw he.f,,ir and 111w//n:1ed",

                                                  imcrvic,, 1.:dh) the Committee were tnnlidcnt that they
                (U) 1\llost<;laterc.:prC<,cntmive:..
      met the 1lm.:c1t  eflcc1ivl.!l)in 2016 and believed that they \,ould continue to defeat threats in 201
      and 2020. Man~ had intcrpn.:h.:dthee, ent,; or2016 as a -;uccc<,s~tl1r); lin:walb deflected the
      hostile acth ity. a!>the) ,,1.·rcsuppo~cclto, !>1) the threat""" not an issm:. One ,;late otfo:i.il told
      the Committee. ''I'm quite c,mfiden1 1>urstate e(mit) :-.;·stemsarc pn.:tt) sounc.J."21" Anothcr
      <;talc official stated. "We fdt good I in 2016 J."and Ihat due to add iti(>nalSl'curit) upgrade!>,'·we
      fed even better toda) :•m

             (U) llo\\c,cr. a~ of 2018. ,ornc ,;tatc~ \H'rc still grappling with the -.cvcrit) of the threat.
      One ollicial highlighted the stark contrast the~ c,pcricnccd, "' hen, at one moment. they thought
                                                                 ahout the threat. ~111 The oflicial went on
      elections ,, ere :.ecure, hut thc:n~uddcnl\ ,, ere he,1ri11i.:
      10 conclude, ··1do11·1think an~ ofuc; c.xi)ectedto he h:1ckcdh) a foreign gO\crnment.'' 279
 )    Another official, paraphra~jm!a former go, crnor. said, "Ir a nation-Mate is on the other side. it•~
      not a lair fight. You ha, c t(1 phone H friend.''·'~"

              ( ti) In the month he fore Ekction l>a). DI IS and other policymakers were planning for
     the worst-casc :-o'-'cmtrio of clforh ll) disrupt the vole itscl r.Ft.!deral.state, and local governments
     crcaled incident response plan, to react w pos~iblc confusion ut tht.:polling places. Mr. Daniel
     said ol"the clfort: ··wc·rc most coni:cmcd about the Russians, but obviously we arc also
     concerned about the pthsihility for ju,t plain old hc1cktivis111    on l'lection Day.... The incident
     resp<mseplan is actual!) designed... lo hdp u, (plan for] ,, hell is the federal government going
     to do i r bad thing, -;tart to happen on I lcction Oa) ?"

             -                 \1r. Daniel added that thi~ wa.-;the first opportunit) to exercise the procc!>s
     cstahlis~er                 Pre..,idcntialPolic) Dircctivc-41. "We ao;kedthe Htrious agencies with lead



     z • (l') \lemorJndurn tor the Rccunl, SSCI Stuff, Conference Calh~11h fSww SJ. February 2. 2018.
     1
       • (l) S Cl I r.m,rn1,1ofrhc lnrcn ic\\ \\ith John Brennan.I urm~r Director, Cl/\, held on Frida), June 23. 2017. p.
     54.
     1  1
       · • (l')   \1cmoramJum for the Rcc,1rd,SSCI Swn: ( onforcncc Coll \\ilh (State 61. November 17, 2017.
      17
     ~ (lJ)       M,mwnmdum for the Ri:tnrd, "iS('t srnn: ( onferClll'\l Cnll with rSlate 81.February 2. 2018.
     n (lJ)       l\kmorandum for the Record, SSC! Stall: Conlcrcnce C'all ,, ith (State 20 ). November 17, WI 7.
     270
           (ti)   lhtd.
     :ko (ll)                 for the RL'Cord.SSC! Smtl: <.on lcr~•nccC:.111
                  Me111orn11dum                                               \\ ith [~late 9). ,u, ember 17. 2017.
                                                               39
_j                           COMMl'ITl:E        Sl:NSI flVE - RUSSIA INVESTIGATION ONI.Y
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rnpon ..1b1lity.till right, gi\e Lh )Our Election Da) plan." rhat led to chccreation ol"an Fkction
Day playbook: step~ included enhanced watch floor procedures. connectivity between FBI lid<l
ofliccs and rnt and DIIS, and an ··escalation path"' if ""c needed 10 get to Lisa [:Vlonacolor
Susan [ I{ice I in a hurr}·· on Lh.:ctionDa) . 1~1

Vil. (ll) S£C            RITY   or VOTING          l\1ACIIINF:S

         (U) rhc Committc,· re, ic" of Rw,sian 11cti\'it)in 2016 highlighted potential
\'Ulncrabilitics in man) voting machine,. ,, i1h pre, iorn, studies b) securit) researcher, taking on
m:\\' urgency and rccci\ing nc,, ,crutin). Although rc::.carchcrshaH: rcpcatccll) demonstrated it
is possible to cll.ploit , ulncrahil itics in electronic , ming machine, to alter vote:-.111~ -;omc dcction
officials di~putc whether ~uch auacb "ould bL·lca.,iblc:in the cnntcll.t of an actual dt.;ction.

         •     (U) Dr. Alcll. IIalderman. Prolessor of c,,mputcr Science at thL'l 'ni,crsity of Michigan.
               1cstilicd before the Committee in .lune 2017 that '\lur higlrl) wmpulcriLcd election
                infrastructur<:is vulnerable LO ~abotm.?.tan<lC\.c11 to C\bcr attacks that could chanuc
                ,ote, ...~~, Dr. I laldcnnan concludcd,~.,\'otmg machi,;c, arc not a::.di,tant from th:
               .mtcrne1 a .. l hC) may Sl'Cm..•_,,
                                               '"J


         •     (U) When State 7 deconunis-,ioncd ii...Direct-Recording Elcctwnic (l>RE) voting
               machines in :w17, the Ir dircctnr led an c\trcisc in a11cmptingtu break into a lew of the
               machin..:~u~ing the access a '"nonnal'' votcr \\OU Id have in u-.ing lite m,H:hinc~.28' The
               results were alarming: the progranum:d pa,,\\ord on some of the machine~ \Ht~ AB(; 123.
               and the tc-.h:n,,.,,ereable to flip the machine, to -.upcr\ i,or mode. disable them. and '-do
               enough damage 111 call the rc,ult.., inw que,;tion."' 111
                                                                       • I he JI director shared the results
               with Stalc 21 and State 24. \\ hich \\Crc lhlll~ similiar machincs. 187

         •     (U) In 2017. DkH"O'J'.>!!1>  researcher, "i.:rc able to lind and c;...ploitvulni.:mbilitics in live
               different ckctronic ,oting mnchincs.~1N 1he WinVotc machines, those recently
               deccrtilied by Stale 7, ,,ere mo~t casil) manipulated. One att~ndcc soid, ·'II just took U)) a
               couple!of hour,. on Google lo find pas-;word._that kt us unlock the administrative



~~· (l  1) /hill,. p. !'12

-'~ (ll) S,·<'111:w.    mfr11.·•Diret:t-Rccording I·lectronic ( l>Rl / Voting \lachinc Vulnerahilitics:·
.• , (ll) ssn rrunwript of1lu.'        Opell Ik•arint; OIi Ru,~i.,n lnk·rli.'rcm.:cin lhc 2016 U.S. £1ections. held Oil
Wednesday, Junt.:'.?l. ~01,. p. 117.
:,. (ll) /hi,/., p, 110.
w (l') Mt'fl11>randumfonhc H..:c11rd.SSC'I Stall: Conli:rcncc Call \\ith [State 7}. Jamtar) 25. 2018.
ll<• (l') /hid. The machine used \1Crc\\ inV01e,oting machine~.
    1
~• (l) Ibid.                                                                   .
1
  l' (l') DEr'CON i~ an annual had.ct conference held in I a~ Vcll:1!>,            Nevada. In July 2017, al DEF-CON25. the
cMforcncc featured a Voling Machme I lacking Village ("Voting Village") \\hich acquired and made available 10
i:onforencepart1cipanh O\Cr 25 piece~ of clcc1io11           cquipmcn1, including vo1ing machines and ckcLronic poll books.
for ~cneralh unl't!~lrich:dt"\3mination for vulnrrabililics.                     ·
'~••
  tl')     Matt Blaze, et. al., DF.FCO\' Z5. Vu1111g       \lad1i11e1/ad,.mg l'illage. lfrport 1111('yher 1'11/nl'mbilltiesi,1 U.S
El!!C'tio11  £,111ipmem./J(l/ahmc~. mu/ /11frm1m,·111r11,      Sep1cmber 2017, https:11\\ "\\.dcfcon.org/irnages/defcon-
25 'DEF<!    o20CON°o::W25°o20,·01i11g•      o20rcport,pdl: pp. 8-13.
                                                               40
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)                                                    0
                     !unction-.on thi:-.n1c.1chi111:."'" /\ rc:,,earchcrwas able to hm;k into the Win Vote O\'cr

                     \.\ 1h ,,11h111minutes using a vulne1al>ilit) from 200J.''11 Once he had administrator-lcvd
                     access. he could chan!.!C\'Otes in the databa~c. Rc~carchcrsalso dh,covcred available
                     USl3 port~ in the n1-1c~i11i:that would allov. a hacker to run solh,arc on the machine.~.,~
                     OnL·said '•with physical uccc:-.sto back bic I of the machine ftlr 15 seconds. an attacker
                     can do anything:· 2' 0 I lacker:-.\\ere h.:~ssucccsslul with other l)pCs of machine •
                     although each had recorded vulncrnbilitic~.::!'>I

                 •   (ll) The 2018 DFFCON rcpon found similar, ulncrnbilitics, in pa1ticul.ir when hackers
                     had physical access to the machine:,,. For example, hackers c,ploited an old vulm:rahility
                     on one .1n.lchinc,
                              •                either a removable device purchasable on cnay or remote accc:-.~.
                                        w,ing,.,~
                     10 mod It) , utc count,.·


                 •   (U.-i)         DIIS hrielc<lthe Committee in /\ugust 2018 that these results were in pan
                     bcc~c         hackers had c.,tcnde<.lph)'sical access to the machines. \\hich is nut realistic
                     for a true dt!ction S)stcm. Undcr::.ccrctar~Krebs al,o disagreed "ith reporting tha1a 17-
                     ycar-old hacker lmd accc:-.,cdvoter tall it'-..~•><·
                                                                       Some election cxpertc;ha,c called imo
                     qul!stion the DEFCON result-,.for similar reasonsa11Jpointed out that an) fraud requiring
                     physical ucccs~ would be. h) necessity. ,mall scale, unk:,, a gmcrnmcnt were to deploy
                     agents acrosc;thousand::.orlocalities.

                 •   (U) ES&S Voting Sy:-.tem~discloc;cdthat :-.omeof its equipment had a key securil)
                     vulnerabilit). ES&S in'>tallcdremote accc:-.,-.oftwarc on machines it sold in the mid-
)                    2000s, which allo\\cd thl.!compan) to prn,.idc II support more easily, but also crealed
                     polential remote acec, into the machine,. When pn:-.,cd by Senator Ron Wydcn of
                     Oregon, the company admiltcd that around JOOvoting jurisdictions had the software.
                     f~S&Ssays the ~ofhH1rc\,a, 1101 installed uf\cr 2007, and it wa-;onl.>1installed on
                     clcction-managcml!nt .,~,tcm.!.,not ,oting ma~him:i..~•n More than SOpercent of voten.
                     voti: on r."i& °'cquipmcm. and 41 'itatcs use iL-.producb.




     ·•••( l) EliLuh-c•thWi,t'. ·•1lacken, at O.:rt·on< onlcrc11ccI \ploit Vulner:ihi li1ics in Voting Machines." USA 1oday.
    Jul) 30. 2017. hup,: '" \\ \\,U~atoda~ com ~t0r),tech 2017 07:J01hati,_c~•dcfcon--conforencc-c~ploi1-\        ulnernbililies-
     voting,mnchinc~•!i2\(1 WOOI1.
     ;vi (l )Matt lUnzc. et JI..!>/:}-( 'O\ 25 l'utm}.! ,\fadri11C'lhrc:kii1Rl'ilfoRe Report on <)her l'ri/11erabl/11ie.,
                                                                                                                        in U.S.
     l'h·c11,111 Eq11111111i•m.                                 Sep1cmbcr2017. hltp:,:. \\ \\ ,1.dclcon.org/images/dcfcon-
                               /J,1t,1b,11n. and /11/r<11tmc1111·e.
    2~-OH:(),o20CON°                      01ing0 ~20rcpor1.pdf,p. 4.
                             0202:1°11::!CI\
    l'I~ ( l ) /hid .. p. 9.
    ~?• (l") lbul.
    2
         ') !hid.. pp. 8-1 '
        9-l (l
    J~i (l")Kobcn ~kl\l111i;m and Dustin Vol,. ·•VotingMaclunc llsed in llalfofll.S. Is Vulnerable to Attack, Rtpon
    Finds." ll't1/I """"' Journal, September27. 2018. 1 he machine referenced b the [S&S Model 650. \\hich E '& ·
    stop~d ma~ing in 2008 but is still available for sale.
    1
     °"(U) In S 2018-3275, ummor}of8:2212018 All Senators Ucction Securit) Briefing. August 28. 2018
    •v7 (U) llnck~. Sccurit} Gaps /\nd Ol1gar~fo,:The Business of Voting Come~ Lndcr Scnitiny. Miles Parks, Nl'R,
    September 21, 2018.
                                                     41
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             (ll) A<hocate<sof"dcctronic votinf,.!point out the tlaw, in rap~r b:illott., like the poh.11tiJI
     tor the introduction of fraudulent balloi-. or invalidated \ Olt's due lo stains or extra marks. The
     C'ommi1tec bclicH·s that an) ckction S)stem should be protedc<l end-to-end, including against
     fraud.

                  (U) Dircet-Rccording Elertronic (nRF,) Voting Machine Vulnerahilitlc~

      (U) While best practiCC!I   dictate that electronic voting machine) not be Clmnccte<lto the
      internet. some machinr, an.• internet-enabled. In nddition, each n1c1d1incha~ 10 be
      programmed before Election Day. a procedure olh:n done either O) connecting the machine to
      a local netv.·orkto chi\\nload son.ware orb) using removable media• .-sucha-. a thumb drive.
       fhese functions arc often carried out hy local orticials or contractors. If the computC(l)
      responsible filr \\ riling and distributing the program arc compromised. so too could all voting
      machincs receiving a compromised update. Further. machines c.m be programmcJ to sho"
      one result to the voter while recording a different re~ult in the tabulation. Without a paper
      backup, a ''recount" \\Ould use the same fault) ,oliwan: to re-tabulate the ,amc results.
      because the primar) rcl·ords of the vote arc ...torcd in computer mcmory. 2••~

      ( ) Dr. I laldcrmon said in hi:-June 2017 testimony before SS('I:

               I k11011•
                       America's l'OtinKmc1d1ine\'tm• n,/11erable because my c·olleu}..'1tes         and I hare
               lw<'kt'tlthem repl!al<!d~r m purl of u dC'nule ofresearc/1 st1ulrin~ the teclmufo,.._,.,.    rlu11
               op,,rate,· election'i and leun1i11.I!./um to 11111/..<·
                                                                   it ,·1ro11ger. IJ'e\•e created auack.\ that
)              cwt .,pread/hm, machine lo mod1i11e,liJ..e<tc·omputer 1•ir11.\, and .,i/e111/y      chw1gc:
               election ollfcome, We've .wulietl lot1Ch,cn>c•11      and opth·al .,c,m .,:1•.wem....and in every
               sinRle ca.,e 11·e/0111u/11,,n· /i>rallac,:ker, w ,ahotage machines 011d w steal votes. Thew
               cupahilitie, lire ffrtc1i111)11ithin rt-·adt.for Am<'rica's enemies.

                Ten n'ar., ago. I wm 1>arto/'the/irsl ucademic learn to condt1c1a comprehensive
               .H'curi11onal; 'ii., ,?f t1 l)RF \'Olingmuchi11e. We e.xamined 11·/wtwas,,, the time the
               mo\"/ wide(r ust'cl 1011ch-.,,.:n·t•11
                                                    DRE i11the co11111r.rand spent several numths probing it
               for vulnerahilitit•,. What we /01111d    wa.\ di.wirhing: we could repro,:ram the nwchine w
                                                                 190
               im·ifib(I' co11w ,m_l'ccmdiclate 10      ll'ifl




    ~"-'(ll 1··some DR l:s al'lo prodm:c a printed rec<>rd
                                                         of 1hc , otc and ,ho,, ii bricll)' to the voter. using a mechani)m
    calk·d a voh:r-wriliohll' raper oudi1troil. or VVPAI. While \'VPAl rccorJ,. provide a physical record ofth.c vote
    1ha1b a , aluabk ,.11.-guardagai11s1  C) bL-rattad.s,re,cnrch ha~ !.ho,\'nthat \/VJ>A r records arc dillicult to accurateI)
    nvdit ,md 1hat ,1,1cr~otlcn fail 10 notice if the prmtcd record doc~n'I match 1heir,otes. For these rca.-.ons.most
    clc1:1ionsecurit~ c,pcns faHlr optical scan p111>er  ballots." Wrillen S1a1cmc111 b) J. Alc;-xIlaldcnnan. June 21, 2017.
    cillntt S. Ciogginand \I. llyme ... An b:imination of the Auditahilit) of\lotcr Verified Poper Audit Trail (VVPA f)
    Balloh," l'rc1t.vt•,l111j:_\
                            of the !/107 US£Nf.\ 'ACC&RA 1£ l'lcc1ro11icVmi11glec/1111>/ogy      Wor1'~/1<1p. Augu.:.t2007; B.
    C.1mpbell,111d  ~1. B)me, ""10,, do VotcrSNotice Review Screen Anomalic!>'?"        Pmcec:tli11g1 of the:]()(}9
    US£1\'JX/,JC('URA1'£lfAVoSS£h'<.·tro11il'                        ll'urhliop. August 2009.
                                                  Vo1i11µTedm<>lr1x_1·
    ~w (U) rhc machine ,,as the Diebold AccuVotc 1 S. ,~hich ,,J~~•ill u,cd !.Wtc,,idc in at least one Mate as of 2017.
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                                         hi/\, .\t1tdic,Ia 1rnlt r"ng<.'oj L.S ,·01111g
               l l'l>l'I \t.'curill' npu-1,                                               mm him:~ i11dudi11K
               b111hDRE., and   optirnl ,H'Cl/111('1'., and i11ever) single.:ca'ic. they \•1!.finmd·''<'\'C:l'C'
              v11/mn,hili1ti.:.,
                               1ha1 m,11/dul/011aflackcr., to ,oholt11!,<' mt1c.·lii11e.,   wul lo ollcr 1·0/n.
              Thal\ why tltt'r<' i, m·t!rll helmi11K c.om,·11\11,                            w1cll'lt'ctio11 illlt'p.rily
                                                                      in the c1•/Jen<'c·11ri1y
                                                                               11111
              l'<'H'arc.·h nm1m11111lit', 1/wt 0111· C'lection.,or(' at ri,·lo..



            (U) In '-Peaking" ilh till~Com mince. fodcrul govcrnmcnt uniciab rc, calcd cnn~crns
    about thc sccurit, of ,otinu mm:hincs n11Jrelated infrm,tructurc. Fonner ,\-.:..i,tam Altorne,
                         J             ~                                                                            •

    General for mional Sccurit) John Carlin told the Committee:

              "/ 'm  v,,,:v
                        co11cc•rnc'd alum/. . our ac/110/ \'Olin~ apparatw. 1111d!he 011,•ntl,1111
                        (ll'O/t11tl
             .11r11c·wre.,                                hcnreen wm1· ,tat,·, wul tlu· In/era/
                                 ii. and the <.'OOJ>erution
             RO\'<.'rnme111 " 1111 .\Ir. Carlin/11rther Mutecl. .. We \·e lill!rollr ,,·t•n it already. M>
             ,·hcmn•on 111 (/'we can ·,px ii lwwling i11101he nt·\·t dcc1i,m nd,•,,. Ami it's the
                           ol every A,I' imd J1rt?/t:.\\io11t1/.
             a.\.w.,.1111e111                                   11 hhh I ,lwre. that Rm.,111\ }!.OinR to
             do it aR<1i11 hecw,,e f/1(y thmk thi,     ,rn,''".  c>.,.~ful<;owe·,.,. 111a hit o/ u ran·
             a~amst time' li<!mlin}!.up lo 1he l1rn--.1't·c11·dcctio11. Smm· '!I th<'C'il'C'lio11  maC'hine1:r
                                                 111
             1h01 ·, in place ,·hnu/cl1101 hi!. "· '


             (lJ) Mr. McCabe cchm:d the,c concern, .. ind noted that, in th1:la'.'>t months before the
    clcclion. I Bl id1:ntiticd hole, in the ,ccurit) of election machin~..,.'.'>a~ing
                                                                                    "there's some potential
    thcrc.·•;m
)          (lJ) As of 'ovcmocr 2016. five ,tatc:.. \\ere using cxclu,ivcly DRL: voting machines \\ith
    no paper trail. a1:cordin!,!to orcn ,l\Uf\:e informati<1n.'<11 An additional nine 'itatcs u...cd at least
    some DRr ,oting machine, \\ith no paper trail. 111~

        •               :whu., 21-) car-old 11RI machine-.. \\ hilc the state is in the procc s of
              (U) . t,llc
              rcpla~ing its entire ,otinl:! ')'tcm, including these machines, State 20 1s aiming to ha,c
              the updates rend) for the :w:w      election,.
                                                                                                                        11
              (ll) lnState:!1,50of67countic            .,-.uf   mcmbcr2017u~cdDRErntingmachinc~.                         w.




      "(ll) SS.( I I rans,rif)I ol 11K•  o,~n I h:nring on R1M1:tnln11:rlcrcnccin 1hc :?016 L.S. t'lcc1ion,, held on
    \\ cdr'k.',da). Jurw :?I. 20 I~. flfl· I I C>-1
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    ' (l') ~SCI I ran~cnpl nfthc lnter\'tC\\ "ith fohn l mhn. I ormN 1~!>~htan1Attlimc) General tor Na11onalSecurit)',
    held ,,n \1onda>·· Scf)tc111hcr     25. 2017. p. 86
    '" Cl ) /Mtl.. pr. !<6-IP.
      • (ll) l>TS :01 X-~152.~-;c1 lr11cnic\\ "i1h Andrei\ l\.k( ahc. lonncr Ocpul) D1rcctor of 1hc I 1:31.
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    :!DIX.p. :?:?I
    11:u(l 1) BallotPcdia. J Ollfl>,! \lt•tl,o,.J\ 1111,/f.,,uiprmml By .\1n1i,
    htlp : balllllJX~i.1 org Voung methud!> and equipment b) ~1:itc
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     "' (l ) lltid

    '"" (L) \fomo1andum for 1he Rccou.l. SSC! Staff. ( onfcr\:ncc Call "i1h ISmle 21 J, No,cmbcr 17. 2017.
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                        C0\1MI 17'[l !-:>LNSI
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         •    (ll) State 5 u:-.cdpap,·r-h;\('k<.'d
                                                voting in onl} ,,bout 11,MIts machine, un<lDRI' voting
                         "ithout paper had-.up an the other half. '07
              111,11:hinc'>

         •    (ll) Some stale:-arc nHn ing to a h)hri<l model -an electronic ,01ing machine ,.,.itha
              paper bacl-.up.often in the form of a receipt that prinb a tier the , Oler ,ubmit, their vote.
              I or example. State I:! u,c, ,omc DRb., hut ,Ill equipment is required to ha\.c a paper
              trail, Jnd the paper ballot i, the ballot of record. w. State 12 also conducb. a mandator~
              ,talc•\\ id..:audit. ;t~> Simil.irl), St.itc 1.3w,cs some paper-based and ,omc clcctronic-
              machincs. hut all arc rc\1uirt>J10 hu, c ,\ papcr trail. ' 10

           (L) The number of, cndors selling, oting machines is ,hrinking. raising concerm, about
    a, ulncrablc suppl) chain. A ho,tile actor could compromise one or two manuf.u:turcrs or
    components and h:we an out-.i1cd effoct on the .,ccu1it) of them crall '))Stem.

         •    -              job:' aid Ms. MonJco \\h-.:n a,kcd ,,heth1.•rshe \\as worried about ,oting
                        ''\11)
              ~cs        the1m.clw-.gdting hacked. "\\!h to wnrr) about c,cr parade ofhorrihles. So I
              cannot tell you that that did not c.:rm,~m~ minJ. \\'e \\ere \\orricd ahout \\ho, ho\\ man)
              make~. \\ e \\ere \\Orric<labout th1.:,uppl~ chain for the· ,uting machine,. \\ho \\Crc the
              makers'? ... I urn~ out I think 1t'-;just Diebold · and ha,c \\C gi,en them a defensive
              hriding? ~o to arh\\ er ) our que,tion, "e \\ ere worried ;1boul it all." 111

         •    -        Mr. t-.lcCahc pointed out that a ,mall number l>fwmpanics ha"c ··90%" of the
              ~for        ,otin machine~ in the li.S. Before the 2016 clcctinn,_
                                                                        hricfcd a~ompanics
)             on , u ncra 1 1t1c~.'- ut a more com pre: cns1vc camr.a•l!" 10 educate , endor. and their
              cw,tomcr-. i, \\arrnntcd
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                                             Va/111,turyJ'oti11,:

     (U) Part tif the ,oting rt.•fo11nimplcmcnll:d under I he I kip /\mcrica Vow /\ct of2OO2 was a
     requirement th.11th<.:Fleet ion /\,,istancc Commission create a set of specifications and
     requirement, again,t \\hich, 11tings-),tl'll1' can be tested, called the Voluntary Voting System
      1uidcl1ne, (\'VS(i). lhe I.AC .idoptcd the first VV\G in Oeccmbcr2OO5. The E/\C then
     tasked the kchnil.:al (iuidclineo.;l>c, dopmcnt Committee, chaircd b~ the National Institute or
     Standur<ls..md I cchnulogy ( IS I) and including. mcmbc~ from NASE[), with updating the
     ~uidclinc.... In March 2015. th~ I AC appru,cd VVSCiJ..:.!..;,.i_n fa~1~ 2016, the LAC adopted




       Cl) \kmorJndum       h•r the R\.'\:Ord.\\( I Stall~ ( (lnfcrentc Coll ,,ith (State 5). December I. 2017.
    '• (l)   \lcmorandum tot 1hcRc~ord. \">{ I 'i1an:( onlcrcnn· <all ,,ith (St,llc 121, December I, 2017.
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     "' (li) lhtd.
    11 (l") '.\kmornndum forihc Record. S\CI Staff. ('onfcn:ncc ('all \\ilh (St.lie 111, Dcccmb\!r I. 2017.
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        (l') SS< I I ran,cnpt llf 11\clntcn ,c,, ,, 1th I •~J \lonacu. I unncr llomcl,mJ Sccunt) Ath i~or. held on rhur,da).
    Augu,1111.201".p. 11.
    '" (U) SSC'I I ran~rnpt uf the lmer,ic\\ ,, ith •\nd) McCabe. lkpu1~ Dirct·tor of the fill, hdd on Wcdnc~O}.
    rebruar: 14• .2018.pp. :?20-221.
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     an irnplt:mcntatio11plan rcquirin1-:that all nl'\\ ,111i11g
                                                               -.}i.tcm1 bu tc~tcd U/.tt1i11:.l
                                                                                             lite VVSG I. I
     bq,;inning in Jul) 2017. \'\'S(, I.I ha, ,1m;c been ,m:cccdcd h) ,cn,1on 2.0, \\hieh \\a,
     rclca-.cJ for a 90-da~ public comment period on I coruar) 15, 2019. I he I AC,, ill compile
     the fccdhae" for <.on1mi-,~iom.:r,lo re, tC\\ ~hon I) thcrcalkr. 11' VVSG 2.0 include, the

    Ifollt)\\ing minimum ,ccurit) guideline~:

          •    (l'),\n error or fault in the ,oting ,):.ll.:rn ,oft\\arc or h.ird,,are cannot caU!-l'an
               undctcctahk change in dcction rc,ulb,. (9.1)

          •    (U) The ,oting ~)!'Itemproduce.., rc.1dil) a,a1lablc records that prm idc the ubilit) lO
               check \\hcthcr the election outcome i, correct and. to the c,tcnt rrn,:.iblc. ilil'ntil) the
               root cau-.c of an) irrcgularitie,. (9.2)

          •    (ll) Voting '>)<.tcmrecords arc n.:,ilicnt in the prc:.cm:c of imcntional forms of
               tampering and accidental error . (9.3)

          •    (U) The, oting :.)~tcm ,upport<, ~trnng, conligurablc authcnti ation mcchani,m~ to
               H:rif') the identities of authori ✓cd u,eP, am.Iincludes multi-factor .,uthcntil.:ation
               mcchanio;m-.for crilkal nperation-.. ( 11.3)

          •    (ll) I he "n11ng'>) stem pre, cnh unauth,1ri1ed accc,., to or maninulation of
              configur:ilion data, ca,1 , otc record,. trarNuittcd data. or audit records. ( 13.1)

)         •    (ll) l'hc ,01ing_s)stcm limits it, auacli. ,urfal·c h) reducing unncccssiir) code, data
               paths, ph) ical pon,. and b) w,ing other technical controls. ( 14.2)

          •    (U) The \.(Hing S) ,tem cmplo), mcchani,m, h1 protccl ugainst malwarc. ( 15.3)

          •    (ll) ,\ , oung system ,, ith nch, orli.ing earabilitics employs appropriate, \\Cll-,ctted
               modern dctcnsl'' aguinst nctwor"•bascd attacks, com1m:n'>uratcwith current best
               practil:c. (15.4)

     ( ll) ,\-. of March 20 IX, 35 ,talcs required that their machine-. hc ccrtiticd O) EAC, but
     compliance ,,ith the VVS(, ,1.111d:mh     i-. not mandator). Sccrcwry Nielsen testified before the
     Commit11.:c   that the United St;1tcsshould ..,eek f'tn all state-." lo use the VVSG standard~.""




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                                                  I ut{ w l'11blish I i.\C, J fJ l'r111uph•1mkl G1111/elml'.1/or
        (l) /-' I< < omml\1u111,·n l.;111111imm11~1                                                           l'1tt,/I('Comment:
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    guidelint,-fo1-publil·-comrncm : ehrual) 15.2019
    ,,~(ll) SSC'lIrnn,cript or the Open llcarini on Llcction Sl-curil),held on \larch 21. 20 IIS,p. -17.
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     VIII. (U) THE llOLI~ OF DHS A                  u u, rf.RAC'TIONS           WITH TIii~ STA n.:s

              (U) The lcdcral go,ernmc111·~ai.:tiom,to addrd,s election M:curily 1hreats cvolwd
     significantI) from the summer of 2016 through the summer of2018. Contcrnporaneou!o,,vith the
     Rus~ian:Jllad.~. DI IS and FBI were initial I) treating the ,;ituation as they would at) pica I
     notilica1ion or a cybcr incidc11110a non-gm crnmcntal victim. 13y1he fall of 2016. hoY.C\iCr,
     DI IS was allempting to do more cxtcnsi,e ou1rc~i.:hLo the states. t'hen in the tall of 2017, DHS
     undcrtool-.nn effort to provide a menu orC) her ~uppon opt inn<.to thc st:itc~.

          A. (U) DIIS's Evolution

              -        For DI IS and orhcr agencies and department" ia,l-.cd with intelligence collection
     or form~        po lie) options through the interagcncy process, the full score of the lhrcat began
     to cmcre.c in the summer of 2016. Sccrctarv John~on told the Committee that "I know I had
     signilic;nt concerns b) !summer of2016I ;bout doing ,;II\\C could to ensure the cybcrsccurity of
                             11
     our election system-:.·· ' Mr. Daniel suid in hi:. inkn ie,\ that h) the end nf July. the imcragcncy
     wa!>focused on better protecting electoral infra,trm:ture a" rartor~,  "DHS and l'Bl-lcd domestic
     C ffort." l II,



             -         Policyinal-.crsqukkl) realized, hlmever, that l>HS wa-. p<.l<>rly      positioned to
    provide~d           of support ::.tatcsneeded. Mr. Daniel -;aidthat intcragcncy Jbcussions about the
    threat ''starljcdl a process oru:, actuall) rcaliL.ingthat, frankly, wc don't actually have very much
    in the \,ay orcapabilit) th.it \\C can <lircctl) ofli:r the states•·-a fat:t that the sli.ltcsthcmselve~
)   would later echo. 117

         • -             Ms. Monaco -,aidthat DtlS initial I) found a ··prett) alarming variance in the
              ~ of voting rcgistmlion databases and lacl-.of encryption and lack of backup for all
                                11
              ofthc:,c things.'' ~ :\h. \1onaco addc<l that ..liJnlight of what we were seeing. in light of
              the intdligcncc we \,ere gctting briclcd on, thi" was a very specific direction and
              dcci.;ion to $0) we need to rl!allyacceleratethis. put a :,igni ticant push on resources and
              engagement ut the scnior-mo~t le, 1..'ls." H<>

         •    -          Mr. Daniel and the working grour identified m1s·scybcr teams as possible
              assistance to the Mates. ·'OI IS had team~ that could go and provide that :,upport to the
               pri,atl! ~cctor. We',c hccn doing that. J'hat's a program that existed tor years for critical




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       · (ll) SSCI I r.111,lriptof the lntcn 1c1111i1h.kh J(,hnsun. I ormcr Sccrct:tr) of Ilomcland Sccurit}. hl'ld on
    Monda). June I::!.2011. p. 10.
    111
       ' (ll) SSCI I r,uM:ripl of the l111en,c,.,.11ith \1ichael Daniel. Fonn~r Special J\ssistan1 to the President and
    Cybcr-i:curit~ Coord,nator, \lr11ionalSccurit} Council, held on Wcdnc~day. August 31.2017. p. 28.
    117
         (l') /hid .. p. 18.
    11
                             or
      ~ (l.) ",S( ·1 t ran~cript the lmer\-11!11  11ith I is,aMonaco, I ormcr I tomcland Sc<:urit; Adv1~or. held on Thursday,
    August 10.2017, SSCI intcn ic,, of l.i-a ~lona1.-o,August 10, 201 7, p. 19.
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                 r-
      ' (U) Ibid ..      2 I.
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                                  cumr,a11it>,.And \\C rcaliLcu that ,,,c could r~purpo!-~Isome of those
                 inii,1'l1t.11.lt11c
                 learn~!. but we don't ha,e that m::in) of them ... four or five. It \\tis not very man)." ,:o

               ( U) DIIS all empted a nuanced outreach to the ~late~ on th1.:threat. M~. \1onaco
        highligh1cda Jclicatc balancing act with the in1cractior1swith :.talcs:

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                 we belie,·etl if /u he 1r11ci/101 Jiu•,y.\tem i., 111/he! iJ11iterc,·ili,·111hc.:causeof whut I
                 menlio11edearlier. \\'Iii<h 1s rhe di/l11se11a111re:    and becau,e ire·tlicl 1101ww11ro. a,·
                 11·e described   ii. do the R11s.1icm.\
                                                      · 11or~.fin· them by smri11.~panic abort/ tht'
                              of the election. m
                 vuln<'ral>ilizl'

             (ll) In an August 15.2016, conference call with state election oflicials, then-Sccrctar)
    Johnson told stmcs, ",\e·rc i11a sort ofa hcightcnl.'J :-.Lall·
                                                                 of aknncss: it behooves everyone lo do
    everything ) ou can for) our O\\ n cybcrsccurit) h:.iding up to the clcuion." I le also ._aidthat
    there was ·•no specific or credihlc threat kno\\ n arnund the election '>)stem it:.cll: I do not
    recall -1 don't think, but I do not recall, th~ll"~· knew about fStatc-11 and lllinvb at that
            1
    point.'' ~~ The Committee noH.•sthm this call \\..I\ I\\O month, after State 4 ''> S)Sh:m was
    breached, and more than a month after Illinois \\a~ breached and the. late shut down its systems
    to contain the problem. During thi, call. Sccrctar) Johnson abo broached the idea of designating
    election '-)'Stems a-. critical inl'rastructurc.
)          (ll) A number of ,talc officials rcactcd 111:gali'vcl)to the call. Sctrctnl') Johnson said he
    wa~ "surprise<Vdisappointcdthat there wa,; a certain level of pushback from at least those who
    spoke up.... 1 he pushh.ic" \HL'i: l'hi, i, our I'm paraphrasing hen.:: l'his is our responsibility
    and there should not be u lcdcral takem er 111' the ckction S}Stcm. ·• 1~;

           •    (U) l'he call "dm:!>not ~u incrcdibl) ,,c11,··said Mr. Daniel. "I wa-; not on the call, no.
                but all of the reporting bm:k an<lthen all of the subsequent media reporting that is leaked
                about the call sho\\s that it did not go well." Mr. Daniel continued: "I was actually quite
                surprist:d ... in my head. there is thi : yes. \\C have this extremely partisan election going
                on in the hack.ground: but the Rus:-.ian.. arc trying to mes<,with our election. To me.
                that·, a national sccurit) i~suc that's nol dependent on party or an) thing clsc.''-'24




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        '(t ) S!)CI I ran,,;11p1of 1111:
                                      lntt:n i,m \,i1h Mu:had D,micl, Fornier Special Assi!>tantto the l'rcsidc111and
    c,2 h.:r,ccurtt)  (\1nrdinJtor. National Scc11ri1~ Council, held 011\\'cdncsda). i\11gu,111. ::?O
                                                                                                    17. J). -11.
    • \ ( l ) \SCI I rarNript of the Inlet'\ i,m \1ith L1~3Monaco. Fonner IIomeland Sccurit) J\dvisor. held on Thuri;day.
    Augu~t I0. ::!OI~. J>.::!9.                                            .
    (J' (ll) SSC·1 I ran~criptof'lhc 11111.-nie\, ,11thJch Johnst>n.Fonner s~rctur) of Ilomcland Security, held on
    Monda), June 12. 2017. p. 11.
    m (U) !bit/.. pp. 11-14.
    ll• (l') Ibid .. p. 4&.

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          •   (lJ) Ms. Mon:'lcn also relatod how DI IS 11,;"'dv~Jslgnltkant push back from the states
              and decided to "locus our efforts on really pushing states to voluntarily accept the
              assistance that DI IS was trying to provide.'' 325

          •   (U) States also reported that the call did not go well. Several states told the Committee
              that the idea of a critical infrastructure designation surprised them and came without
              context or a particular threat. Some state officials also did not understand what a critical
              infrastructure designation meant, in practical terms, and whether it would give the federal
              government the power to run elections. DI IS also did not anticipate a certain level of
              suspicion from the states toward the federal government. /\s a State 17oflicial told the
              Committee, "when someone says 'we're from the government and we're here to help,'
              it's generally not a good thing." 326

                                        (V) Critic.:11/
                                                     /11fr11stmc.:t11re
                                                                    DesiKnt1tion

      (U) One of the most controversial clements of thL·relationship between OI IS and the state!-.
      was the decision to designate election systems a., critical infrastructure. Most state onicials
      relayed that they were surprised by the designation and did not under. tand what it meant;
      many also felt DI IS was not open to input from the states on whether such a designation was
      benelicial.

      (U) Secretary Johnson remembers the first time he aired the possibility of a designation was
      on August 3, 2016. I le went to a reporter;' breakfast sponsored h} the Christian Science
 )    Monitor and publicly "lloated the idea of designating election infrastructure as critical
      infrastructure." 117 Then, on August 15, 2016, Secretary Johnson had a conference call with
      election officials from all 50 states. ''I explained the nature of what it means to be designated
      critical infrastructure. It':, not a mandatory set or lregulationsJ. it's not a federal takeover, it's
      not binding operational directives. And here arc the advantages: priority in terms of our
      services and the benefit of the protection of the international cybcr norm." 328 Secretary
      Johnson rnntinued: "I stressed at the time that this is all voluntary and it prioritizes assistance
      if they seek it."329

      (U) Some states \\ere vocal in objecting to the idea. In evaluating the slcltcs' response, DI IS
      came to the conclusion that it should put the dcsignati9n on hold, deciding it would earn more
      state tru!-iland cooperation if it held off on the desigmilidn as critical infrastructure and perhaps
      sou •ht more hu -in from the states at a later date. i.io



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      "   (lJ) SSCI Transcript of the lntcrvie" with Lisa Monaco. Fonner Homeland Security Advisor. held on Thursday.
     Augu\t 10. 2017, SSC'I intervic,, of Lisa Monaco. August 10. 2017. p. 25.
     1~•• (U) Memorandum for the Record. S~CI Staff. Contercncc Call with State 17. January 25, 2018.
     1
      - (IJ) SSCI ·1ran~cnpt of the Interview with Jch Johnson, Forn,1er-Sccrctaryof I lomeland Security. held on
     Monda), June 12. 2017. p. 10.
     118 (U) lhul. p. 14. For additional information on the definition of critical infrastructure in a cybcrsccurity context,

     sec bccutivc Order 13636. Improving Cri1ical l11jros1ruc111re     Cyhersec11rity,February 12, 2013.
     11'1 (U) SSCI 'I ranscript of the Open I fearing on Election Security, ·March 21.2018.   p. 34.
       0
     "    (U) Ibid., p. 115.
                                                48 ·
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      (U) Aller the ell:ction, Secretary Johnson clccidcclthe time had come to make the designation.
      lie held a follow-up call with NASS on the critical infrastructun: designation in January 2017:
      "I didn't tell them I'm doing this the next day, but I told them I was close to making a
      decision. I didn't hear anything further !along the lines of additional, articulated objcctionsJ,
      so the same day we went public >withthe Iunclassific;d] version of the rcpo11.311 I also made the
      designation. " 33 ~

      (U) Mr. IJanicl summed up the rationale for proceeding this way: "I do bi.:licvethat we should
      think of the electoral infrastructure as critical inl'rastrnclllrc, and tn me it's just as critical for
      democracy as communications, electricity, water. ff that doesn't function, then your
      democracy doesn't function.... To me that is the definition of ·i.:ritical.'"131

      (U) In interviews with the Committee in late 2017 and early 2018, several states were
      supportive of the designation and saw the benefits of, for example, the creation of the
      Government Coordinating Council. Others were lukewarm, ~ayi11gthey had seen limited
      benefits for all the consternation officials said it had caused. Still others remained suspicious
      that the dc!>ignationis a lirst step toward a fedcral takcovcr of dcctions.



            B. (lJ) The View From the Stutes

 )            (U) For most states, the story or Rus~ian attempts to hack ,tate infrastructure was one of
     confusion and a lack of inforrnation. It began with ~hai:statcs inter reted as an insi mificant
     event: an FBI FLASH notification on J\u~ust 18, 2016,
                                                          1
                                                        "   ·h1en, in mid-October, the MS-ISAC reached
     out to state IT directors with an a drtiona alert about specific IP addresses scanning websites. 335
     J\t no time did MS-ISAC' or DI IS identify the IP addresses as associated with a nation-state
     actor. Given the lack of context, state staff who received the notification did not ascribe any
     additional urgency to the warning; to them, it was a tcw more suspect IP addresses among the
     thousands that were constantly pinging ~late systems. Very few state IT directors informed state
     election officials about the alert.




     111
           (lJ) Secretary Johnson \1a~ rd'crring to the declassified version.'.ol'the Intelligence Community Assessment,
     As.w.,.1i11gR11s.1ia11A,:til•itie and ln1e111iu11s
                                                     in Recent US l::lectior'ls:January 6, 2017.
     m ( ll) /hid., p. 46.                                                    .
     '" (ll) SSCI Transcript ofrhe Interview \1ith Michael Daniel, Former Special Assistant to the !'resident and
     Cybcrsccurity Coordinator, National Security Council. held on Wedi1csda , Au ust 31, 2017 . 98.
     ,q   ll 1'81 FLJ\S11, Alert umber T-LD I 004-TT. TLP-AM BER,




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           •    (ll) ~ta11.· 11 had u meeting~, il11DI IS ot'licials, including the regional DI IS cyber
                advisor, in August 2016, hut according to State I I orticials, OHS did not n11.:ntionany
                specific threat against election systems from a.nation-state actor. 336

           •    (U) State 13 reported that DI IS contacted an affected county at one point. but never
                contacted the state-level orticials. m         ·.•

           •    (U) When they saw an IP address identified in the alert<;had scanned their S)Ste1rn,,State
                6 and State 16 sent their logs to 1h1.·MS-ISAC for analysis. 3·18 State 16 said it never
                received a response. n<J

                (U) 01 IS, conversely, saw its efforts as far more extensi,e and effective. Ms. Manfra
    testified to SSCl that DI IS "held a confen;ncc call where all 50 ~e..:retarie of state or an election
    director if the secretary of state didn't have that resportsibilitylparticipatcd], in August, in
    September, and again in October Iof 2016 ], both high-level engagement and network defense
    products lsic]." 140 Mr. Daniel reported that "by the time l·lcction Day rolls around, all but one
    state has taken us up on the offer to al least do scanning l,J so I want to give people credit for not
    necessarily sticking to initial partisan reactions and ... taking steps to protect their electoral
    in lrastructure." 341

                (U) States reporll!d to the 'ommiltee that Election Da) went off smoothly. For most
    stale election officials, concerns ahout a possihle threat against election systems dropped off the
    radar until the summer or foll of2017. Man state election official-. reported hearing for the first
)   time that Russian actors were responsible for scanning election infrastructure in an estimated 21
    states from the pn.:ssor from the Committee's open hearing on June 21, 2017. During that
    hearing, in response to a question from Vice Chairman Warm:r inquiring whether all affected
    states were aware they were attm:ked, M'-. Manfra responded that "lalll of the system owners
    within those states arc aware orthe targeting. )CS, sir." 3' 12 I lowcver, when pressed as to whether
    election officials in each state were aware. the ans"er was less clcar. 343

           •    (lJ) In that hearing, Dr. l ilcs said DI IS had ·'worked hand-in-hand with the state and
                local partners to share threat infc.mnation related to their networks." 144




    n,, (IJ) Mcmornndum for the Record. SSCI Staff. Conference Call \VilhIState 111,December 8, 2017.
    m (lJ) Memorandum for the Record. SSCI Staff~Conference Call with [State 13]. December I. 2017.
      ~ (lJ) Memorandum for the Record. S. Cl Staff. Conference Cail with ISiate 61, ovember 17. 2017; Memorandum
    11

    for the Record. SSCI Stall Conference Call with IState 16I, December I, 2017.
    1
     N ( ll) Ibid. State 6 did not indicate whether they received feedback from DI IS.
    1411
        (l') SSCI 1 ran. cripl of the Open I Iearing on Russian Interference in 1he 2016 U.S. Elections. June 21, 2017, p.
    74.
    341
          (LJ) SSCI ·1ranscripl of the Interview with Michael Daniel. Fon'ncr Special Assistant 10 the President and
    C') bersccurit) Coordinator, National Security Council. held on Wednesday, August 31.2017. p. 49.
    1
     •i (LJ) SSCI I ranscript of1he Open Hearing on Russian lnlerfcrence in the 2016 U.S. Elections, held    on
    Wednesday. June 21.2017, p. 28.                                       ·
    141
        (lJ) /hid., pp. 62-63.
    144
        (lJ) Ibid.. p. 12.
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                 •      (U) Ms. Manfra said, "The owners of the syst~ms within those 21 states have been
                        notified." Senator King then asked, "How about the election officials in those states?"
                        Ms. Manfra responded, "We are working to en.sure that election officials as well
                      · understand. I'll have to get back to you on whether all 21 states .... [crosstalk]." 345

                 •     (U) Given Ms. Manfra's testimony and the fact that some election officials did not get a
                       notification directly to their offices, election officials in many states assumed they were
                       not one of the 21 ; some even issued press releases to that effect. 346

                    (U) The disconnect between DRS and state election officials became clear during
           Committee interactions with the states throughout 2017. In many cases, DRS had notified state
           officials responsible for network security, but not electfon officials, of the threat. Further, the IT
           professionals contacted did not have the context to kn~y.,that this threat was any different.than
           any other scanning or hacking attempt, and they had not thought it necessary to elevate the
           warning to election officials.

                   (U) After the hearing, and in part to respond to confusion in the states, DHS held a
           conference call with representatives from 50 states in September 2017. In that call, DHS said
           they would contact affected states directly. State 8 state election officials noted that the call
           became "somewhat antagonistic. " 347 State 17 officials' reported that the phone call "just showed
           how little OHS knew about elections." 348 Several officials argued that all 50 states should be
           notified of who had been hacked. OHS followed up with one-to-one phone calls to states over
    )      the next several days.

                 •    (U) Officials from some states reported being shocked that they were in fact:-one of the
                      states, and further surprised that their states had supposedly been notified.

                 •    (U) Most state officials found the conference calls lacking in information and were left
                      wondering exactly what the threat might be. Several states said the DHS representatives
                      could not answer any specific questions effectivel.y.

                    (U) Following this series of difficult engagements, DHS set about trying to build
          relationships with the states, but it faced a significant trust deficit. Early follow-up interactions
          between state election officials and DHS were rocky. States reported that DHS seemed to have
          little to no familiarity with elections. For example, State 6 said that the DRS representatives they
        _ were assigned seemed to know nothing about State 6, and, when pressed, they admitted they
          were "just reading the spreadsheet in front of [them]." 349 State 8 reported that "we are spending



           345
               (U) Ibid., pp. 62-63.                                           .·
           346 (U) State 8 said they put out a press release because OHS had said publicly that they had notified the 21 states,
           and "if you were one of the 21, you would know."                ,._ ·,.
           347 (U) Memorandum for the Record, SSCI Staff, Conference Cnll-with [State 8), February 2, 2018.
           348
               (U) Memorandum for the Record, SSCT Staff, Conference Call with [State 17), January 25, 2018.
           349 (U) Memorandum for the Record, SSC! Staff, Conference Call with (State 6), November 17, 2017.

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    a ton of time educating outside groups on how elections are run." 350 State 3 officials said, "OHS
    didn't recognize that securing an election process is not the same as securing a power grid." 351

             (U) By early 2018, State officials gave DHS credit for making significant progress over
    the next six months. States began to sign up for many of the resources that OHS had to offer,
    and OHS hosted the first meeting of the Government Coordinating Council required under the
    critical infrastructure designation. Those interactions often increased trust and communication
    between the federal and state entities. For example, OHS has identified a list of contacts to
    notify if they see a threat; that list includes both IT officials and election officials. State 9
    described it as "quite a hlrnaround for OHS," and further stated that the Secretaries of State had
    been disappointed with how slowly OHS got up to speed on election administration and how
    slowly the notifications happened, but OHS was "quick with the mea culpas and are getting
    much better." 352
                   /

            (U) Not all of the engagements were positive, however. State 13 in early December
    2017.still reported continued frustration with OHS, indicating to the Committee that it had not
    seen much change in terms of outreach and constructiv~ engagement. As of summer 2017,
    according to State 13, "the lack of urgency [at OHS] was beyond frustrating." 353

          C. (U) Taking Advantage of DHS Resources

          (U) As OHS has pursued outreach to the states, more and more have opened their doors
    to DHS assistance. OHS told the Committee that its goal has been relationship building and:

)            In the partnerships with the states and secretaries of states, state election
             directors, and at the local level, we 're trying to shift them to a culture of more
             information security management, where they can now account for the integrity of
             their system, or, if something did happen ... they know the fall extent of what
             happened on their system . ... We 're providing vulnerability assessments and
             trend analysis, in addition to connecting them to the threat intelligence that we
             can, in order to evolve their ... cyber culture. 354

           (U) OHS's assistance can be highly tailored to need, and falls into roughly two buckets:
    remote cyber hygiene scans, which provide up to weekly reports, and on-site risk and
    vulnerability assessments. DHS also offers a suite of other services~ including phishing
    campaign assessments. All these effotis seek to provide the states with actionable information to
    improve cyber hygiene, but OHS has been keen to avoid what could be perceived by the states as




    350
        (U) Memorandum for the Record, SSC! Staff, Conference Call with [State 8], February 2, 2018.
    351 (U) Memorandum for the Record, SSCI Staff, Conference Cali with [State 3], December 8, 2017.
    352
        (U) Memorandum for the Record, SSCI Staff, Conference Call ~ith [State 9], November 17, 2017.
    353 (U) Memorandum for the Record, SSCI Staff, Conference Call with [State 13], December I, 2017.
    354
        (U) SSC! interview with DHS and CTUC, February 27, 2018, pp. 54-55.
                                              52
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                                      355
     unfunded mandate<;.      Some stutc.s r~qucsting more intensive scrvic..:s have also experienced
     significant delays before DI IS could send a team to assist.

                •     (U) By October 2018, IJIIS said 35 states, 91 local jurisdictions, and eight election
                      system vendors had signed up for remote persistent scans.356 /\II the requests lor these
                      scans have bt.:en fulfilled. "They can be turned on basically within the week," according
                      to DI IS ..157


                •     (U) DHS said that as or October 2018, it had completed 35 in-depth, on the ground
                      vulnerability assessments: 21 states, 13 localities, and one election system vendor. These
                      assessments arc one week off-site rcmoti..:scans followed by a second week on site. 358

                •     (U) Two states whu completed the in-depth assessments reported in late 2017 they had
                      had a good experience. State 12 officials said the team was ·'extremely helpful and
                                      359
                      prol'essional."     State IO said the review was a good experience, although DHS was
                                                                     °
                      somewhat limited in what it could do. ' 6 For example. DI IS did a phishing email test that
                      showed the training for employees had \\orkcd. 361 DI IS gave "good and actionable
                      recommendations." Although DIIS "didn't really understand election systems when they
                      came," they learned a lot. 162

                •     (U) As of November 2017,          State 6 and State 9 requested an on-site scan, but those scans
                      were on track to be delayed       past the August 2018 primarics.· 16' State 7 was expecting a
                      four-to-six month delay. lM       State 8 signed up for a checkup in October 2017 and was due
)                     to get service the following      February. 165 /\s nf'January '.W18. State 17 also had requested
                      an on-site st:an. w,

             (U) In a sign of improving relations between the states and DI IS, two states that had
    elections in 2017 attempted to include DI IS in the process more extensively than in the past. In
    State 17, a two-person DI IS team sat with election officials during the 2017 special election and
    monitored the networks. Even though "their presence was comforting," they "really didn't do
    much." State 17 signed DHS's normal MOU, but also added its own clause to underscore the
    state's independence: a formal sunset on DI IS 's access to state systems, one week after the




    155
           (lJ) Ibid. p. 60.
    is 6   (ll) Ibid. p. 57.
    157
           (U)      DltS phorK'call \\ith S'sCI: October 16, 2018.
    ,;s ( IJ) /hid
       1
    "'     (U) Memorandum for the Record. SSCI Stan: Conference Cal) ~vithIState 12], December I. 2017.
    360 (      lJ) Ibid
    301
          lJ) Ibid
           (
    '61 ( U) !hid
       3
    '" (ll) Memorandum for the Record. SSCI Staff'. Conference Call with IStale 6], November t 7, 2017; Memorandum
    for the Rc.:orcl,SSCI Staff. Conference Call with IState 91.November 17, 2017.
    J<,J (lJ) Memorandum for the Record, ssn Staff. Conference Call with !Stale 7 I, January 25. 20 t 8.
    365
         (lJ) Memorandum for the Record, SSCI Staff. Conference Call with [State 8]. f-cbruary 2, 2018.
    1
     '"' (U) Memorandum for the Record. SSCI S1afl: Conference Call with [State 17], January 25.2018.

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    election. State 7 reported th-.ir ~.,per icru.:c with UI I~ during the 2017 statewide ch.:etion was
    quite good. DI IS sat with election ofliciab all day, which meant State 7 could pass messages
    quickly to NCClC.

             (U) In March 2018, Congress appropriated $380 million in funding for election security
    improvements. The funding was distributed under the formula laid out in the I lelp American
    Vote Act (I IA VA) an<l was intended to aid in replacing vulnerable voting machines and
    improving cybcrsecurity. As of July 2018, 13 states said they inten<lcd to 11c;;c  the funds to buy
    nc,, vuling machines. and 22 said they have "no plans to replace their machines before the
    election-including   all live states that rel) solely on paperless electronic voting clcviccs,"
    according to a survey by Politico. ' 67

    IX. (U) RECOMMENDATIONS

           I. (U) Reinforce States' Primacy in Running Elections*

          (U) States should remain firmly in the lead 0•1. running elections, and the federal
    government should ensure they receive the necessar~ resources and information.

           2. (U) Build a Stronger Defense, Part I: Create Effective Octcrrenec

            (U) The United States should communicate to adversaries that it will view an attack
    on its election infrastructure as a hostile act, and we will respond accordingly. The U.S.
    Government should not limit its response to C)ber activity; rather, it should create a menu
)   of potential responses that will send a clear message and create significant costs for the
    perpetrator.

          -  Ideally, this principle of deterrence si1011ldbe included in an overarching
    cyber ~ for the U.S. (;ovcrnmcnt. ·1hat doctrine should clearly delineate
    cybcrespionagc, cyhercrime, an<l cybcr attacks. Fu11her, a classi lied portion or the doctrine
    should estahlish what the U.S. (io,.,ernmcnt believes to be its c calation ladder in the cyber
    realm what tools doc" it have." hat tools should it pui·sue, and what should the limits of cyber
    war he. The U.S. strategic approach tends to overrnatch·adversarics with superior technology,
    and policymakerc;; should consider what :,,tcps the U.S. will need to take to outstrip the
    capabilities or Ru-,:,,ia,China. Iran, North Korea, and other emerging hostile actors in the cyber
    domain.

           (U) U.S. cyber doctrine should serve as the basis for a discussion with U.S. allies
    and others about new cybcr norms. Just as the international community has established norms
    and treat ics about the w,e or technologies and weapons systems, the U.S. should lead a
    conversation about C) ber norms and the limits or cybcr activity with allies and others.



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    ckct1011-.·u1nl) .. ,nJ not a, pcrla1ni11g10 broader clcc11011
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    167
          (U) States Slow 10 Prepare for Hacl..ing1 hrcats. Eric Geller. Politico. July 18.2018.
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        '.'. ( LI) Build II Stronger Defense, Part II: Improve Information G~athcring and
             Sharing on Threats




           -         The U.S. ~overnment needs to build the cyber expertise and capacity of its
    domestic agencies, such as OHS and FBI, and reevaluate the current authorities that
    govern efforts to defend against forei ,n c ber threats. NSA and CIA collection is, by law,
    directed outside the United States.



          -          The U.S. government should invest in ca >abilities for ra id attribution of
    cyber a~        without sacriticin, accuraq.

                                                  I flmevci:; the IC need<;to improve its ability to
    provide timely and actionable warning. T1mcl. and accurate attrihution is not only important to
)   defensive information sharing, hut will abo umkrpin a credible dcwrn:nce and response strategy.

           (U) The federal government and state go\'ernrnents need to create clear channels of
    communication two wa~·s--down from the federal government to the state and local level,
    and up from thr state and local officials on the fron( lines to federal entities. In 2016, DI IS
    and 1:131did not provide enough information or context 10 election officials about the threat they
    were facing. but stales and DIIS ha,e made significant progress in thi area in the last two years.
    For example. Secretar 1 of I lomeland Security Nielsen testifieu to the Committee in March 2018
    that '"toua\' I can sa, \\ ith con tidcncc that "e knu\\ whL~mto contact in even state to share threat
    in fi.mnatil;n. That ~apabiI ity did not exisl in 2016.'' "'' 1                 ,


             (U) A kc) component of information sharing about elections is security clearances
    for appropriate officials at the state ,md local lc, 1cl. DI IS and its partners can effectively strip
    clas-,ified information off of cybcr indicators, which can then be pa.,sed to technical staff at the
    state level, but in order fill those indicators to not get lost in the multitude of cybcr threats those
    protc,sionab sec on a dail) basis. senior oflicials at the state and local lc\(;ls need to know the




                 ran~cripl of 1hcOpen II caring on I· lcction Securil). i1cld on March 21.2018, p. 16.
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    conte>.:Lsurrounding the ind11.:alors.Stale officials need to know why a pat1icular threat is of
    signilicant concern. and should be prioritized. That context could come from classified
    information, or states could come to undcrstand that threat information DI IS passes them is more
    serious than that n:ceived through other sources. DI IS's goal is to obtain clearances for up to
    three oflicials per state. 370 /\s or August 2018, DI IS had provided a clearance to 92 orticials 371 ;
    as or late 2017 all state dcction officials had received interim ccrct clearances or one-day read-
    ins for secret-level briefings. m DI IS, along with ODNI and FBI. also hosted state and loi..:al
    election officials for a Sl~CRET-lcvel briefing on the sidelines orthe biannual N/\SS and NASS-
    ED confon.:nces in Washington, DC in February 2018. In March, /\my Cohen, Exl.!cutive
    Director or NASS-ED testified in front or thl'.Committee that, ·'It would he na'fveto sa) that we
    received answers to all our qut:stions, but the bric ling was incrcdihl) valuable and demonstrated
    how seriou~ly DI IS and others take their commitment to th<..:  election:. communit) as well as to
    our concerns:• m The Committee recommends 01 tS continue providing such briefings and
    improve the quality of information shared.

           (U) Fundamental to meaningful information sharing, howc\ er, is that state onicials
    understand what they arc getting. New inductee~ to the world of classified information arc often
    disappointed-they expected to sec everything laid o'ut-fnblack and white, ,,hen intelligence is
    otien vcry gray, with a pattern disccrnablc only to those who knO\,\where Lolook.and what
    conclusions to draw. Those sharing the intclligeni..:i.:
                                                           should manage expectations-at the
    SEC'RFT level, ol'licials arc likcl) lo sec limited context about conclusion!>,hut not much more.

           (U) Federal officials should work to declassify information, for the purpose of
    providing" arning to appropriate state and local officials, to the greatest extent possible.                If
    kcy pieces of context could be provided al a lo,,cr classification level while still protecting
    classified information. DI IS and its partners should strivt: to do so.

           4. (U) Build a Stronger Defense, Part Ill: Secure Election-Related Cyber Systems

            (U) Despite the expense, cybersecurity needs !o become a higher priority for
    election-related infrastructure. l'IH:Commiltel' found a wide range of cybcrsccurity practices
    across the !'.>tates.Some states \\ere highly focused on b~1ilclinga culture of cybcrsecurity; others
    were sc, crely under-resourced and relying on parl-lime'_help.

            (ll) The Committee recommends State officials work with OHS to evaluate the
    security of their dection system~ end-to-end and prioritize implementing the following
    steps to secure voter registration systems, state records, and other pre-election activities.
    The Committee additionall} recommends that State officials:




    1711
        (l ') SSC! I rnnscript of the Open I tearing on 1-:lectionSccurity,:~cld on March 21.2018. p.I5.
    171 (ll)  In~ 2018-3275. Summar) of 812212018All Senators Electfon Sceurit)' Briefing, Augusl 28. 20 I 8.
    17' (lJ) SSC! ·1ranscript or the Open II earing on l:lcc1ion Sccuri)) ,'held on March 21.2018, p 15, 26.
    1 1
     " (ll) SSCI I ranscript of the Open I !caring on Election S..:cul'it), held on March 21.2018, p.II3.

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         •    (lJ) ldcntif\, the \\eak points in their networks, like under-resourced localities. State 7
              said they arc not worried ahout locations like larger counties when it comes to network
              security. but they arc worried about ''the part-time registrar \-vho is also the town attorney
              and the town accountant and is working out        or
                                                                a 17th century jail." 171

         •    (U) Undertake security audits of state and local voter registration systems, ideally
              utilizing private sector entities capable of providing such assistance. State and local
              orficials should pay particular attcntilm to the p1;¢scnceul'high severity vulnerabilities in
              relevant \\Cb applications. as well as high!) exploitable vulnerabilities such a, cross-site
              scripting and SQ!. injection.

         •    (U) Institute two-factor authentication for user access to stall: databases.

         •    (lJ) Install monitoring sensors on state systcms. /\s of mid-20 I 8, DI IS's J\ I.BERT
              sensors covered up to 98% of' voting infrastructure nationwid1.:, according to
              Undersccr1.:taryKrebs. 175

         •    (lJ) Include voter registration database rcwvery ·in state continuity        oroperations plans.
         •    (lJ) Update sol'lwarc in vot1.:rregistration systems. One state mentioned that its voter
              registration system is more than ten )Car:-.old, and its employees will ··start to look for
              shortcuts" as it gets older and slower, f'urth1.:ri mperi Ii ng cybcrsccurity.

         •    (ll) Create baekurs, including parer t.:opies, of state voter registration databases.

         •    (lJ) Consider a\ otc, education program lo ensure voters check registration information
              well prior to an elect ion.

              (U) DI IS in the past )Car has stepped ur ib abil_ity to assist the states with some of these
     activities. but DI IS needs to continue its focus on election infrastruclllrc and pushing resources to
     the state:-..

              (lJ) The Committee recommends DIIS take the following steps:

         •    (lJ) Create an advisory panel Lo give DI IS cxpci'f-lcvcl advice on how states and
              localities run ell!cti0n'-. ·1he Government Coordinating Council, created as part of the
              critical infra,tructurc designation, could servc:as a venue for educating OHS on what
              states do and \\ hat they need.




     m (U) Memorandum for the Record, SSC! Staff, Conference Call with IState 71,January 25.2018.
      7
     ' ' (lJ) DTS 2018-3275. Summar) of 8/22/2018 All Senators Election Sccurit) Briefing, August 28, 2018.

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           •     (ll) Create g.uidellncs on cybcrsecurity bc5itpractices for elections and a public
                 awareness campaign to promote election security awarcm.:ss, working through E/\C,
                 N/\SS. and NASED, and with the advisor) panel.

           •     (U) Develop procedures and processes to evaluate and routinely provide guidance on
                 relevant vulnerabilities associated with voting systems in conjunction with election
                 experts.

           •     (U) UI IS has al read) created a catalog of services thi..:ycan prO\ ide to state· to help
                 secure states· systems. DI IS should maintnin the catalog and continue to update it as iL
                 relines its understanding of what states need.     ·

           •    (U) Expand capacity so wait times for services, like ,oluntary vulnerability assessments,
                are manageable and so that DI IS can maintai11coverage on other critical infrastructure
                sectors. Robbing resources from other critical infrastructure sectors will eventually
                create unacceptable new, ulncrabilities.

           •    (U) Work \.\ilh GSA 10 establish       a list of approved private-sector vendors,, ho can
                provide services similar Lothose DI IS provides .. States report being concerned about
                "vultures··    ·ompanies who show ur selling dubious cyher solutions. That being said,
                some stati..:swill be more comfortable ha, ing a private sector cmiL) evalualc their state
                systems than a ledcral agency.

)          •    (lJ) Continue to build the resources orthe newly established 1~1-ISAC. States have
                already found this information sharing service useful. and it could serve as a
                clearinghouse for urgenl threat information. As or August 2018, the 1-:I-ISAChad over
                1.000 members ,, ith participant~ in all 50 statcs. 17<•

           •    (U) Continue training for state and local onieials, like the table-top exercise conducted
                in /\ ugu,1 or2018 that hrought together representatives from 44 states, local iLics,and the
                federal government to work through an election security crisis. 177 The complexity of the
                scenario encouraged state and local officials to idcnti l"yserious gaps in their preparations
                for Election Da).

           5. (U) Build a Stronger Defense, Part IV: Take Steps to Secure the Vote Itself

            (U) Given Russian intentions to undermine the credibility of the election process,
    states should take urgent steps to replace outdated and vulnerable voting systems. When
    safeguarding the integrity of U.S. elections, all relevant elements of the government-including
    at the federal. state, and local level-need lo be forward looking and work to address
    vulnerabilities before they are exploited.



    176
          (U) DI · 2018-3275. 'umnrnr) of 8/22/2018 All Senators l~lett_ionSecurity Briefing, August 28.2018.
    177
          (ll) DIIS. Press n:lca e: D11S llos1s a1ional l.>.crciscon Lle.cti911
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            •     (U) As states look to replace HA VA-era machines that are now out of date, they should
                  purchase more secure voting machines. Paper ballots and optical scanners are the least
                  vulnerable to cyber attack; at minimum, any machine purchased going forward should
                  have a voter-verified paper trail and remove (oi'render inert) any wireless networking
                  capability.

            •     (U) States should require that machines purchased from this point forward are either
                  EAC certified or comply with the VVSG standards. State purchasers should write
                  contracts with vendors to ensure adherence to the highest security standards and to
                  demand guarantees the supply chains for machines are secure.

            •     (U) In concert with the need for paper ballots comes the need to secure the chain of
                  custody for those ballots. States should reexamine their safeguards against insertion of
                  fraudulent paper ballots at the local level, for example time stamping when ballots are
                  scanned.

            ~     (U) Statistically sound audits may be the simplest and most direct way to ensure
                  confidence in the integrity of the vote. 378 States should begin to implement audits of
                  election results. Logic and accuracy tests of machines are a common step, but do not
                  speak to the integrity of the actual vote counting. Risk-limiting audits, or some similarly
                  rigorous alternative, are the future of ensuring that votes cast are votes counted. State 8,
                  State 12, State 21, State 9, State 2, State 16, and others already audit their results, and
 )                others are exploring additional pilot programs. 379 However, as of August 2018, five
                  states conducted no post-election audit and 14 states do not do a complete post-election
                  audit. 380 The Committee recognizes states' concern about the potential cost of such
                  audits and the necessary changes to state laws and procedures; however, the Committee
                  believes the benefit of having_a provably accurate vote_is worth the cost.

            •    (U) States should resist pushes for online voting. One main argument for voting online
                 is to allow members of the military easier access to their fundamental right to vote while
                 deployed. While the Committee agrees states--should take great pains to ensure members




     378
                                                                         a
         (U) Election experts point out, however, that audits could create new vector for election-related lawsuits.
     Complainants coufd allege that tlie audit was done improperly, or that the audit process reflected bias.
     379
         <U)State 8 passed a law to audit startin_gin 2018, with random precinct sampling. State 12 does state-wide
     audits. State 21 audits 2% of ballots, randomly selected. State 9 picks 210 of 41 0CJprecincts at random for an audit.
     State 2 hand-counts ballots in randomly selected precincts and uses automated software to test. A States law on
     ballot storage can't accommodate risk-limiting audits. Instead, they use ClearBallot software. They upload images
     of ballots to an external hard drive and send it to ClearBallot. ClearBallot is blind to who won and independently
     evaluates the results. In-addition, the company can identify problems with scanners; for example, when a fold in
     absentee ballots recorded as a vote. Cybersecurity experts still doubt, however, that this type of procedure is secure.
     380   (U) DTS 2018-3275, Summary of 8/22/2018 All Senators Election Security Briefing, August 28, 2018.
                                                 59
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              orthe militur) gd     lo vote lor their elected uniciab, nu system            oron line voting has yet
                                               181
              estahlished itself a~ sccure.

          •   {U)  DI IS should work with vendors of election cquirmcnt to educate them about the
              vulncrabilitic:-.in both the machine~ and the supply chains fiir the componcnb of their
              machine!>. Idaho National Lab is already doing sorm: independent work on the security or
              a select set or voting machines, developing a repeatable methodology for independent!~
              1es1ingthe security orsuch systems

          •   (U)  The Departmem or State should work with Fl31 and DI IS to warn states about
              foreign efforts to access polling places outside normal channels in the future and remain
              vigilant about rejecting aberrant attempts.

          •   (U) The Associated Press is responsible f'orreponing unotfo.;ial, initial election results on
              election night and i~a critical part orpublic confidence in the voting tally. States and
              DI IS should work with the /\P and other reporting entities to ensure they arc both ,;ecurc
              and reporting accurate rc.:;ulb.

          •   (U) The Comrnillec found that, otlcn, election expert,, national sccurit) experts, and
              cybcrsccurity expl'rts al'l' :-.peakingdiffen:nt language-...Election orticials focus on
              transparent processes and open access and arc concerned about introducing uncertainty
              into the system; national security prot'cssionals tend to sec the threat lirst. Both sides
              rh:cd to listen to each other bcltcr and to u-..emore precise language.
)
          6. (U) Assistance for the States

            (U) State orticiab told the CommittCl' the main obstacle to improving cybcrsccurity and
    purchasing more secure \'Oting mm:hine!:iis co::.t. State budgets arc stretched thin by priorities
    that seem mon.:urgent on a dail~ basis and arc tar more'.visible to constituents.

           (U) In March 2018, Congres-. appropriated $380 million in funds under the I IA V /\
    formula for the state-;. /\-; lll' Augu t 20 I~. states had begun to allocate and spend that money for
    items such as C) bcrsccurity improvcmem ....

           (lJ) The Committee recommends the EAC; which administers the grants, regularly
    report to Con~ress on how the states ~,re using those funds, whether more funds arc
    needed, and whether states have both replaced out_dated voting equipment and improved




    ,i,(ll) l>r. llaldcrman in his tcsrimon) before the Committee said, "I think rhat onlinc voting, unfortunately, would
    be painting a bu Ilse) con our election sysrem. Today's rechnology_just docs not provide the level of security
    assurance for an onlinc elecrion that ~ou \\Ould need in order for voters to have high conliclcnce. And I say thal
    ha, ing m~~elf ... hacked an on line ,oting system thal \\US about to be used in real elections, having found
    vulnerabilities in on line voting systems thar arc used in othl!r countries. The technology just is11·tready for use." See
    SSCI I ranscript of the Open Hearing on Russian lnterfercm:e in the '.!O16 U.S. l:lcctions. held on Wednesday. June
    21,2017.p. 152.
                                                               60
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     cyhcnccurity. Mo,·c funds ma) be needed, as the allocation under the HA VA formula did
     not prioritize replacing vulnerable electronic-only machines.

         •     (U) States should be able to use grant funds to improve cybcrsccurit) in a variety of
               wa)s, including hiring additional Ir staff, updating soft\\are, and contracting \\ith
               vendor~ to provide cybcrsccurit) service!). "Security training funded and provided by a
               federal cntit) such as the E/\C or DI IS would also be beneficial in our, ic,, ,'' 382 an
               oflicial from Illinois testified.

         •     (U) Funds should also he available to defray the cost of instituting audits.

         •    (U) States with vulnerable ORE machines wi'th:i,o paper backup should receive urgent
              acce!):.to funding. Dr. I laldcrman testified that replacing in-,cc:urcpapcrlc!:>svoting
              machines nationwide would cost $130 to $400 niillion dollars. Risk-limiting audits
              would cost less than $20 million a ycar. 1~ 1

         7. -            Build a Credible




 )




     12
     ~ (ll)  '-;SCI I ranscript of the Open I karing nn Ru~sian lntt'rferCncc in thl' 2016 U.S. Elections. held on
     Wednc~da . June 21. 2017. p. 114.                                   ·.
     Js, (U) Ibid .. p. 119.
                                                                61
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                                  MINORITY VIEWS OF SENATOR WYDEN

          (U) The role of the federal government

       (U) The Committee report describes Russian attacks on U.S. election infrastructure in 2016 and
       lays out many of the serious vulnerabilities that exist to this day. These vulnerabilities pose a
       direct and urgent threat to American democracy which demands immediate congressional action.
       The defense of U.S. national security against a highly sophisticated foreign government cannot
       be left to state and county officials. For that reason, I cannot support a report whose top
       recommendation is to "reinforce[] state's primacy in running elections."

      (U) Congress's constitutional role in regulating federal elections is well-established. In response
      to an inquiry from the bipartisan leadership of the U.S. Senate, the General Accounting Office
      (GAO) wrote that "[w]ith regard to the administration of federal elections, Congress has
      constitutional authority over both congressional and presidential elections." 1 Indeed, pursuant to
      the Elections Clause of the U.S. Constitution,2 Congress's authority over congressional elections
      is "paramount to that of the states." As the GAO report details, Congress has repeatedly passed
      legislation related to the administration of elections on topics such as the timing of federal
      elections, voter registration, absentee voting requirements, disability access, and voting rights.

      (U) If there was ever a moment when Congress needed to exercise its clear constitutional
      authorities to regulate elections, this is it. America is facing a direct assault on the heart of our
      democracy by a determined adversary. We would not ask a local sheriff to go to war against the
 ')   missiles, planes and tanks of the Russian Army. We shouldn't ask a county election IT
      employee to fight a war against the full capabilities and vast resources of Russia's cyber army.
      That approach failed in 2016 and it will fail again. The federal government's response to this
      ongoing crisis cannot be limited offers to provide resources and information, the acceptance of
      which is voluntary. If the country's elections are to be defended, Congress must also establish
      mandatory, nation-wide cybersecurity requirements.

      (U) Security of voting machines

      (U) Experts are clear about the measures necessary to protect U.S. elections from cyber
      manipulation. 3 Absent an accessibility need, most vote.rs should hand-mark paper ballots. For
      voters with some kind of need, ballot marking devices that print paper ballots should be
      available. Risk-limiting audits must be also be required. Currently, however, only Virginia,
      Colorado and Rhode Island meet these requirements. 4 These critical reforms must be adopted

      1
         "Elections. The Scopeof CongressionalAuthorityin Election Administration,"GeneralAccountingOffice,March
      2001, prepared in responseto a joint inquiry from SenatorTrent Lott, RepublicanLeader; Senator Tom Daschle,
      DemocraticLeader; SenatorMitch McConnell,Chairman,and Senator ChristopherDodd, Ranking Member,of the
      Senate Committeeon Rules and Administration.                               ·
      2
         Article I, Section4, Clause 1
      3
         Securingthe Vote; ProtectingAmericanDemocracy;NiitionalAcademyof Sciences,Engineeringand Medicine,
      September2018
      4
        -NationalConferenceof State Legislatures,Post-ElectionAudits, January3, 2019. Verifiedvoter.org.The Verifier-
      Polling Place Equipment- November2018. Oregonrequires paper ballots and the Oregon State Senatehas passed a
_)    bill requiringrisk-limitingaudits·.

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        throughout the country, which is why, on June 27. 2019, the }louse nfReproscntntives passed
        H.R. 2722, tho Securing Anwrica's l·ederal Elections (SAFE) Act. The security of the country's
        voting machines depends on this legislation being signed into law.

        (U) The Committee, in recommending basic security measures like paper ballots and audits,
        notes that there is currently "a wide range of cybersecurity practices across the states." Indeed,
        the data is deeply concerning and highlights the need for mandatory, nation-wide standards. For
        example, the Committee rightly highlights the vulnerabilities of Direct-Recording Electronic
        (DRE) Voting Machines, noting that, without a paper trail, there would be no way to conduct a
        meaningful '·recount'' and compromises would remain undetected. As of November 2018,
        however, there were still four states in which every single county relied on DREs without voter
        verified paper audit trail printers (VVPA T) and, in an additional eight states, there were multiple
        counties that relied on DR Es without a VVP AT. 5 Gaps in the deployment of VVPA Ts, which
        are far less secure than hand-marked paper ballots, demonstrate that even bare minimum security
        best practices arc not being met in many parts of the country.

        (U) In addition, I 6 states have no post-election audits of any kind, while many others have
        insufficient or perfunctory audits. Only four states have a statutory requirement for risk-limiting
        audits, while two states provide options for counties to run different kinds of audits, one of which
        is a risk-limiting audit. 6 Next year, a third state will provide that option. In other words, the vast
        majority of states have made no moves whatsoever toward implementing minimum standards
        that experts agree are necessary to guarantee the integrity of elections.

)   (U) The Committee rightly identifies problems with vendors of voting machines, noting
    vulnerabilities in both the machines and the supply chains for machine components. Currently,
    however, the federal government has no regulatory authority that would require these vendors to
    adhere to basic security practices. 7 Only general federal requirements that states and localities
    use paper ballots and conduct audits will ensure that the risk posed by voting machines provided
    by private vendors to states and localities can be contained. The stakes could not be more clear.
    As Homeland Secretary Kirstjen Nielsen testified to the Committee, ·'If there is no way to audit
    the election, that is absolutely a national security concern." 8

    (U) Registration databases and election night reporting websites

    (U) Two additional components of the U.S. election infrastructure require immediate,
    mandatory cybersecurity fixes. The first are voter registration databases. The Committee
    received testimony about successful Russian cxfi ltration of databases of tens of thousands of
           9
    voters. Expert witnesses also described the chaos that manipulated voter registration data could
    cause should voters arrive at the polls and find that their names had been removed from the rolls.

    5
      Verifiedvoter.org. The Verifier - Polling Place Equipment - November 2018.
    6
      The four states arc Colorado, Nevada, Rhode Island, and Virginia. National Conference of State Legislatures,
    Post-Election Audits, January 3, 2019.
    7
      Testimony of Homeland Security Secretary Kirstjen Nielsen, March 21, 2018.
    8
      Testimony of Homeland Security Secretary Kirstjen Nielsen, March 21, 2018.
    9
      Testimony of Connie Lawson, President-elect, National Association of Secretaries of State, and Secretary of State,
    State of Indiana; testimony of Steve Sandvoss, Executive Director of Illinois State Board of Elections, June 21,
    2017; Illinois Voter Registration System Database Breach Report.

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     As one expert testi tied. this form of interference "could be used to <,ahotage the clectiun process
     on F.lection Day.'· 10

     (U) The Committee report describes a range of cyber~ecurity measures needed to protect voter
     registration databases, yet there are currently no mandatory rules that require states to implement
     even minimum cybersecurity measures. There are not even any voluntary federal standards.

     (U) An additional component of the U.S. election infrastructure that requires immediate,
     mandatory cybersecurity measures are the election night reporting websites run by the states.
      [he Committee heard testimony about a Russian attack on Ukraine's web page for announcing
     results. That attacked allowed the Russians to use misinformation that left Ukraine in chaos for
     days after the election. As the Committee's expert witness warned, "[wle.need to look at that
     playbook. They will do it to us." 11 Like voter registration databases, election results websites
     are not subject to any mandatory standards. Both of these critical vulnerabilities, as well as
     vulnerabilities of voting machines, must be addressed by the U.S. Congress through the passage
     of S. 2238, the Senate version of the SAFE Act.

    (U) Given the inconsistent, and at times non-existent adherence to basic cybersecurity among
    states and localities, I cannot agree with the Committ~e•s conclusion that ..the country's
    decentralized election system can be a strength from a_cybcrsecurity perspective." Until election
    security measures are required of every state and locality, there will be vulnerabilities to be
    exploited by our adversaries. The persistence of those vulnerabilities has national consequences.
    The manipulation of votes or voter registration databases in any county in the country can
)   change the result of a national election. The security of the U.S. election system thus hinges on
    its weakest links - the least capable, least resourced local election offices in the country, many of
    which do not have a single full-time employee focused on cybersecurity.

    (U) Every American has a direct stake in the cybcrsecurity of elections throughout the country.
    Congress has an obligation to protect the country's election system everywhere. If there were
    gaps in the defense of our coastline or air space, members would ensure that the federal
    government close them. Vulnerabilities in the country's election cybersecurity require the same
    level of national commitment.

    (U) Cybersecurity vulnerabilities and influence campaigns

    (U) The ~ybersecurity vulnerabilities of the U.S. election system cannot be separated from
    Russia's efforts to influence American voters. As the January 2017 Intelligence Community
    Assessment (ICA) concluded, anu as the Committee report notes, the Russians were "prepared to
    publicly call into question the validity of the results" and "pro-Kremlin bloggers had prepared a
    Twitter campaign. #DemocracyRIP, on election night in anticipation of Secretary Clinton's
    victory.'' This plan highlights an additional reason why nation-wide election cybersecurity
    standards are so critical. If Russia· s prefoned candidate does not prevail in the 2020 election, the

    10
       Testimony of Alex J. I laldennan, Professor of Computer Science and Engineering, University of Michigan, June
    21, 2017.
    11
       Testimony of Eric Rosenbach, Co-Director of the Belfer Center for Science and International Affairs, Harvard
    Kennedy School, March 21, 2018.

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     Russians may seek to delcgitimize the election. The absence of any successful cybcr intru~ions,
     exfiltrations or manipulutions would greatly benefit the U.S. public in resisting such a campaign.

    (U) While not fonnally part of the U.S. election infrastructure, the devices and accounts of
    candidates and political parties represent an alarming vulnerability in the country's overall
    election system. Russia's campaign of hacking the emails of prominent political figures and
    releasing them through Wikileaks, Gucifer 2.0, and OCLeaks was probably its most effective
    means of influencing the 2016 election. The Committee has received extensive testimony ahout
    these operations, the vulnerabilities that allowed them tu occur, and the threat those
    vulnerabilities pose to the integrity of American democracy. 12 Yet little has been done to prevent
    it from happening all over again. S. 1569, the Federal Campaign Cybersecurity Assistance Act
    of 2019, addresses these vulnerabilities head on by authorizing political committees to provide
    cybersecurity assistance to candidates, campaigns and state parties.

    (U) These vulnerabilities extend to the U.S. Senate, rriost of whose members are or will be
    candidates for reelection or for other positions. As a November 2018 Senate report noted, there
    is "mounting evidence that Senators are being targeted for hacking, which could include
    exposure of personal data." 13 Private communications and information reside on personal
    accounts and devices. Passage of S. 890, the Senate Cybersecurity Protection Act, will authorize
    the Senate Sergeant at Arms to protect the personal devices and accounts of Senators and their
    staff and help prevent the weaponization of their data in campaigns to influence elections.

    (U) Assessments related to the 2016 election

    (U) I have also submitted these Minority Views to address assessments related to Russian
    activities during the 2016 election. According to the January 2017 ICA, OHS assessed that "the
    types of systems we observed Russian actors targeting or compromising are not involved in vote
    tallying." An assessment based on observations is only as good as those observations and this
    assessment, in which OHS had only moderate confidence, 14 suffered from a lack of observable
    data. As Acting Deputy Undersecretary of Homeland Security for National Protection and
    Programs Directorate, .Jeannette Manfra, testified at the Committee's June 21, 2017, hearing,
    OHS did not conduct any forensic analysis of voting machines.

    (U) OHS's prepared testimony at that hearing included the statement that it is "likely that cyber
    manipulation of lJ .S. election systems intended to change the outcome of a national election
    would be detected."' The language of this assessment raises questions, however, about OHS's
    ability to identify cybcr manipulation that could have affected a very close national election,
    particularly given OHS 's acknowledgment of the '·possibility that individual or isolated cyber




    12
       See, for example, Committee hearing. March 30, 2017.
    13
       Senators' Personal Cybersecurity Working Group Report, submitted by the Senators' Personal Cybersecurity
    Working Group, November 2018.
    14
       Responses to Questions for the Record from Dr. Samuel Liles, Acting Director of Cyber Division, Office of
    Intelligenceand Analysis; and Jeanette Manfra, Acting Deputy Undersecretary, National Protection and Programs
)   Directorate, following Committee hearing, June 21, 2017.

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 intrusions into U.S. election infrastructure could go undetected, especially at local levcls." 15
 Moreover, DI rshas acknowledied that its assessment with regr1rdto the detection of outcome-
 changing cyber manipulation did not apply to state-wide or local elections. 16

(U) Assessments about manipulations of voter registration databases are equally hampered by
the absence of data. As the Committee acknowledges, it "has limited information on the extent
to which state and local election authorities carried out forensic evaluation of registration
databases." Assessments about Russian attacks on the administration of elections are also
complicated by newly public information about the infiltration of an election technology
company. Moreover, as the Special Counsel reported, the GRU sent spear phishing emails to
"Florida county officials responsible for administering the 2016 election" which '·enabled the
GRU to gain access to the network of at least one Florida county govemment.'' 17

(U) The Committee, in stating that it had found no evidence that vote tallies were altered or that
voter registry files were deleted or modified, rightly noted that the Committee's and the IC's
insight into this aspect of the 2016 election was limited. I believe that the lack of relevant data
precludes attributing any significant weight to the Committee's finding in this area.

(U) The Committee's investigation into other aspects of Russia's interference in the 2016
election will be included in subsequent chapters. I look forward to reviewing those chapters and
hope that outstanding concerns about members· Committee staff access to investigative material,
including non-compartmented and unclassified inforniation, will be resolved.




15
   Responses to Questions for the Record from Dr. Samuel Liles, Acting Director of Cyber Division, Oflice of
Intelligence and Analysis; and Jeanette Manfra, Acting Deputy Undersecretary, National Protection and Programs
Directorate, following.Committee hearing, June 21, 2017.
16
   Responses to Questions for the Record from Dr. Samuel Liles, Acting Director ofCyber Division, Office of
Intelligence and Analysis; and Jeanette Manfra, Acting Deputy Undersecretary, National Protection and Programs
Directorate, following.Commi1teehearing, June 21, 2017.
17
   Report on the Investigation Into Russian Interference In The 2016 Presidential Election, Special Counsel Robert
S. Mueller Ill, March 2019                                     ·

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                ADDITIONALVIEWS OF SENATORSHARRIS, BENNET, AND HEINRICH
                                      ....
                   (U) The Russian government's attack on the 2016 election was the product of a
          deliberate, sustained, and sophisticated campaign to undennine American democracy. Russian
          military intelligence carried out a hacking operation targeting American political figures and
          institutions. The Internet Research Agency-an entity with ties to Russian President Vladimir
          Putin-used social media to sow disinformation anc:ldiscord among the American electorate,
          And, as this report makes clear, individuals affiliated with the Russian government launched
          cyber operations that attempted to access our nation's election infrastructure, in some cases
          succeeding.

                  (U) The Russian objectives were clear: deepen distrust in our political leaders; exploit
          and widen divisions within American society; undermine confidence in the integrity of our
          elections; and, ultimately, weaken America's democr,:itic institutions and damage our nation's
          standing in the world. The Committee did not discover evidence that Russia changed or
          manipulated vote tallies or voter registration informatioy, however Russian operatives
          undoubtedly gained familiarity with our election systems and voter registration infr~tructure-
          valuable intelligence that it may seek to exploit in the future.

                  (U) The Committee's report does not merely document the wide reach of the Russian
          operation; the report reveals vulnerabilities in our election infrastructure that we must
          collectively address. We do not endorse every recommendation in the Committee's report, and
          we share some of our colleagues' concerns about the vulnerability that we face, particularly at
 )        the state level, where counties with limited resources must defend themselves against
          sophisticated nation-state adversaries. Nevertheless, the report as a whole makes an important
          contribution to the public's understanding of how Russia interfered in 2016, and underscores the
          importance of working together to defend against the threat going forward.

                   (U) It is critical that state and local policymakers study the report's findings and work to
          secure election systems by prioritizing cybersecurity, replacing outdated systems and machines,
          and implementing audits to identify and limit risk. The Intelligence Community and other federal
          agencies must improve efforts to detect cyberattacks, enhance coordination with state and local
          officials, and develop strategies to mitigate threats. And, critically, Congress must take up and
          pass legislation to secure our elections. We must provide states the funding necessary to
          modernize and maintain election infrastructure, and we must take commonsense steps to
          safeguard the integrity of the vote, such as requiring paper ballots in all federal elections.

                  (U) Our adversaries will persist in their efforts to undermine our shared democratic
          values. In order to ensure that our democracy endures, it is imperative that we recognize the
          thre_atand make the investments necessary to withstand the next attack.




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         Allied Security Operations Group
                                Antrim Michigan Forensics Report
                           REVISED PRELIMINARY SUMMARY, v2
                                     Report Date 12/13/2020


    Client:       Bill Bailey

    Attorney:    Matthew DePerno

    A.    WHOWEARE

    1.     My name is Russell James Ramsland, Jr., and I am a resident of Dallas County,
          Texas. I hold an MBA from Harvard University, and a political science degree
          from Duke University. I have worked with the National Aeronautics and Space
          Administration (NASA) and the Massachusetts Institute of Technology (MIT),
          among other organizations, and have run businesses all over the world, many of
          which are highly technical in nature. I have served on technical government
          panels.

    2.    I am part of the management team of Allied Security Operations Group, LLC,
)         (ASOG). ASOG is a group of globally engaged professionals who come from
          various disciplines to include Department of Defense, Secret Service,
          Department of Homeland Security, and the Central Intelligence Agency. It
          provides a range of security services, but has a particular emphasis on
          cybersecurity, open source investigation and penetration testing of networks. We
          employ a wide variety of cyber and cyber forensic analysts. We have patents
          pending in a variety of applications from novel network security applications to
          SCADA (Supervisory Control and Data Acquisition) protection and safe browsing
          solutions for the dark and deep web. For this report, I have relied on these
          experts and resources.

    B.    PURPOSE AND PRELIMINARY CONCLUSIONS

    1.    The purpose of this forensic audit is to test the integrity of Dominion Voting
          System in how it performed in Antrim County, Michigan for the 2020 election.

    2.    We conclude that the Dominion Voting System is intentionally and purposefully
          designed with inherent errors to create systemic fraud and influence election
          results. The system intentionally generates an enormously high number of ballot
          errors. The electronic ballots are then transferred for adjudication. The intentional
          errors lead to bulk adjudication of ballots with no oversight, no transparency, and
          no audit trail. This leads to voter or election fraud. Based on our study, we
          conclude that The Dominion Voting System should not be used in Michigan. We
          further conclude that the results of Antrim County should not have been certified.


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    3.       The following is a breakdown of the votes tabulated for the 2020 election in
             Antrim County, showing different dates for the tabulation of the same votes.

                                                                                       TOTAL
                                Total
                 Registered                                       Third                VOTES
         Date                   Votes       Biden     Trump                Write-In
                   Voters                                         Party                  for
                                 Cast
                                                                                      President

         Nov 3     22,082       16,047      7,769      4,509       145        14        12,423

         Nov 5     22,082       18,059      7,289      9,783       255        20        17,327

     Nov 21        22,082       16,044      5,960      9,748       241        23        15,949

    4.       The Antrim County Clerk and Secretary of State Jocelyn Benson have stated that
             the election night error (detailed above by the vote "flip" from Trump to Biden,
             was the result of human error caused by the failure to update the Mancelona
             Township tabulator prior to election night for a down ballot race. We disagree and
             conclude that the vote flip occurred because of machine error built into the voting
             software designed to create error.

    5.       Secretary of State Jocelyn Benson's statement on November 6, 2020 that "[t]the
             correct results always were and continue to be reflected on the tabulator totals
)            tape .... " was false.

    6.       The allowable election error rate established by the Federal Election Commission
             guidelines is of 1 in 250,000 ballots (.0008%). We observed an error rate of
             68.05%. This demonstrated a significant and fatal error in security and election
             integrity.

    7.      The results of the Antrim County 2020 election are not certifiable. This is a result
            of machine and/or software error, not human error.

    8.      The tabulation log for the forensic examination of the server for Antrim County
            from December 6, 2020consists of 15,676 individual events, of which 10,667 or
            68.05% of the events were recorded errors. These errors resulted in overall
            tabulation errors or ballots being sent to adjudication. This high error rates proves
            the Dominion Voting System is flawed and does not meet state or federal
            election laws.

    9.      These errors occurred after The Antrim County Clerk provided a re-provisioned
            CF card with uploaded software for the Central Lake Precinct on November 6,
            2020. This means the statement by Secretary Benson was false. The Dominion
            Voting System produced systemic errors and high error rates both prior to the
            update and after the update; meaning the update (or lack of update) is not the
            cause of errors.



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    10.     In Central Lake Township there were 1,222 ballots reversed out of 1,491 total
            ballots cast, resulting in an 81.96% rejection rate. All reversed ballots are sent to
            adjudication for a decision by election personnel.

    11.     It is critical to understand that the Dominion system classifies ballots into two
            categories, 1) normal ballots and 2) adjudicated ballots. Ballots sent to
            adjudication can be altered by administrators, and adjudication files can be
            moved between different Results Tally and Reporting (RTR) terminals with no
            audit trail of which administrator actually adjudicates (i.e. votes) the ballot batch.
            This demonstrated a significant and fatal error in security and election integrity
            because it provides no meaningful observation of the adjudication process or
            audit trail of which administrator actually adjudicated the ballots.

    12.     A staggering number of votes required adjudication. This was a 2020 issue not
            seen in previous election cycles still stored on the server. This is caused by
            intentional errors in the system. The intentional errors lead to bulk adjudication of
            ballots with no oversight, no transparency or audit trail. Our examination of the
            server logs indicates that this high error rate was incongruent with patterns from
            previous years. The statement attributing these issues to human error is not
            consistent with the forensic evaluation, which points more correctly to systemic
            machine and/or software errors. The systemic errors are intentionally designed to
            create errors in order to push a high volume of ballots to bulk adjudication.

)   13.     The linked video demonstrates how to cheat at adjudication:

            https://mobile. twitter. com/Kanekoa TheG reaUstatus/1336888454538428418

    14.    Antrim County failed to properly update its system. A purposeful lack of providing
           basic computer security updates in the system software and hardware
           demonstrates incompetence, gross negligence, bad faith, and/or willful non-
           compliance in providing the fundamental system security required by federal and
           state law. There is no way this election management system could have passed
           tests or have been legally certified to conduct the 2020 elections in Michigan
           under the current laws. According to the National Conference of State
           Legislatures - Michigan requires full compliance with federal standards as
           determined by a federally accredited voting system laboratory.

           Significantly, the computer system shows vote adjudication logs for prior years;
           but all adjudication log entries for the 2020 election cycle are missing. The
           adjudication process is the simplest way to manually manipulate votes. The lack
           of records prevents any form of audit accountability, and their conspicuous
           absence is extremely suspicious since the files exist for previous years using the
           same software. Removal of these files violates state law and prevents a
           meaningful audit, even if the Secretary wanted to conduct an audit. We must
           conclude that the 2020 election cycle records have been manually removed.




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        16.      Likewise, all server security logs prior to 11:03 pm on November 4, 2020 are
                 missing. This means that all security logs for the day after the election, on
                election day, and prior to election day are gone. Security logs are very important
                to an audit trail, forensics, and for detecting advanced persistent threats and
                outside attacks, especially on systems with outdated system files. These logs
                would contain domain controls, authentication failures, error codes, times users
                logged on and off, network connections to file servers between file accesses,
                internet connections, times, and data transfers. Other server logs before
                November 4, 2020 are present; therefore, there is no reasonable explanation for
                the security logs to be missing.

        17.     On November 21, 2020, an unauthorized user unsuccessfully attempted to zero
                out election results. This demonstrates additional tampering with data ..

        18.     The Election Event Designer Log shows that Dominion lmageCast Precinct
                Cards were programmed with new ballot programming on 10/23/2020 and then
                again after the election on 11/05/2020. These system changes affect how ballots
                are read and tabulated, and our examination demonstrated a significant change
                in voter results using the two different programs. In accordance with the Help
                America Vote Act, this violates the 90-day Safe Harbor Period which prohibits
                changes to election systems, registries, hardware/software updates without
                undergoing re-certification. According to the National Conference of State
                Legislatures - Michigan requires full compliance with federal standards as
    )           determined by a federally accredited voting system laboratory.

        19.    The only reason to change software after the election would be to obfuscate
               evidence of fraud and/or to correct program errors that would de-certify the
               election. Our findings show that the Central Lake Township tabulator tape totals
               were significantly altered by utilizing two different program versions (10/23/2020
               and 11/05/2020), both of which were software changes during an election which
               violates election law, and not just human error associated with the Dominion
               Election Management System. This is clear evidence of software generated
               movement of votes. The claims made on the Office of the Secretary of State
               website are false.

        20.    The Dominion lmageCast Precinct (ICP) machines have the ability to be
               connected to the internet (see Image 11). By connecting a network scanner to
               the ethernet port on the ICP machine and creating Packet Capture logs from the
               machines we examined show the ability to connect to the network, Application
               Programming Interface (API) (a data exchange between two different systems)
               calls and web (http) connections to the Election Management System server.
               Best practice is to disable the network interface card to avoid connection to the
               internet. This demonstrated a significant and fatal error in security and election
               integrity. Because certain files have been deleted, we have not yet found origin
               or destination; but our research continues.

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        21.     Because the intentional high error rate generates large numbers of ballots to be
                adjudicated by election personnel, we must deduce that bulk adjudication
                occurred. However, because files and adjudication logs are missing, we have not
                yet determined where the bulk adjudication occurred or who was responsible for
                it. Our research continues.

        22.     Research is ongoing. However, based on the preliminary results, we conclude
                that the errors are so significant that they call into question the integrity and
                legitimacy of the results in the Antrim County 2020 election to the point that the
                results are not certifiable. Because the same machines and software are used in
                48 other counties in Michigan, this casts doubt on the integrity of the entire
                election in the state of Michigan.

        23.     DNI Responsibilities: President Obama signed Executive Order on National
                Critical Infrastructure on 6 January 2017, stating in Section 1. Cybersecurity of
                Federal Networks, "The Executive Branch operates its information technology
                (IT) on behalf of the American people. The President will hold heads of executive
                departments and agencies (agency heads) accountable for managing
                cybersecurity risk to their enterprises. In addition, because risk management
               decisions made by agency heads can affect the risk to the executive branch as a
               whole, and to national security, it is also the policy of the United States to
               manage cybersecurity risk as an executive branch enterprise." President
               Obama's EO further stated, effective immediately, each agency head shall use
    )          The Framework for Improving Critical Infrastructure Cybersecurity (the
               Framework) developed by the National Institute of Standards and Technology."
               Support to Critical Infrastructure at Greatest Risk. The Secretary of Homeland
               Security, in coordination with the Secretary of Defense, the Attorney General, the
               Director of National Intelligence, the Director of the Federal Bureau of
               Investigation, the heads of appropriate sector-specific agencies, as defined in
               Presidential Policy Directive 21 of February 12, 2013 (Critical Infrastructure
               Security and Resilience) (sector-specific agencies), and all other appropriate
               agency heads, as identified by the Secretary of Homeland Security, shall: (i)
               identify authorities and capabilities that agencies could employ to support the
               cybersecurity efforts of critical infrastructure entities identified pursuant to section
               9 of Executive Order 13636 of February 12, 2013 (Improving Critical
               Infrastructure Cybersecurity), to be at greatest risk of attacks that could
               reasonably result in catastrophic regional or national effects on public health or
               safety, economic security, or national security (section 9 entities);

               This is a national security imperative. In July 2018, President Trump
               strengthened President Obama's Executive Order to include requirements
               to ensure US election systems, processes, and its people were not
               manipulated by foreign meddling, either through electronic or systemic
               manipulation, social media, or physical changes made in hardware,
               software, or supporting systems. The 2018 Executive Order. Accordingly, I
               hereby order:
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        Section 1. (a) Not later than 45 days after the conclusion of a United States
        election, the Director of National Intelligence, in consultation with the heads of
        any other appropriate executive departments and agencies (agencies), shall
        conduct an assessment of any information indicating that a foreign government,
        or any person acting as an agent of or on behalf of a foreign government, has
        acted with the intent or purpose of interfering in that election. The assessment
        shall identify, to the maximum extent ascertainable, the nature of any foreign
        interference and any methods employed to execute it, the persons involved, and
        the foreign government or governments that authorized, directed, sponsored, or
        supported it. The Director of National Intelligence shall deliver this assessment
        and appropriate supporting information to the President, the Secretary of State,
        the Secretary of the Treasury, the Secretary of Defense, the Attorney General,
        and the Secretary of Homeland Security.

        We recommend that an independent group should be empaneled to determine
        the extent of the adjudication errors throughout the State of Michigan. This is a
        national security issue.

24.    Michigan resident Gustavo Delfino, a former professor of mathematics in
       Venezuela and alumni of University of Michigan, offered a compelling affidavit
       (Exhibit 2) recognizing the inherent vulnerabilities in the SmartMatic electronic
       voting machines (software which was since incorporated into Dominion Voting
       Systems) during the 2004 national referendum in Venezuela (see attached
       declaration). After 4 years of research and 3 years of undergoing intensive peer
       review, Professor Delfino's paper was published in the highly respected
       "Statistical Science" journal, November 2011 issue (Volume 26, Number 4) with
       title "Analysis of the 2004 Venezuela Referendum: The Official Results Versus
       the Petition Signatures." The intensive study used multiple mathematical
       approaches to ascertain the voting results found in the 2004 Venezuelan
       referendum. Delfino and his research partners discovered not only the algorithm
       used to manipulate the results, but also the precise location in the election
       processing sequence where vulnerability in machine processing would provide
       such an opportunity. According to Prof Delfino, the magnitude of the difference
       between the official and the true result in Venezuela estimated at 1,370,000
       votes. Our investigation into the error rates and results of the Antrim County
       voting tally reflect the same tactics, which have also been reported in other
       Michigan counties as well. This demonstrates a national security issue.

        PROCESS

       We visited Antrim County twice: November 27, 2020 and December 6, 2020.

       On November 27, 2020, we visited Central Lake Township, Star Township, and
       Mancelona Township. We examined the Dominion Voting Systems tabulators
       and tabulator roles.




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           On December 6, 2020, we visited the Antrim County Clerk's office. We inspected
           and performed forensic duplication of the following:

              1.   Antrim County Election Management            Server   running     Dominion
                   Democracy Suite 5.5.3-002;

           2.      Compact Flash cards used by the local precincts in their Dominion
                   lmageCast Precinct;

           3.      USB memory sticks         used by the    Dominion VAT          (Voter Assist
                   Terminals); and

           4.      USB memory sticks used for the Poll Book.

           Dominion voting system is a Canadian owned company with global subsidiaries.
           It is owned by Staple Street Capital which is in turn owned by UBS Securities
           LLC, of which 3 out of their 7 board members are Chinese nationals. The
           Dominion software is licensed from Smartmatic which is a Venezuelan owned
           and controlled company. Dominion Server locations have been determined to be
           in Serbia, Canada, the US, Spain and Germany.

    D.     CENTRAL LAKE TOWNSHIP

    1.    On November 27, 2020, part of our forensics team visited the Central Lake
)         Township in Michigan to inspect the Dominion lmageCast Precint for possible
          hardware issues on behalf of a local lawsuit filed by Michigan attorney Matthew
          DePerno on behalf of William Bailey. In our conversations with the clerk of
          Central Lake Township Ms. Judith L. Kosloski, she presented to us "two
          separate paper totals tape" from Tabulator ID 2.

           •       One dated "Poll Opened Nov. 03/2020 06:38:48" (Roll 1);

          •        Another dated "Poll Opened Nov. 06/2020 09:21 :58" (Roll 2).

    2.    We were then told by Ms. Kosloski that on November 5, 2020, Ms. Kosloski
          was notified by Connie Wing of the County Clerk's Office and asked to bring the
          tabulator and ballots to the County Clerk's office for re-tabulation. They ran the
          ballots and printed "Roll 2". She noticed a difference in the votes and brought it
          up to the clerk, but canvasing still occurred, and her objections were not
          addressed.

    3.    Our team analyzed both rolls and compared the results. Roll 1 had 1,494 total
          votes and Roll 2 had 1,491 votes (Roll 2 had 3 less ballots because 3 ballots
          were damaged in the process.)

    4.    "Statement of Votes Cast from Antrim" shows that only 1,491 votes were
          counted, and the 3 ballots that were damaged were not entered into final results.



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    5.     Ms. Kosloski stated that she and her assistant manually refilled out the three
           ballots, curing them, and ran them through the ballot counting system - but the
           final numbers do not reflect the inclusion of those 3 damaged ballots.

    6.     This is the most preliminary report of serious election fraud indicators. In
           comparing the numbers on both rolls, we estimate 1,474 votes changed
           across the two rolls, between the first and the second time the exact same ballots
           were run through the County Clerk's vote counting machine - which is almost the
           same number of voters that voted in total.

           •     742 votes were added to School Board Member for Central Lake
                 Schools (3)

           •     657 votes were removed from School Board Member for Ellsworth
                 Schools (2)

           •     7 votes were added to the total for State Proposal 20-1 (1) and out of
                 those there were 611 votes moved between the Yes and No Categories.

    7.     There were incremental changes throughout the rolls with some significant
           adjustments between the 2 rolls that were reviewed. This demonstrates
           conclusively that votes can be and were changed during the second machine
           count after the software update. That should be impossible especially at such a
           high percentage to total votes cast.

    8.    For the School Board Member for Central Lake Schools (3) [Image 1] there
          were 742 votes added to this vote total. Since multiple people were elected, this
          did not change the result of both candidates being elected, but one does see a
          change in who had most votes. If it were a single-person election this would
          have changed the outcome and demonstrates conclusively that votes can be and
          were changed during the second machine counting. That should be impossible.




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          [Image 1]:




                                                                              I.
                             School BoardMe111ber       SchoolBoardMernber
                             for Central Lake           for Central Lake
                                                                                  ,·'
                             SChools (3)                Schools(3)                -     J


                            MeIan,e Eckhardt:   852     MelanieEckhardt.
                                                        Ke,thShafer:
                                                                           519
                                                                           525
                                                                              II .·-
                    I   '   I!!rite-in:-
                             Keith Shafer:      846
                                                        Wnte-,n:
                                                112                         24
                                                                              I
                            ITotal Votes:       1810    TotaI Votes:       1068




                            Recount11/6                 Election11/3
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    9.      For the School Board Member for Ellsworth Schools (2) [Image 2]

            •     Shows 657 votes being removed from this election.

            •     In this case, only 3 people who were eligible to vote actually voted.
                  Since there were 2 votes allowed for each voter to cast.

            •     The recount correctly shows 6 votes.

            But on election night, there was a major calculation issue:

            [Image 2]:


                            School Board Member           Schoo,
                            for EI I sworth               for   El 1swor-tr
                            Schools (2)                   Schools (2)
                           MarkEdwardGroen1nk:
                           Chr1storherWal i;ce:          Chr1storher Wallace:
                           Wnte-10:                      Wr1te-1n:
                           Total Votes:                 Total Vot~




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    10.     In State Proposal 20-1 (1), [Image 3] there is a major change in votes in this
            category.

                  There were 774 votes for YES during the election, to 1,083 votes
                  for YES on the recount a change of 309 votes.

                  7 votes were added to the total for State Proposal 20-1 (1) out of
                  those there were 611 votes moved between the Yes and No Categories.

           [Image 3]:




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                         I .-.
                                                            Sta Le Pror;osaI 70 1
                          SLate Proposal 20-1               ( 1)
                          ( 1)
                         Yes:
                         No:
                         Total Votes:
                                             r3206
                                              1289
                                                            Yes:
                                                            No:
                                                            Tota1 Votes:        r $08
                                                                                 1282




    11.     State Proposal 20-1 (1) is a fairly technical and complicated proposed
            amendment to the Michigan Constitution to change the disposition and allowable
            uses of future revenue generated from oil and gas bonuses, rentals and royalties
            from       state-owned         land.      Information    about      the     proposal:
            https://crcm ich. org/pu blications/statewide-ballot- proposal-20-1-mich igan-natural-
            resou rces-trust-fund

    12.    A Proposed Initiated Ordinance to Authorize One (1) Marihuana (sic) Retailer
           Establishment Within the Village of Central Lake (1). [Image 4]

                •   On election night, it was a tie vote.

                •   Then, on the rerun of ballots 3 ballots were destroyed, but only one vote
                    changed on the totals to allow the proposal to pass.

            When 3 ballots were not counted and programming change on the
            tabulator was installed the proposal passed with 1 vote being removed from
            the No vote.

            [Image 4]:




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                                               A Proposed Initiated
                 A Proposed Initiated          Ordinace to
                 Ordinace to                   Authorize One (1)
                                               Mari t"luana Reta i / er·
                 AuthoriLe One (1)
                                               Estab \ i shment.Wi thin
                 Marihuana Retailer
                 Establishment Within          the Vi I lage of
                 the Vi I lage of              central take (1)



                                                              3
                 Central Lake (1)              Yes:


                                -=
                                                -   .
                                               No:                         2
                 Yes:                                   -
                No:              1262
                                  261          TotaI Votes:                4

                 Total Votes:        523




    13.    On Sunday December 6, 2020, our forensics team visited the Antrim County
           Clerk. There were two USB memory sticks used, one contained the software
           package used to tabulate election results on November 3, 2020, and the other
           was programmed on November 6, 2020 with a different software package which
           yielded significantly different voting outcomes. The election data package is used
           by the Dominion Democracy Suite software & election management system
)          software to upload programming information onto the Compact Flash Cards for
           the Dominion lmageCast Precinct to enable it to calculate ballot totals.

    14.    This software programming should be standard across all voting machines
           systems for the duration of the entire election if accurate tabulation is the
           expected outcome as required by US Election Law. This intentional difference in
           software programming is a design feature to alter election outcomes.

    15.    The election day outcomes were calculated using the original software
           programming on November 3, 2020. On November 5, 2020 the township clerk
           was asked to re-run the Central Lake Township ballots and was given no
           explanation for this unusual request. On November 6, 2020 the Antrim County
           Clerk, Sheryl Guy issued the second version of software to re-run the same
           Central Lake Township ballots and oversaw the process. This resulted in greater
           than a 60% change in voting results, inexplicably impacting every single election
           contest in a township with less than 1500 voters. These errors far exceed the
           ballot error rate standard of 1 in 250,000 ballots (.0008%) as required by federal
           election law.

           •   The original election programming files are last dated 09/25/2020 1:24pm

           •   The updated election data package files are last dated 10/22/2020 10:27 am.

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     16.     As the tabulator tape totals prove, there were large numbers of votes switched
             from the November 3, 2020 tape to the November 6, 2020 tape. This was solely
             based on using different software versions of the operating program to calculate
             votes, not tabulate votes. This is evidenced by using same the Dominion System
             with two different software program versions contained on the two different USB
             Memory Devices.

     17.     The Help America Vote Act, Safe Harbor provides a 90-day period prior to
             elections where no changes can be made to election systems. To make changes
             would require recertification of the entire system for use in the election. The
             Dominion User Guide prescribes the proper procedure to test machines with test
             ballots to compare the results to validate machine functionality to determine if the
             Dominion lmageCast Precinct was programmed correctly. If this occurred a
             ballot misconfiguration would have been identified. Once the software was
             updated to the 10/22/2020 software the test ballots should have been re-run to
             validate the vote totals to confirm the machine was configured correctly.

     18.    The November 6, 2020 note from The Office of the Secretary of State Jocelyn
            Benson states: "The correct results always were and continue to be reflected on
            the tabulator totals tape and on the ballots themselves. Even if the error in the
            reported unofficial results had not been quickly noticed, it would have been
            identified during the county canvass. Boards of County Canvassers, which are
            composed of 2 Democrats and 2 Republicans, review the printed totals tape from
 )          each tabulator during the canvass to verify the reported vote totals are correct."

                •   Source: https://www.michigan.gov/sos/0,4670,7-127-1640 9150-544676--
                    100.html

     19.    The Secretary of State Jocelyn Benson's statement is false. Our findings show
            that the tabulator tape totals were significantly altered by utilization of two
            different program versions, and not just the Dominion Election Management
            System. This is the opposite of the claim that the Office of the Secretary of
            State made on its website. The fact that these significant errors were not caught
            in ballot testing and not caught by the local county clerk shows that there are
            major inherent built-in vulnerabilities and process flaws in the Dominion
            Election Management System, and that other townships/precincts and the
            entire election have been affected.

            On Sunday December 6, 2020, our forensics team visited the Antrim County
            Clerk office to perform forensic duplication of the Antrim County Election
            Management Server running Dominion Democracy Suite 5.5.3-002.

     21.    Forensic copies of the Compact Flash cards used by the local precincts in their
            Dominion lmageCast Precinct were inspected, USB memory sticks used by
            the Dominion VAT (Voter Assist Terminals) and the USB memory sticks used
            for the Poll Book were forensically duplicated .
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    22.     We have been told that the ballot design and configuration for the Dominion
            lmageCast Precinct and VAT were provided by ElectionSource.com which is
            which is owned by MC&E, Inc of Grand Rapids, Ml.

    E.      MANCELONA TOWNSHIP

    1.      In Mancelona township, problems with software versions were also known to
            have been present.         Mancelona elections officials understood that ballot
            processing issued were not accurate and used the second version of software to
            process votes on 4 November, again an election de-certifying event, as no
            changes to the election system are authorized by law in the 90 days preceding
            elections without re-certification.

    2.      Once the 10/22/2020 software update was performed on the Dominion
            lmageCast Precinct the test ballot process should have been performed to
            validate the programming. There is no indication that this procedure was
            performed.

    F.      ANTRIM COUNTY CLERK'S OFFICE

    1.      Pursuant to a court ordered inspection, we participated in an onsite collection
            effort at the Antrim County Clerk's office on December 6, 2020. [Image 5]:


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           Among other items forensically collected, the Antrim County Election
           Management Server (EMS) with Democracy Suite was forensically collected.
           [Images 6 and 7].




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            The EMS (Election Management Server) was a:

                  Dell Precision Tower 3420.

                  Service Tag: 6NB0KH2

            The EMS contained 2 hard drives in a RAID-1 configuration. That is the 2 drives
            redundantly stored the same information and the server could continue to
            operate if either of the 2 hard drives failed. The EMS was booted via the Linux
 )          Boot USB memory sticks and both hard drives were forensically imaged.

           At the onset of the collection process we observed that the initial program thumb
           drive was not secured in the vault with the CF cards and other thumbdrives. We
           watched as the County employees, including Clerk Sheryl Guy searched
           throughout the office for the missing thumb drive. Eventually they found the
           missing thumb drive in an unsecured and unlocked desk drawer along with
           multiple other random thumb drives. This demonstrated a significant and fatal
           error in security and election integrity.

     G.    FORENSIC COLLECTION

           We used a built for purpose Linux Boot USB memory stick to boot the EMS in a
           forensically sound mode. We then used Ewfacquire to make a forensic image of
           the 2 independent internal hard drives.

           Ewfacquire created an E01 file format forensic image with built-in integrity
           verification via MD5 hash.

           We used Ewfverify to verify the forensic image acquired was a true and accurate
           copy of the original disk. That was done for both forensic images.

     H.    ANALYSIS TOOLS
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           X-Ways Forensics: We used X-Ways Forensics, a commercial Computer
           Forensic tool, to verify the image was useable and full disk encryption was not in
           use. In particular we confirmed that Bit locker was not in use on the EMS.

           Other tools used: PassMark - OSForensics, Truxton - Forensics, Cellebrite -
           Physical Analyzer, Blackbag-Blacklight Forensic Software, Microsoft SOL Server
           Management Studio, Virtual Box, and miscellaneous other tools and scripts.

    I.     SERVER OVERVIEW AND SUMMARY

    1.     Our initial audit on the computer running the Democracy Suite Software showed
           that standard computer security best practices were not applied. These
           minimum-security standards are outlined the 2002 HAVA, and FEC Voting
           System Standards - it did not even meet the minimum standards required of a
           government desktop computer.

    2.    The election data software package USB drives (November 2020 election, and
          November 2020 election updated) are secured with bitlocker encryption software,
          but they were not stored securely on-site. At the time of our forensic examination,
          the election data package files were already moved to an unsecure desktop
          computer and were residing on an unencrypted hard drive. This demonstrated a
          significant and fatal error in security and election integrity. Key Findings on
          Desktop and Server Configuration: - There were multiple Microsoft security
          updates as well as Microsoft SQL Server updates which should have been
)         deployed, however there is no evidence that these security patches were ever
          installed. As described below, many of the software packages were out of date
          and vulnerable to various methods of attack.

          a)     Computer initial configuration on 10/03/2018 13:08: 11:911

          b)     Computer final configuration of server software on 4/10/2019

          c)     Hard Drive not Encrypted at Rest

          d)     Microsoft SOL Server Database not protected with password.

          e)     Democracy Suite Admin Passwords are reused and share passwords.

          f)     Antivirus is 4.5 years outdated

          g)     Windows updates are 3.86 years out of date.

          h)     When computer was last configured on 04/10/2019 the windows updates
                 were 2.11 years out of date.

          i)     User of computer uses a Super User Account.




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3.     The hard drive was not encrypted at rest - which means that if hard drives are
       removed or initially booted off an external USB drive the files are susceptible to
       manipulation directly. An attacker is able to mount the hard drive because it is
       unencrypted, allowing for the manipulation and replacement of any file on the
       system.

4.     The Microsoft SQL Server database files were not properly secured to allow
       modifications of the database files.

5.     The Democracy Suite Software user account logins and passwords are stored in
       the unsecured database tables and the multiple Election System Administrator
       accounts share the same password, which means that there are no audit trails
       for vote changes, deletions, blank ballot voting, or batch vote alterations or
       adjudication.

6.     Antivirus definition is 1666 days old on 12/11/2020. Antrim County updates its
       system with USB drives. USB drives are the most common vectors for injecting
       malware into computer systems. The failure to properly update the antivirus
       definition drastically increases the harm cause by malware from other machines
       being transmitted to the voting system.

7.    Windows Server Update Services (WSUS) Offline Update is used to enable
      updates the computer - which is a package of files normally downloaded from
      the internet but compiled into a program to put on a USB drive to manually
      update server systems.

8.    Failure to properly update the voting system demonstrates a significant and fatal
      error in security and election integrity.

9.    There are 15 additional updates that should have been installed on the server to
      adhere to Microsoft Standards to fix known vulnerabilities. For the 4/10/2019
      install, the most updated version of the update files would have been 03/13/2019
      which is 11.6.1 which is 15 updates newer than 10.9.1

      This means the updates installed were 2 years, 1 month, 13 days behind
      the most current update at the time. This includes security updates and
      fixes. This demonstrated a significant and fatal error in security and
      election integrity.

      •      Wed 04/10/2019 10:34:33.14 - Info: Starting WSUS Offline Update (v.
             10.9.1)

      •      Wed     04/10/2019  10:34:33.14       Info: Used   path
             "D:\WSUSOFFLINE1091 2012R2 W10\cmd\" on EMSSERVER (user:
             EMSADMIN)

      •      Wed 04/10/2019 10:34:35.55 - Info: Medium build date: 03/10/2019



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            •      Found on c:\Windows\wsusofflineupdate.txt

            •      *WSUS Offline Update (v.10.9.1) was created on 01/29/2017

            *WSUS information found here https://download.wsusoffline.net/

    10.     Super User Administrator account is the primary account used to operate the
            Dominion Election Management System which is a major security risk. The
            user logged in has the ability to make major changes to the system and install
            software which means that there is no oversight to ensure appropriate
            management controls - i.e. anyone who has access to the shared administrator
            user names and passwords can make significant changes to the entire voting
            system. The shared usernames and passwords mean that these changes can
            be made in an anonymous fashion with no tracking or attribution.

    J.      ERROR RATES

    1.      We reviewed the Tabulation logs in their entirety for 11/6/2020. The election logs
            for Antrim County consist of 15,676 total lines or events.

            •     Of the 15,676 there were a total of 10,667 critical errors/warnings or a
                  68.05% error rate.

            •     Most of the errors were related to configuration errors that could result in
                  overall tabulation errors or adjudication. These 11/6/2020 tabulation totals
                  were used as the official results.

    2.     For examples, there were 1,222 ballots reversed out of 1,491 total ballots cast,
           thus resulting in an 81.96% rejection rate. Some of which were reversed due to
           "Ballot's size exceeds maximum expected ballot size".

                  According to the NCSL, Michigan requires testing by a federally accredited
                  laboratory for voting systems. In section 4.1.1 of the Voluntary Voting
                  Systems Guidelines (WSG) Accuracy Requirements a. All systems shall
                  achieve a report total error rate of no more than one in 125,000.

                  https://www.eac.gov/sites/default/files/eacassets/1/28/VVSG.1.1.V
                  OL.1.FINAL 1.pdf

                  In section 4.1.3.2 Memory Stability of the WSG it states that Memory
                  devices used to retain election management data shall have
                  demonstrated error free data retention for a period of 22 months.

           •      In section 4.1.6.1 Paper-based System Processing Requirements sub-
                  section a. of the WSG it states "The ability of the system to produce and
                  receive electronic signals from the scanning of the ballot, perform logical
                  and numerical operations upon these data, and reproduce the contents of
)                 memory when required shall be sufficiently free of error to enable


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                      satisfaction of the system-level accuracy requirement indicated in
                      Subsection 4.1.1."

           •          These are not human errors; this is definitively related to the software and
                      software configurations resulting in error rates far beyond the thresholds
                      listed in the guidelines.

    3.     A high "error rate" in the election software (in this case 68.05%) reflects an
           algorithm used that will weight one candidate greater than another (for instance,
           weight a specific candidate at a 2/3 to approximately 1/3 ratio). In the logs we
           identified that the RCV or Ranked Choice Voting Algorithm was enabled (see
           image below from the Dominion manual). This allows the user to apply a
           weighted numerical value to candidates and change the overall result. The
           declaration of winners can be done on a basis of points, not votes. [Image 8]:

               choice voting results are evaluated on a district per district basis and each
               district has a set number of points (100). Elimination and declaration of
               winners is done on basis of points, not votes.



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                                          Figure 11-3: RCV Profile screen

    4.    The Dominion software configuration logs in the Divert Options, shows that all
          write-in ballots were flagged to be diverted automatically for adjudication. This
          means that all write-in ballots were sent for "adjudication" by a poll worker or
          election official to process the ballot based on voter "intent". Adjudication files
          allow a computer operator to decide to whom to award those votes (or to trash
          them).

    5.    In the logs all but two of the Override Options were enabled on these machines,
          thus allowing any operator to change those votes. [Image 9]:



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        6.     In the logs all but two of the Override Options were enabled on these machines,
               thus allowing any operator to change those votes. This gives the system
               operators carte blanche to adjudicate ballots, in this case 81.96% of the total cast
               ballots with no audit trail or oversight. [Image 1OJ:




    )

        7.    On 12/8/2020 Microsoft issued 58 security patches across 10+ products, some of
              which were used for the election software machine, server and programs. Of the
              58 security fixes 22, were patches to remote code execution (RCE)
              vulnerabilities. [Image 11]:




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    8.    We reviewed the Election Management System logs (Emslogger) in their
)         entirety from 9/19/2020 through 11/21/2020 for the Project: Antrim November
          2020. There were configuration errors throughout the set-up, election and
          tabulation of results. The last error for Central Lake Township, Precinct 1
          occurred      on     11/21/2020   at      14:35:11      System.Xml.XmlException
          System.Xml.XmlException: The'' character, hexadecimal value Ox20, cannot be
          included in a name. Bottom line is that this is a calibration that rejects the vote
          (see picture below). [Image 12]:




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           Notably 42 minutes earlier on Nov 21 2020 at 13:53:09 a user attempted to
           zero out election results. ld:3168 Emslogger - There is no permission to {0}
           - Project: User: Thread: 189. This is direct proof of an attempt to tamper
           with evidence.




    9.     The Election Event Designer Log shows that Dominion lmageCast Precinct
           Cards were programmed with updated new programming on 10/23/2020 and
           again after the election on 11/05/2020. As previously mentioned, this violates the
           HAVA safe harbor period.

           Source: C:\Program Files\Dominion Voting Systems\Election Event
           Designer\Log\lnfo.txt

           •   Dominion lmagecast Precinct Cards Programmed with 9/25/2020
               programming on 09/29/2020, 09/30/2020, and 10/12/2020.

           •   Dominion lmagecast Precinct Cards Programmed with New Ballot
)              Programming dated 10/22/2020 on 10/23/2020 and after the election on
               11/05/2020

          Excerpt from 2020-11-05 showing "ProgramMemoryCard" commands.




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10.    Analysis is ongoing and updated findings will be submitted as soon as possible.
       A summary of the information collected is provided below.

       10112/07/20 18:52:301 Indexing completed at Mon Dec 7 18:52:30 2020
       12112/07/20 18:52:301 INDEX SUMMARY
       12112/07/20 18:52:301 Files indexed: 159312


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      12112/07/20   18:52:301 Files skipped: 64799
      12112/07/20   18:52:301 Files filtered: 0
      12112/07/20   18:52:301 Emails indexed: 0
      12112/07/20   18:52:301 Unique words found: 5325413
      12112/07/20   18:52:301 Variant words found: 3597634
      12112/07/20   18:52:301 Total words found: 239446085
      12112/07/20   18:52:301 Avg. unique words per page: 33.43
      12112/07/20   18:52:301 Avg. words per page: 1503
      12112/07/20   18:52:301 Peak physical memory used: 2949 MB
      12112/07/20   18:52:301 Peak virtual memory used: 8784 MB
      12112/07/20   18:52:301 Errors: 10149
      12112/07/20   18:52:301 Total bytes scanned/downloaded: 1919289906




Dated: December 13, 2020


                                        Russell Ramsland




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                                      Declaration of

    1. My name is                           and I am a resident of

        University, and a                     from ~niversity.




                                                                             Our emphasis is on digital forensics and

       incident response (DFIR} cybersecurity, analysis of publicly available information (PAI}, penetration testing

       of networks, and problem solving through operations integration. We use state-of-the-art tools and employ

       a wide variety of cyber and cyber-forensic analysts. My colleagues and I are currently contracted to a cyber-
)
       security and forensics firm that focuses on election systems.



    2. We have examined the various companies, networks, structures, machines, and related global

       infrastructures directly tied to the 2020 US General Election.



    3. This is a preliminary report on the various aspects of FOREIGNINTERFERENCE
                                                                                as defined by Executive Order

       13848 issued on September 12, 2018.

          a. Section 8 (f) defines the term "foreign interference," with respect to an election, to include "any

              covert, fraudulent, deceptive, or unlawful actions or attempted actions of a foreign government, or

              of any person acting as an agent of or on behalf of a foreign government, undertaken with the

              purpose or effect of influencing, undermining confidence in, or altering the result or reported result

)             of, the election, or undermining public confidence in election processes or institutions."
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were registered on the 24 th of July 2019. This SSLcertificate were used multiple times from locations ranging from

Canada, Serbia, and the United States. These images verify that Dominion systems were connected to foreign

systems across the globe. Also seen is that the SSLcertificate is used for the email server that was the same for the

secure HTTP connections.




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Supply Chain Concerns

    28. One in five components used in voting machines are from China-based companies

    29. On January 6, 2017 DHSSecretary Jeh Johnson on the Designation of Election Infrastructure as a Critical

       Infrastructure Subsector.

           a. This means that election infrastructure becomes a priority within the National Infrastructure

               Protection Plan. It also enables this Department to prioritize our cybersecurity assistance to state

              and local election officials, but only for those who request it. Further, the designation makes clear

              both domestically and internationally that election infrastructure enjoys all the benefits and

              protections of critical infrastructure that the U.S. government has to offer. Finally, a designation

              makes it easier for the federal government to have full and frank discussions with key stakeholders
J             regarding sensitive vulnerability information.
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    30. With that in mind, it is incredible that the Election equipment used in the November 3, 2020 election was

        manufactured in Russia,China and undisclosed Asian and European Countries (see below).




             Phases and Participants in a Supply Chain for Election Equipment for Use in the United States




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               • United States
               • Other country
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                                                                                                                              • Recycle or
                                                                                                                                reuse

                                        • Russia
                                        • China
                                        • Other Asian
                                          country

             SOURCE:The countries listed are found in lnteros, 2019.



Reference:

https ://us-cert. cisa .gov Isites/ d efa u lt/fi les/2020-10/ AA20-304A-
l ran ia n Advanced Persistent Threat Actor Identified Obtaining Voter Registration                                     Data.pdf

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              Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 130 of 215

 Declaration of

 Pursuant to 28 U.S.C Section 1746, I,                    make the following declaration.

  1. I am over the age of 21 years and I am under no legal disability, which would prevent me from giving this

      declaration.

 2.




 3. I am a US citizen and I reside                       in the United States of America.

 4. Whereas the Dominion and Edison Research systems exist in the internet of things, many of their employees
    and Corporate employees have had their Personally identifiable information, (PII) posted publicly prior to
) the election and had since deleted information from public websites as well as their company websites.
    However searching though historic records online, much of their information can be retrieved. The
    following has to do with key employees and the tied to foreign nations:

      Andy Huang, Core Infrastructure Manager of IT at Dominion Voting, previously worked for CCP
      China Telecom in 1998-2002, has a (jewelry? shell) company called Oriental Net Consulting

  Andy Huang, Core Infrastructure Manager of IT at Dominion Voting, previously worked for CCP China
  Telecom in 1998-2002, has a Uewelry? shell) company called OrientalNet Consulting

  Andy Huang currently works as the Core Infrastructure Manager of Info1mation Technology at Dominion
  Voting Systems. Earlier, he worked at China Telecom for four years between 1998 and 2002. The company is
  wholly run by the Chinese government. Huang indicates on his Linkedln that he studied at Dalhousie
  University in Halifax, Canada.

  During his tenure with China Telecom, Huang was tasked with several projects including 'Xiamen
  Metropolitan-are broadband network', 'Xiamen JDC Project', and 'OA Intranet infrastructure reformation
  project'. The exact role Huang played in these projects is not known. Huang has also worked with Cisco, a
  company that contributed significantly to the establishment of the Great Chinese Firewall.

  The U.S. Department of Defense has identified China Telecom as having collaborated with the Chinese
  military for over 20 years. In addition, the U.S. Department of Homeland Security and several other federal
) agencies had called for a complete ban on China Telecom in April due to national security concerns. Ever
  since his history with China Telecom became public knowledge, Huang has deleted both China Telecom and
  Dominion as employers from his Linkedln profile.
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     Andy Huang's Chinese pinyin name is Xiaolong Huang as per Canadian incorporation records of OrientalNet
     Consulting that is indicated in his Linkedln profile. The addresses and names match when cross-referenced
     against multiple sources.

     OrientalNet Consulting returns as a jewelry trading company on a business listing site, with Andy's name and
     business details. The address and phone number has changed since.

     Searching "OrientalNet Consulting" also returns us "ORIENT ALNET CONSULTING LTD. CHINA
     BRANCH" at another business listing site for Chinese businesses with the below details:
     "Room 302, Building 4, No.25 Hexiangdong Rd, Xiamen, China (Mainland), Fujian
     PHONE NUMBER
     86-592-8133881
     FAX
     86-592-5971483
     ESTABLISHMENT YEAR 2001

     Orientalnet consulting Ltd. China trading branch is a professional manufacturer and exporter specializing in
     paper products. "

     Joyce Zeng is listed as a contact for Orientalnet Consulting Ltd. China Branch. There is no proof that Andy
     Huang's OrientalNet Consulting is linked to Orientalnet Consulting China Branch, but one thing that is
     extremely questionable is the jewelry trading company that is linked to him. Was this a shell company?

   https://thenationalpulse.com/news/dominion-techie-worked-for-ccp-military-proxy-flagged-by-u-s-govt-for-
 ) malicious-cyber-activity/

     https://visiontimes.com/2020/11/29/dominion-employee-previously-worked-for-chinese-state-company.html

     https://www.can1business.com/company/ Active/Orientalnet-Consulting-Ltd

     https://www.gmdu.net/corp-276148.html    I https://archive.vn/fgioe

     http://www.chinayello.com/company/545 l 3/0RIENTALNET           CONSUL TING LTD CHINA BRANCH/
     https://archive.vn/GYWOY

     https://www.linkedin.com/in/andy-huang-0886636/

     http://www.bizearch.com/company/Orientalnet Consulting Ltd China Branch 24063.htm
     Andy's Linkedln prior to him removing a lot of his work history

     https://twitter.com/BenKTallmadge/status/1330150320530452487          I




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                                                                            Ancly Huang · 3rd                                                                                                                                         t1 Oa!OOus1tUniversity
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GEMS-Global Election Systems-GEMS central tabulator totals the precinct vote tallies. Firmware (software) is
embedded inside the hardware. Dominion acquired, Premier formerly Diebold. Dominion GEM Certificate



                                                                        GEMSSoftware is the KEY
                                                                              (GEMSol'med by Dominion since 2010)


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                                             Map Source: Fraction Magic - Detailed Vote Rigging Demonstration
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)                                                              •Diebold/01:SVPremlcrowned GEMSuntil 2009,
                                                 when it was sold to ES&S,then to Dominion in 1010 (due to an anti-trust suit)
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                                                                                           FINDINGSSO FAH
                                    Voting software & hardware is in the hands of a small gp of companies run by people
                                     who have worked together in the industry for years. All have been involved in voter
                                    fraud issues.Dominion seemsto be the most dominant but all are highly influential &
                                     have strong ties to one another and to gov't structures at all levels plus top agendes
                                                               (e.g., CISA & Homeland Security)

                                                                                                                                                            VERSION
                                                                                                                                                                  4. 11-15-2020
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    3.1     Software/Firmware
    The following software/firmware is required for the execution Dominion Assure 1.3
    EAC Modification tests. This includes all supporting software such as operating
    systems, compilers, assemblers, application software, firmware, any applications
    used for burning of media, transmission of data or creation/management of
    databases.


    3.1.1 Manufacturer Software/Firmware
    The following table details the portions of the Assure 1.3 system that will be
    exercised in the testing of the modifications.

    Table 1 - ManufacturerSoftware/Firmware
    Application                            Version
    GEMS                                  software version 1.21.6
    AV-OS PC                              firmware version 1.96.14
    AV-OSX                                firmware version 1.2.7
    AV-TSX DRE                            firmware version 4. 7.10
    AV-TS R6 DRE                          firmware version 4. 7.10
    ABasic script for state of Vermont    in GEMS 1.21.6



    3.1.2 Additional Supporting Test Software
)
    No additional supporting test software will be utilized in this certification test
    campaign.

Kamala Harris' husband, Doug Emhoff is partner at DLA Piper. Smartmatic's CEO Antonio Mugica & Lord
Mark Malloch-Brown launched SGO Corp whose primary asset is the election technology & voting machine
manufacturer. Sir Nigel Knowles, is Co-chairman of DLA Piper & Dir at SGO.
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          In 2014, Smartmatic CEO Antonio Mugica and British Lord Mark Malloch-Brown announced the launching
                                            of th~ SGO Corporation Limited




                                                                                               •
                                                                                                                                               Antonio Mugica
                                                                                                                                        founder and CEO of Smartmatic
                                                                    ~PIPER



                                                                •                               Corp Ltd
                                                                                               London UK

                                                             Sir Nigel Knowles Is the former global
                                                                                                                                  •
                                                             co-chairman of the law firm OLA Plptr

                                   ~PIPER

   Doug Emhoff took a leave of absence
   from the law firm, OLA Piper, in
   August, after now Presldent~lect Joe
   Biden, a Democrat, named Harris as
   his running mate. A Biden campaign
   representative said Emhoff will sever
   all ties with DLA Piper by Inauguration                                                                            Lord Mark Malloch Brown, The Soros Open
                                                                                                                                                             t
   Day,Jan.20, 2021                                                                                                   Society Foundation co-founder & board Member,
                                                                 DOMINION                                             owns Smartmatic !Dommion Voting Svstemsl
                                                                   VOTING
   Kamala Harris's Husband ????
   Connections To Smartmatic &
   Dominion Voting Systems ...
                    ON NOVEMDER16, 2020
   DY CLOVERCHRONICLE


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The link Between Dominion, Sequoia, Smartmatic, and the CCP. Sequoia Capital funded Dominion Voting
Systems. Neil Shen is the Founder of Sequoia. This is the key to the connection with the Chinese Communist
Party (CCP).

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         Neil Shen is the Founding & Managing Partner of Sequoia Capital
         China. He is also a co-founder of Ctrip.com (NASDAQ: CTRP) and
         Home Inns (NASDAQ: HMIN).


1A Chinese Bank, HSBC secures the patents pertaining to the U.S. election systems. Dominion Voting Systems
 entered into a "security agreement" w/ HSBC & received ownership of patents pertaining to intellectual
    property w/ elections, ballots, systems, cyber & internet capacities.

     ,A.tthis juncture, we are latching on to Sequoia Capital and for good cause. It should be
     noted here and imponantly so, that Sequoia Capital and Sequoia Voting systems are only
     similar in name. They are not the same entity.

     I also recommend taking a quick spin through Sequoia's website by clicking on the above
     image.

     Recall here that Sequoia Capital seeded or funded Dominion Voting Systems and HSBC
     Toronto acquired from Dominion Voting Systems 8 patents representing the intellectual
     property of Dominion. Those patents all pertain to direct interfaces with the U.S. election
     process by means of ballots, systems and machines. Again, see the last article for details
     here because they are imperative to have.




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    ,A.Toronto-based Chinese bank (HSBC) secures the intellectual patents pertaining to direct
    access to the U.S. election systems and equipment from Dominion Voting Systems. DVS is
    seeded by Sequoia Capital, which is affiliated with Cyberbank in the British Virgin Islands.
    Both Sequoia and HSBC are found in bed together with the China Online Education Group,
    which follows an established pattern (modus operandi) of directly linking American
    educators to Chinese foreign nationals for ulterior and nefarious purposes. Immediately
    pursuant to the stolen 2020 election, HSBCand Sequoia close out their positions on the
    group and whereby it ties directly to California PERS.California is an immensely corrupt
    state, its finances ar·e atrocious, Gavin Newsome is the governor and his aunt and fellow
    resident is Nancy Pelosi. And all of that ties back to the very first article in a 11of this as it
    relates to George Soros. And we didn't talk about a mountain's worth of details in between.

    At this point, I would refer you to the bank accounts and investment portfolios of Gavin
    Newsome and Nancy Pelosi. I wonder if either has a trust at Portcullis. I wonder if either
    has inroads to Cyberbank. I wonder if they hang-out with Shen? What about their
    connections to HSBC?How do politicians get so filthy rich on their public salaries?


        James Corney was appointed to HSBC board of directors. The Massive HSBC Sandal for laundering
billions for drug traffickers/arms dealers was covered up when Obama's AG Loretta Lynch struck a deal.
Clintons received $81 M Via HSBC Clients. HSBC-Hongkong/Shanghai Bank
https://www.wnd.com/2015/02/emerging-obama-scandal-1st-found-by-wnd-in-2012/
)
           Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 140 of 215




                        nines Brien Comey. Jr. (52). former Unilod Stotes Oep~UyAltomey Genoral. h~s boon

                   J    l!ppolntod a O1reclor of HSBC Holdings ~c w1lh effect from ,1 March 2013. He W1tlbe
                        an independent oon-oxoculive Director nod a member ol Uhl FananclalSystem
                   Vulncrabifities Comm11teo.


                                                                    Schohn And Hertog Fellow on National
                                     Jim Corney ls a Senior Rese111ch
                                     Security L3w ot Columbia Umvorslty Low School In Now York. From
                                     2010 to 2013, he wos Oenorot Counsel of8rld9ewo1er Ass<>G!oles.LP
                                     and, from 2005 to 2010, Son1orVice Pretidonl ond General Counsel ot
                                     tho Loekhccd M:tr1mCorporation. From 2003 to 2005. hOserved as
                                     Umtod Slates Deputy Attorney General and was rosponeible fo,
                                     supervising lho oper&Uons of Ille Oopmtmonl of Justke nnd choired lhe
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The CCP Captured U.S. by Controlling Sequoia Capital. Smartmatic acquired Sequoia Voting Systems.
Smartmatic was co-founded in Venezuela. Venezuela is controlled by the CCP. Smartmatic sold Sequoia
Voting Systems to Dominion and continues to use Sequoia's updated software.
                Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 141 of 215

    The actual controller behind Smartmatic is the former VenezuelanPresident Chavez.He later transferred
    managementto the current President Maduro. While Venezuelais controlled by the CCP,Maduro is
    actually the CCP'sbagman. In other words, Srnartmatic is a company controlled by the CCP,so after its
    acquisition of SequoiaVoting Systems,the CCPhas become the actual controller of the company. After
    the CCPcontrolled Sequoia Voting Systems,it developedand updated the voting system software for the
    CCP.We believethat this voting software has been completely controlled by the CCPsince then.


    https://en.wikipedia.org/wiki/Smartmatic




                                                         No. 1


                                                         NeilS
                                                         SequoiaCapitalChina
                                                         Founding
                                                                Partner


    The Carlyle Group & The CCP: In 2018, Dominion was acquired by David Rubenstein, founder of The Carlyle
    Group. The Carlyle Group is the largest global investment company in China. The Carlyle Group ties former
    George HW Bush & top globalist politicians Worldwide.

    CCP Controls Dominion: The controller of Dominion is the Carlyle Group, which is inextricably linked to the
    CCP. The CCP gained control of Dominion by opening up resource companies to the Carlyle Group.
    Controlling the votes of Americans, Politicians and the U.S. itself.




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                      Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 142 of 215

                                                                                  Sequoia Capital

                                                                   founded by Don Valentine in 1972 in California

    In 1984, Sequoia purchased the voting machine business of AVM Corporation
    (the former Automatic Voting Machine Corporation) and established:

                                                                             SequoiaVoting Systems

                                                 In 2005 acquired by:
                                                                                   Smartmatlc

                                                   Founded In 1997 by three engineers, Antonio Mugica, Alfredo JoseAnzola and
                                                   RogerPiilate, in Venezuela,andwas of(iciallyincorporatedin 2000 in Delaware

                                                                                                In 2005, Shen Nanpeng and Sequoia Capital jointly established
                                                                                                Sequoia Capital China Fund
                            In 2010, Smartmatic sold the Sequoia Voting Systems to:     '

                                                                                     Dominion

                                         was founded in 2002 in Toronto, Ontario, Canada, the company sells electronic voting hardware and
                                                software,includingvotingmachinesand tabulators,in the UnitedStatesand Canada.

                                                            The Carlyle Group is the biggestshareholder of Dominion.

                                              In 2018, purchased by:

                                                                               Staple Street Capital

                                                Owned by David Mark Rubenstein who is also the founder of The Carlyle Group, the
                                                                shareholderof the companybehindDominion..



                                                                                The Carlyle Group

                                            was founded in 1987 as an investmentbankingboutique,and haswide businessrelation with
                                                                ChinesecompaniesunderJiangZcminfamilycontrol

                                                                   Conclusion:
                                                                                    Dominion

                                                                          Is controlled by CCPcompany



    We believe this is an exchange of interests between the CCP and Sequoia Capital. SeqLtoia Capital helps
\ the CCP control Sequoia Voting Systems to realize its ambition to manipulate the American political
    arena, and the CCP pays it back through the exchange of capital interests.




                                                                                                                    DOMINION~
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    In 20'10, Smartmatic sold Sequoia Voting Systems to Dominion Voting Systems. Dominion continues to
    use Sequoia's updated software.
                    Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 143 of 215




HSBC received ownership of patents to intellectual property of elections, ballots, systems, cyber & internet
capacities. Patent Agreement

    Assigmnent details for assignee "HSBC BANK CANADA, AS COLLATERAL AGENT"

    Assignments (1 total)
    Assignment 1

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      Properties (18)

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            Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 144 of 215

                                                  505692196             09/26/2019
                                            PATENT ASSIGNMENT COVER SHEET

  Electronic Version v1. 1                                                                             EPASID:PAT5739006
  Stylesheet Version v1 .2

   SUBMISSION TYPE:                               NEW ASSIGNMENT
   NATURE OF CONVEYANCE:                          SECURITY AGREEMENT

   CONVEYING PARTY DATA
                                                  Name                                            Execution Date
   DOMINION VOTING SYSTEMS CORPORATION                                                           09/25/2019


   RECEIVING PARTY DATA
   Name:                            HSBC BANK CANADA, AS COLLATERAL AGENT
   Street Address:                  4TH FLOOR. 70 YORK STREET
   City:                            TORONTO
   State/Country:                   CANADA
   Postal Code:                     M5J 1S9



PROPERTY NUMBERS Total: 18
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              Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 145 of 215

      CORRESPONDENCE DATA

                                                                                     PATENT
          505692196                                                         REEL: 050500 FRAME: 0236



      Fax Number:
      Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
      using a fax number, ff provided; if that is unsuccessful, It w/11be sent via US Mall.
      Phone:                          212-655-3327
      Email:                          sscl1wartz@chapman.com
      Correspondent Name:             CHAPMAN & CUTLER LLP
      Address Line 1:                 1270 AVENUE OF THE AMERICAS, 30TH FLOOR
      Address Line 2:                 ATTN: SOREN SCHWARTZ
      Address Line 4:                 NEW YORK. NEW YORK 10020

     NAME OF SUBMITTER:                     SOREN SCHWARTZ
     SIGNATURE:                             /Soren Schwartz/
     DATE SIGNED:                           09/26/2019
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 Communist People's Republic of China financially captured Collateral of Dominion Voting Systems, Machines
 & Security Software Applications. Dominion's financial collateral owner is HSBC the Hongkong Shanghai
\Bank of CHINA-Assigned 18 different Patents.
                       Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 146 of 215

    U.S. l'a1e11ts& 1\pplications

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                         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 147 of 215

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       record for the 11bovc-rcfore11ce<I
                                      pntentapplication. but this application is to be assigned to
       Oominion Voting System~Corporalion po~1-Closing pursuunl to the Undertaking

       U.S. Registered Trademarks

             Trademark                  S.erial#           File Date            Reg#                Reg Date         Status                   Class




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    Eric Coomer is one of the Inventors of Dominions Voting Security Features. Dominion Voting Systems Patents:
    Security, System & Methods:
    Assignors: DOMINION VOTING SYSTEMS
    Assignee: HSBC
    Patent Assignment 050500/0236 SECURITY AGREEMENT
    https://assignment.uspto.gov/patent/index.html#/patent/search/resultAssignment?id=S0S00-236




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                    Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 148 of 215

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             Properties (18 total)
               Patent                                         Publication                                       Application

               1, SYSTEMSANO M:T-!ODS 'ORPi\OVOl'!G S:CURITY I'! A VOTING \IACHINE
               n·,•entors:JOHN ?AU_ rlOM:WO::JJ TH0\1AS E. K:o_lNG >A.ULJAV:O TER.WILLGER MA~CR. _A,TOU~

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               3. SYSTEMSANO M:T-!ODS 'OR PROV 0l'lG S:CLRITY l.'I A VOTING \IAC'-i NE
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              SAc_OT Lt,''OU- AUThENT CAi C'I A',D V:, F.CAT 0
)----~--~      nventors: ERICCOQr..,1:i:t
                                       Lb.~RYKORB:SRiA~G~ENN 1:R1\H~\J




    Eric Coomer is one of the Inventors of Dominions Voting Security Features.




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                                                        Properties(18)


                                   Patent                       Publication       Application     PCT      International
                                                                                                           registration


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      This searchable database contains all recorded Patent Assignment information from August 1980 to the

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      When the USPTO receives relevant information for its assignment database, the USPTO puts the information in

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      USPTO neither makes a determination of the legality of the transaction nor the right of the submitting party to

      take the action.


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        Assignment details for assignee "HSBCBANKCANADA,AS
        COLLATERALAGENT"
        Assignments(1total)

        Assignment 1




                          Reel/frame                     Execution dale           Date

                                                                                recorded
                         050500/0236                     Sep 25, 2019
                                                                                Sep 26,
                                                                                 2019




                                                 Conveyance

                                             SECURITYAGREEMENT




                          Assignors                             Correspondent              Attorney docket

           DOMINION VOTING SYSTEMS CORPORATION         CHAPMAN & CUTLER LLP
    )                                                         1270 AVENUEOF Tl IE
                                                          AMERICAS,30TH FLOOR
                                                      ATTN: SORENSCHWARTZ
                                                       NEW YORK,NY 1 0020



                          Assignee


           HSBC BANK CANADA, AS COLLATERALAGENT

                  4TH FLOOR,70 YORK STREET

                       TORONTOMSJ 1S9

                          CANADA




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                Dominion's parent company Staple Street Capital

                                      Owners of Dominion Voting systems, many of their leadership comes from Cerberus Capital
    management, from their Vice President to their Managing Director. Cerberus capital owns Remington, Bushmaster and
    others. This is mentioned because of the effects of the uncertainty during the pandemic and the weapons sales in the
    United states in regards to their profit for 2020.




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             Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 152 of 215

         Staple streetCapital has 7 currentteam members,includingSeniorAssociate DanielFranklin.


                        Daniel Franklin                                              HootanYaghoobzadeh
                        SeniorAssociate                                              ManagingDirector




                        Jeffrey D Hyslop                                             StephenD Owens
                        Vice President                                               ManagingDirector& Founder




                        Andre Ohnona                                                 DylanLam
                        Vice President                                               Associate




                       Scott Zhu
                       Vice President




           Whoownsthe Dominionvotingsystems?


           July 16, 2018 Dominion Voting Systems {"Dominion Voting") announces tl)at it has been acquired by its
           management team and Staple Street Capital.
)
           Staple Street Capital 1sa private equity firm founded in 2009 based in New York.The co-founders Stephen
           D. Owens and Hootan Yaghoobzadel1are veterans of The Carlyle Group ancl Cerberus Capital
           Management. also the Board members of Dominion voting. Tile official website of Staple Street Capital
           has cleleteclthe team introduction.




        With staple street capital's ownership of Dominion, Dominion would have been included in the buy out or Staple
street when UBS bought them in 2019 for 400 Million Dollars US.
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                                                                                                                ~ lnvestmen1CompanyAct Section 3(c)

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    14. Investors

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                        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 155 of 215
          14. Investors

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                   the Trust IndentureAct o( 1939, the lrr.-estmentCompanyAcl of 1940.or the Investment Act;lsef8Ac! ot 19,tO,o, any rule or regulationunder any of !!'Iesesu111uies.     the laws of lhe State m which the issuer ma1n1a1ns
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                   princ1paJplace of business or 8flYSt&te1nwhich this notice is filed.

                                                                     O exemption for the offenng,the ISSuer1snot disquahfiedftom retyingon Rufe 504 or Rule 506for one of the reasons stated 1.n Rule 504(ti)(3)Of Rule 506{d)
                 • Certdy1ngthat, d the issuer is clatmng a Regula11on


        Each Issuer identified abO',ehas read this notice. knows the con1en1s10be tiue. and has duly caused!his no1iceto be signed on its behalf by lhe undersignedduly authouzedperson.

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I declare under penalty of perjury that the forgoing is true and correc ■ the best of my knowledge. Executed
this November 23 th, 2020.
              Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 156 of 215



        Declaration of
        Pursuant to 28 U.S.C Section 1746, I,                       make the following declaration.
        1. I am over the age of 21 years and I am under no legal disability, which would prevent me


        2.




        3. I am a US citizen and I reside at                         n the United States of America.
        4. It can be seen using open source methodology that the SSL certificates from
    )        * .dominionvoting.com were registered on the 24 111of July 2019. This SSL certificate were
             used multiple times from locations ranging from Canada, Serbia, and the United States.
             These images verify that Dominion systems were connected to foreign systems across the
             globe. Also seen is that the SSL certificate is used for the email server that was the same for
             the secure HTTP connections.




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        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 157 of 215




                           443.https.tis.certificate.parsed.fingerprint_
                                                                       sha256:
                 8f73a14d5f0fc10ebfa3086a99b9e7a550e822c7ld762e627b73dl2e5flb8b9c
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          *.dominionvoting.com
           •   Certificate ..     Q    nust...   A   CT   .,/ ZLl'lt   ..t. PCM

          Basic Information
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                         subject DN ou=oomain control Vahdated.CN=...domlnIonvoUn9.com

                          Issuer ON C::.US.
                                          ST-Auzona.L~Scottsda'e.o~StarfleldTe<:hnok,glts.Inc,
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                              Serial Declmal: 13281912269553870296                                                                  Mozilla NSS   a   Ofowser Truste<I
                                       Hex: Oxb852d4d6aco925d8

                            validity 2019-07· 1817:32.22 to 2021·07·1817:32.22 (731 days. 0:00.00)
                             Names    ~ domimoovotingcom
                                      domITTlon•,01109
                                                    com                                                                       Key Usage and Constraints

                                                                                                                                     Key Usage Olg1talSignature,Key
          fingerprint
                                                                                                                                               Enc1phermen1
                          SHA-256 8 f 73a 1•ldSf Of c lOcbf a3086a?9b9c      7o5S0c822e 71 d762c627b 73d 12c5 ( 1b8b9c        Ext. Key Usage ClientAuth. Server Auth
                             SHA· I 7'1670bMcS95fb95n7b34b(5c262743619b9d7c1
                                MOS 603c7d I c6dccct 1908498d5cd 15c6d0S


          Public Key                                                                                                         Certificate Transparency

                          Key Type 2048-blt RSA,e ::65,537       G:lat                                                              Argon 2021 2019-08·06 01:03         1,695,407



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          Public Key                                                                                                         Certificate Transparency

                          Key Type '2048·blt RSA.e = 65.537      G:lat                                                              Argon 2021 2019·08·06 01·03      1,695,407

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                          Modulus as :cb :o7 :% :a7 :be :5'1 :82 :98 :di: tb :cl :b3 :2c: 52 :~a :a7 :80 :44 :Sc:      -
                                                                                                                                G Rocketeer 2019·07·24 18'20 760,169,765
                  SPKISHA-256 8977f714d0f6695ca6              l -1JdOcaoa.19cc_.8b4c0l 2124204b'12d3'19720ac8    (8523'1


         Signature

                         Algorithm SHA2S6-RSA(1.2.8'10.113549.1.1.11)                                                        Censys Metadata
                         Signature 0c :ct.I :9c :98:25 :b9: le :89 :97 :71 :o9 :9f :o2 :bd :43: 13 :bc>:511:50 :03:    -
                                                                                                                                      Added Al 2019·07·24 14:48.04

                                                                                                                                    Up®ted At 2019·06·06 01:24·55
         Extensions
                                                                                                                                        Source Ce1ltf1ca1e
                                                                                                                                                         Trans:pa,eocy
                        Auth Key ID 25458 J 685026383d3b2d2cbccd61:1d9b63db36663          lparentsllsibh.ngsJ
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                  Subject Key ID 622uf 9 I 9llc009200f4dfb•1d87o91         af8589d(c9•16 lchildreo)
                                                                                                                                          Tags unexpired,leaf, google--ct,dv,
                         Key usage DIQltalSigoatwe, Key Enciphe1ment                                                                           uus1ed, ct

                 Ext. Keyusage ChentAulh,se,verAuth

                         CALPaths hltp //crl s1arf1eldtechcom/sfig2s1-149.c1I

                           Policies StarfteldOV(2 .16.840.1. 114414, 1. 7 .23 .1)
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                        Constraints IS CA: false

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            Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 158 of 215




        All share:
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                                parsed.fingerprint_
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               AutonomousSys1em:                  J:l 206.223.168.94 (webmoil.dominionvoling.com)
                       2 BEANFlfLD                         BEANFlfLO(21949)      Toronto,oniatlO,Canada
                       2 CENTURYLINK-US·                443/hllps
                         LEGACY·QWEST                   '.domlntonvoling.com,domlnlorwoting.com
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                       7 443/hllps
                       3 80/htlp
                       2 2.2/ssh                  J:l 204.132.219.214
                       2 8080/hllp                      CENTURYLINK·US·LEGACY·QWEST
                                                                                (209)                      United States
                       1 Wflp                           443/htlps
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              Tag:                                      443.h1tps.lls.cert1f1cate parsed.f1ogerprinLsha256:    8f 73o 14d5f Of c 1Oebf o3086o99b9e 7oSSOe822c 71 d762c627b 73d 12es f 1b8b9


    )                 7 http
                      7 llltps                    J:l 104.18.91.9
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                                                  J:1104.18.90.9
                                                        CLOUOFLARENET
                                                                    (13335)                United States
                                                       443/hllps, 80/hllp, 8080/hltp
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                                                       443.hltps tls.cerllf1c&te.parsed.f1ngerJ)l'inLsha256: 8f 73o 14d5f0f cl Ocbf o3086o99b9e 7oSSOe822c 71 d762e627b 73d 12e5f 1b8b9


                                                  J:l 206.223.190.85 (206·223·190-85.beanfield.net)
                                                       BEANFIELO(21949)            Toron10,Ontario, Canada
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                                                                              dominlonvoting.com
                                                                                                        8 f 73o l4d5f0f c 10ebf o3086o99b9e 7o550e822c 71 d762e627b 73d1 2eS f 1b8b9
                                                       443.hltps tis certif1cate,parsed.f1ngerprlnLsha256:


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         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 159 of 215




       Map    Satellite



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)   Dominion site

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    Cloudflare link

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    Canadian ip address

    206.223.190.85

    Denver ip address

    204.132.121.11




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         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 160 of 215




    Page: 1/1 Results: 7 Time: 155ms

    206.223 .168. 94 (webmail.dominionvoting.com)
    BEANFIELD (21949) Toronto, Ontario, Canada
    443/https
    *.dominionvoting.com, dominionvoting.com

    443 .https. tis.certificate. parsed.fingerprint_ sha256:
    8f73a14d5filfc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5flb8b9c
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    SERBIA-BROADBAND-AS Serbia BroadBand-Srpske Kablovske mreze d.o.o. (31042) Kac,
    Vojvodina, Serbia
    443/https
    *.dominionvoting.com, dominionvoting.com

    44 3 .https. tis.certificate. parsed.fingerprint_ sha256:
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    CENTURYLINK-US-LEGACY-QWEST (209) United States
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    CLOUDFLARENET (13335) United States
    443/https, 80/http, 8080/http
    Direct IP access not allowed I Cloudflare *.dominionvoting.com, dominionvoting.com
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    104.18.90.9

    CLOUDFLARENET (13335) United States
    443/https, 80/http, 8080/http
    Direct IP access not allowed I Cloudflare *.dominionvoting.com, dominionvoting.com
    443.https.tls.certificate.parsed.fingerprint_sha256:
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    206.223.190.85 (206-223-190-85.beanfield.net)
)
        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 161 of 215




    BEANFIELD (21949) Toronto, Ontario, Canada
    22/ssh, 443/https
    * .dominionvoting.com, dominionvoting.com

    443 .https. tis.certificate. parsed.fingerprint_ sha256:
    8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5flb8b9c

    204.132.121.11 (204-132-121-11.dia.static.gwest.net)

    CENTURYLINK-US-LEGACY-QWEST (209) Denver, Colorado, United States
    21/ftp, 22/ssh, 443/https, 80/http
    DVS Fileshare *.dominionvoting.com, dominionvoting.com

    443 .https. tls.ce1tificate.parsed.fingerprint_ sha256:
    8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73dl2e5flb8b9c


    I declare under penalty of perjury that the forgoing is tru
    knowledge. Executed this December 16, 2020.




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          Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 162 of 215




                                 Foreign Ties and Vulnerabilities
     Declaration of

     Pursuant to 28 U.S.C Section 1746, I,                      make the following declaration.
     1. I am over the age of 21 years and I am under no legal disability, which would prevent me


    2.




    3. I am a US citizen and I resid                            n the United States of America.
)   4. Whereas the Dominion and Edison Research systems exist in the internet of things, and
         whereas this makes the network connections between the Dominion, Edison Research and
         related network nodes available for scanning,
    5. And whereas Edison Research's primary job is to report the tabulation of the count of the
         ballot information as received from the tabulation software, to provide to Decision HQ for
         election results,
    6. And whereas Spiderfoot and Robtex are industry standard digital forensic tools for evaluation
         network security and infrastructure, these tools were used to conduct public security scans of
         the aforementioned Dominion and Edison Research systems,


    7. A public network scan of Dominionvoting.com on 2020-11-08 revealed the following inter-
         relationships and revealed 13 unencrypted passwords for dominion employees, and 75
         hashed passwords available in TOR nodes:
Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 163 of 215




                                                                'II   ..•




   Array
    (
           [id) => 544167324
           (luser) => ian.macvicar
           (domain]     => dominionvoting.com
           [password)     => jamley

   7
   Array
    (
           [id) => 599400504
           [luser)  => jelena.tanaskovic
           [domain} => dominionvoting.com
         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 164 of 215




    8. The same public scan also showed a direct connection to the group in Belgrade as
        highlighted below:

                                                                                  '-..__./




              C       i     robtex.com/dns-lookup/dominionvoting.com

      18results shown.

          IP numbersOf,the na
)
      2606:4700:50: :adf5:3aad                                                   barracuda.dominionvoting.corn
      2803:f800:50: :6ca2:c0ad                                                   belg rade .dominionvoti ng .corn
      2803:f800: 50: :6ca2:c1b3                                                  webrnail.dominionvoting.com
      2a06: 98c1: 50:: ac40: 20ad                                                www .domin ionvoting .com
      108.162.192.173                                                            4 results shown.
      1 {)Q   1 {:..") 1 0-:t    1 70


    9. A cursory search on Linkedln of "dominion voting" on 11/19/2020 confirms the numerous
       employees in Serbia:

                       Vukasin Oordevic • 3rd
                       Software Developer at Dominion Voting Systems
                       :;c•b a



                      Edvan Sabanovic • 3ro
                      Senior Full-stack Web Developer
                      Bclg,x1e Serbia
                      Pz,,t, Se·' O' \'\icb ),e,;cbper at Dominion Voting S::,·stervi,
          Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 165 of 215




      10. An additional search of Edison Research on 2020-11-08 showed that Edison Research has an
          Iranian server seen here:




                                                       ·-




     Inputting the Iranian IP into Robtex confirms the direct connection into the "edisonresearch"
     host from the perspective of the Iranian domain also. This means that it is not possible that the
     connection was a unidirectional reference.
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     A deeper search of the ownership of Edison Research "edisonresearch.com" shows a connection
     to BMA Capital Management, where shareofear.com and bmacapital.com are both connected to
     edisonresearch.com via a VPS or Virtual Private Server, as denoted by the "vps" at the start of
     the internet name:
        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 166 of 215




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    There are also many more examples, including access of the network from China. The records of
    China accessing the server are reliable.
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Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 167 of 215




         X                                                                                                                                         ooo




     CHINA UNICOMChina169 Backbone - FraudRisk


     ,- Lowest Risk                                                                                                                           Highest Risk •


     ■
     0                                                                 Fraud Score: 3                                                                          0


     We consider CHINA UNICOM Chlna169 Backbone to be a potentially low fraud risk ISP.by which we mean that web traffic f1omthis ISP potentially poses
     a low risk of being fraudulent.Other types of traffic may pose a different risk or no 1isk.They operate 1,889,865IP addresses,some of which ate running
 '




         0       6                                   t_l,       77                                 CJ 126                                         ~


                     Domain Name: dominiorwotingsystcms               com
                     Registry Domain ID: 2530599738_0OMAIN_COM-VRSN
                     Registrar WHOIS Server: whois.godadcly.com
                     Registrar URL: http'/Jwwwaodpddy  com
                     Updated Date: 2020-05-26T15:48:58Z
                     Creation Date: 2020-05-26 T15.48:57Z
                     Registrar Registration Expirntion Date: 2021-05-26 T 15:48:572
                     Registrar: Go Daddy.corn. LLC
                     Registrar IANA ID: 146
                     Registrar Abuse Contact Email: abuse@godadcly.com
                     Registrar Abuse Contact Phone.         T   1.4806242505
                     Domain Status: clientTransfcrProhibitecl http://www.icann.org/epp#clientTransfcrProhibited
                     Domain Status: clicntUpdateProhibited           http://www.icann.org/eppllclientUpdateProhibited
                     Domain Status: clientRenewProhibited http://www.icann.org/eppllclientRenewProhibitecl
                     Domain Status: clientDcletcProhibitecl http://www.icann.org/cppllclicntDcleteProhibited
                     Registrant Organization:
                     Registrant Statc/Proyjpcc·
                                          Hypap
                     Registrant Coun~
                     Registrant Email: Select Contact Domain Holder link at
                     https://www.godaddy.com/whois/results.aspx?domain=dominionvotingsystems.com
                     Admin Email: Select Contact Domain Holder link at
                     https://www.godaddy.com/whois/results.aspx?clomain=dominionvotingsystcms.com
                     Tech Email: Select Contact Domain Holder link at
                     https://www.godaddy.com/whois/results.aspx?domain=dominionvotingsystems.com
                     Name Server:    l;jS1.DNS.COM,
                     Name Server: NS2 DNS
                                        COM
                     DNSSEC: unsigned
        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 168 of 215



                   Ovcrvi<!w • 1-)domin1onvotings.y~ttms.com



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                                                                                                          _...,,._~"-"'"""_.......,...,,                                                          ..c.,.z"r,                  •"'          __          ,...,.,..,,,,,,..,_                   ,n •~•,.. •., ..




    11. BMA Capital Management is known as a company that provides Iran access to capital
        markets with direct links publicly discoverable on Linkedln (found via google on
        11/19/2020):
         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 169 of 215




              www.linkedin.com,                          muharmnad-talha-a0759660

              Muhammad Talha - BMA Capital Management Limited
              Manager, Money Market & Fixed Income at BMA Capital Management Limited. BMA Capital...
              Manager-FMR at Pak Iran Joint Investment Company. Pakistan.
              Pakistan · Manager, Money Market & Fixed Income · BMA Capital Management Limited



     The same Robtex search confirms the Iranian address is tied to the server in the Netherlands,
     which correlates to known OSINT oflranian use of the Netherlands as a remote server (See
     Advanced Persistent Threats: APT33 and APT34):

           RECORDS
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              ¥> h,otl-1Or-en,IL(I   \'Ito Ncl~Of~ U•:
              ,._, ,t   19> ~.◄0.011 I




     12. A search of the indivisible.org network showed a subdomain which evidences the existence
         of scorecard software in use as part of the Indivisible (formerly ACORN) political group for
 )       Obama:

           mary,. DataFamlly:
                           Netwciltt
                                  Object(23resulll




     13. Each of the tabulation software companies have their own central reporting "affiliate".
        Edison Research is the affiliate for Dominion.
     14. Beanfield.com out of Canada shows the connections via co-hosting related sites, including
        dvscorp.com:
.J
              Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 170 of 215




                                                                                    This domain redirects to beanfield.com




        DNS


        A                     96.45.    l%.1va        5 Oomains


        MX                    10 br,rrnct;da.oo:11i.nionvot"ng.c,')rn.                      2 Domains

        NS                    ns29.do~?ainco,,tro1..<.or-,.                    56,979,357     Oor,1ains
                              nsJU,dQ::1oincontro1.cori~.                      56,979,357     Domains




        Co-Hosted
                                                  16.4 1'1                14


        guta.ca                                                                     ndlJg1oc:p.cu


        aiyo.._
              uaca, d1o!ou11ge.t
                              om                                                    g,anWyNCOm



    This Dominion partner domain "dvscorp" also includes an auto discovery feature, where new in-
    network devices automatically connect to the system. The following diagram shows some of the
    dvscorp.com mappings, which mimic the infrastructure for Dominion:
)   civs




                                                                                                                                 ,a,11■ 1   w+01111111
                                                        Oata[lenw:nt

                                                                  0                                                                            0
        D    dvscopr . .J' >--1' • ir                                                                          dvscopr. com


                                                                      0                                          0                             0
     D       dv.scopr.cOffl                                                                                    dvscopr. com


                                                                      0                                          0                             0
             dvscorp.    com                                                                                   dvscopr. co11


                                                  0            0                                                 0
             dvscop,•.   ~;f                                                                                   dvscopr. co:n


                                                               0                                                                               0
             dvscopr.fin.ci                                                                                    dvscopr.com




               Domain tlarr.e: OSVWRP.COM                                                                     dsvcof'p.com
    D          Registry       Domain IO: 13d773082_00MAIU_C0'1•VRSN
               Registrar       l-,'HOIS Serve,.: whoi s, bookmyname. COIT\




                                                              0                                                                                0
            le: This is the IRtHC Hhois server vl.6.2.                                                        dvscorp.   ~ 1>-='1.fr
    D       ~ Available   on web at http://whois.nic.ir/
            X Find the ter-rns and conditions     of use on http://1-Mw.nic                   ir/
             Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 171 of 215



         •   $ ....,: ...   ~o"'•"   TlOSo•(ht,               O         •   0                   0
     O   dvscopl".ca.1.li                                                       dvscopr. com


         ■   S,.,,•••Co..,_.,. llO       S♦11ch4,   ffi   t                 0

     D   dvscopr-. h<1sura-app. io                                              dvscopr-. com


         ■   S ..,,!11C,,)-,•        T~CSor<► c,     '.       0         ~   0

     D   dvscopr. rack~aze .com                                                 dvscopr.com


         ■   s~ia,~-,i-~             llOS,01t► ••   f'h 1                   0
     O   dvscopr .devices.              resinstaging.              io           dvscopr. com


         ■   s.,.,,,,..:>o"'l6•      TL0 So-<"••    rl.   t   t,            0
     D   dvscopr .c.ust .dev. thingdust . .io                                   dvscopr. com




         The above diagram shows how these domains also show the connection to Iran and other
         places, including the following Chinese domain, highlighted below:




                                  dvscopl'.         fl n. ci




    15. The auto discovery feature allows programmers to access any system while it is connected to
)        the internet once it's a part of the constellation of devices (see original Spiderfoot graph).
    16. Dominion Voting Systems Corporation in 2019 sold a number of their patents to China (via
         HSBC Bank in Canada):
       Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 172 of 215




    Assignment details for assignee "HSBCBANKCANADA,AS
    COLLATERALAGENT"
    Assignments(1total)

    Assignrnent 1




                       Reel/frurne                    Execution dale           Dale         Pages

                                                                             recorded
                      050500/0236                     Sep 25,2019                              7

                                                                             Sep 26.

                                                                              2019




                                              Conveyance

                                          SECURITYAGREEMENT




                       Assignors                             Correspondent              Attorney docket
)
        DOMINION VOTING SYSTEMSCORPORATION          CHAPMAN & CUTLERLLP
                                                           1270 AVENUEOF THE
                                                       AMERICAS,30TH FLOOR
                                                    ATTN: SORENSCHWARTZ
                                                    NEW YORK,NY 10020



                        Assignee

       HSBC BANK CANADA, AS COLLATERALAGENT

               4TH rLOOR. 70 YORKSTREET

                    TORONTO MSJ 1S9

                        CANADA
      Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 173 of 215




                                                            Properties (18)


                               Patent                               Publication       Application     PCT     International
                                                                                                               registration


                              88'1'1813                            20130306724         13476836


                             8913787                               20130301873         13470091


                             9202113                               20150071501         14539684


                             8195505                               20050247783         11121997


                             9870666                               20120232963         13463536


                             9710988                               20120259680         13525187

                                                                   20120259681         13525208


                                                                   20040238632         10811969
)
                                                                   20070012767         11526028


                                                                                       29324281


                                                                                                                        View all




    This searchable database contains all recorded Patent Assignment information from August 1980 to the

    present.


    When the USPTO receives relevant information for its assignment dat<1base,the USPTO puts the information in

    the public record and does not verify the validity of the information. Recordation is a ministeriill fonction-·the

    USPTO neither makes a determination of the legality of the transaction nor the right of the submitting party to

    take the action.


    Release 2.0.0   I Rclcu~,e Noter, I ${Jl1d   recdback   I Lcgilcy   P<1lcntAss;gnrnenl Scarcl1 I Legacy Trademark

    i\ss1g1:rncnt Search




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         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 174 of 215




     Of particular interest is a section of the document showing aspects of the nature of the patents
     dealing with authentication:

              Patent assignment 050500/0236
              SECURITY
                     AGREE
                         MEW]
              03te re-.:oro~d                                            R~::I,rra--~i:
              Sep 26 2019                                                050500/0236

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                                      co,e>:::,R,'-TON                   Sep 25 2019

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              tf53C BA'IK CANADAAS COL.ATERAL
                                            AGENT                        ChAPMAN & CUTL:'l W>
              ,n-tFtOO"    0 YOR< s• 'lEET                               1270 A\/eNUi: OFTHE A\1i:RICAS, :;oTY "LCOR
              TOi\ONTOMS! 159                                            ATTN: SC'l:N SC-IWA'lTZ
              CANADA                                                     NEW voRK NV 10020




              Properties (18 total)
                Patent                                              Publication                                           Application

                1, S~'STEMSAND M:T-IODS 'OR PRO-/ Dl'IG S:CURITYIN A '1CT1\G MACHINE
                n1.. ~rtors: JOHNPAU_HOM:V/OOJ Tt..f:J\·1A.S                        GER.MA,:: =t _Arou,
                                                          ~- K:LtNG JAJ_ JAV!OTER1NJLL

                7(11782                                             203402386J.2                                          10811969
                Sep, 2c. 2006                                       Jee 2 2004                                            \13' 30 2004

                2. SYSTEM M,--100 A'ID C:)\!~u-,,   PROGRl<I\' FO, V:)Ti: TA3U ... TION\'-'lTH .A.NEl:CHO'IIC    A•..;o.r -RA-c
                 nvertors: JOHN DCULOS.JA\1:S f-'OCV:,. N :K <O'IOM."X•.S GO'lA 'I 03.'lA)C\/ C

                3,955:JS                                            2005024778:,                                          11121997
                Jun 5 2012                                          'le•; "O. 2005                                        \lay S 2005
 )              3. SYSTEMSAND M:T-10D5 =CRPROI/Ol'<G S:CURITY 'l AVCT 'IG \1ACH\,~
                n•,•e,,tors: JOHN PAU_ YOMEWOOJ. T'-10\•!AS E. KcUI\G      'AJ,   JA'J•O TERWILLGER./.'A~:   R. _ATOU'l

               7422151                                              10070J12767                                           11526028
               Sep 9 2008                                           J3n 1e_2007                                           Sep 25, 2006

               4. 8ALcOT _E'Jh SECUR-T\' 'EA.TU~ES•OR 0'T'CAc      so,,, \IOmlG      MA(H N: CAilA3,E OE BAL.OT \!AGE PROCcSSING,ScCUR: BALLOT PRINTING ANZ>
               ,A~LOT :..AYOUT~un-rnr  CAT,ONA ';D \IER,FICAT.ON
                n,•er,tors: :RIC C00 1,1ER.L-'\RRY!(;()RS3RIA'I G..ENN t1:RMl<N




     17. Smartmatic creates the backbone (like the cloud). CTCL is responsible for the security within
        the election system.




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        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 175 of 215




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                                              vrow your to~111
                                                             on GltHub




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                 9nm t-fr<'(ldr1>




    18. In the github account for Scytl, Scytl Jseats has some of the programming necessary to
       support a much broader set of election types, including a decorator process where the data is
       smoothed, see the following diagram provided in their source code:




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        Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 176 of 215




           Candidates
                                                                      Tally
           and votes



                                                        Seat Allocation Processor
          Parameters
                                   C
                                   0                                  Filter
                                   +-J
       Seat Allocation             ro
                                   I,..
                                   :::l
          Method                   b.O
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                                   C
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                                   u
          TallyFilters             C


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          TieBreaker              <(
                                                                    Process
                                   +-J
                                   ro
)                                  (1)
                                  V)


      ResultDecorators




          Candidates
           and seats                                                 Result



    19. A point of interest for the Center for Tech and Civic Life within their github page
       (https://github.com/ctcl) is that one of the programmers for Edison Research holds a
       government position. The Bipcoop repo shows tanderegg as one of the developers, and he
       works at the Consumer Financial Protection Bureau:




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           Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 177 of 215




             P   master ....   P 1 branch          C) 0 tags



            0     tanderegg Setup db for travis


                  app

                  config



      Tim Anderegg
      tander·egg
                     Follow


      A\ 38 followers • 23 following •   *   133

      [h   Consumer Financial Protection Bureau
      0    \f\lashington DC
)
    20. As seen in included document titled
       "AA20-304A-
       Iranian _Advanced_ Persistent_ Threat_ Actor_ Identified_ Obtaining_ Voter_ Registration_ Data
       "that was authored by the Cybersecurity & Infrastructure Security Agency (CISA) with a
       Product ID of AA20-304A on a specified date of October 30, 2020, CISA and the FBI
       reports that Iranian APT teams were seen using ACUTENIX, a website scanning software, to
       find vulnerabilities within Election company websites, confirmed to be used by the Iranian
       APT teams buy seized cloud storage that I had personally captured and reported to higher
       authorities. These scanning behaviors showed that foreign agents of aggressor nations had
       access to US voter lists, and had done so recently.
    21. In my professional opinion, this affidavit presents unambiguous evidence that Dominion
       Voter Systems and Edison Research have been accessible and were certainly compromised
       by rogue actors, such as Iran and China. By using servers and employees connected with
       rogue actors and hostile foreign influences combined with numerous easily discoverable
       leaked credentials, these organizations neglectfully allowed foreign adversaries to access data
         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 178 of 215




         and intentionally provided access to their infrastructure in order to monitor and manipulate
         elections, including the most recent one in 2020. This represents a complete failure of their
         duty to provide basic cyber security. This is not a technological issue, but rather a
        governance and basic security issue: if it is not corrected, future elections in the United States
        and beyond will not be secure and citizens will not have confidence in the results.

     I declare under penalty of perjury that the forgo
     knowledge. Executed this December 16th, 2020




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                 Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 179 of 215

                                            SmartmaticSSL Certificate
    Declaration of

    Pursuant to 28 U.S.C Section 1746, I,                      make the following declaration.
    1. I am over the age of 21 years and I am under no legal disability, which would prevent me from giving this
         declaration.
    2.




    3. I am a US citizen and I reside at                       n the United States of America.
    4. Researching Smartmatic's website and reading their public manuals about the reuse of SSL certificate's, I
         started to investigate Smaitmatic's SSL certificates. Upon searching their website is currently behind
         Cloudflare yet using the same SS1:,certificate it made it easy to locate where Smartmatic's website was
         located. Smartmatic's website is in the Philippine's on their Election commission's server
         (Comelec.gov.ph).




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         Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 180 of 215

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 (

     -        11) I. IJJI   ii   ,,ttps://censys.io/domain?q=srnartmatic.com


'l
                                                     Q Websites ~          smartmatic.com




              QuickFilters                                    Websites
              For all fields, see Data Definitions            Page: 1/'I   Results: ·1 Time: 18ms


              Protocol:                                        «   comelec.gov.P-h._{172.67.165.108)
                        1 25/smtp                                     117,344          25/smtp


              Tag:
                        1 smtp
                      Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 181 of 215

        (   ~   -7   C' ~ I (D   a   1·ttps:/;censys,io/clor-,a1n/cc,melec.gov,ph



                                                             Q Websites ~                      comelec.gov.ph
    \

                       comelec.gov.ph
                        1f Summary


                       BasicInformation

                                  Alexa Rank 1 17,344

                                     Protocols 25/SMTP

                                           Tags     CID

                       443/HTTPS

                       25/SMTP
                       BannerGraband StartTLSInitiation
                                                                                                                                    i·f,jfrjf-
                                       Banner 220 sulat.comelec.gov.ph ESMTP ready.

                                         EHLO 250-sulat.comelec.gov.ph Hello worker-04.sfj.censys-scanner.com          [192.35. 168.64)
                                                    250-SIZE 52428800
                                                    250-8BITMIME
                                                    250-PIPELINING
                                                    250-ST ARTTLS
                                                    250 HELP

                                  STARTTLS
                                         220TL$00 ahead

                                              tr.~:,.·censys.iot"clc.--.1.=i1•,Jcomelec.gov.ph



                                 Censys                            Q. Websites                  ~     comelec.gov.ph

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                        TLS Handshake

                                            Version TLSvl .2

                                     Cipher Suite TLS_RSA...WITH....AES_
                                                                       128_CBc_SHA (0x002F)


                        Certificate Chain

                        ea6217e8b948ce5d847dc3067767eaf9134034024c185978a77a3f58691c68fe
J                       C=ph,L=Manila,O=Comelec,CN=cntfw02
                        C=ph,L=Manila,O=Comelec,CN=ComelecWebAdmin CA,ernailAddress=jesus.suarez@smartmatic.com
                    Case 1:21-cv-00040-CJN Document 1-113 Filed 01/08/21 Page 182 of 215



                                              §j\lM
                                             @•                       ea6217e8b940ce5d847dc306776 7eaf 9134034024c 185978a77a3f 58691 c68fe                                  i:xn.:lnd
                                                                                                                                                                                          e
              cntfw02
               •   Cerliflcate •      ~ PEM                                                                                                                        ~   RawData... Q. (Yplore ...


              Basic Information
                                                                                                                                          Browser Trust
                            Subjecl ON C=ph, L=Manlla, O=Comelec, CN=cntfw02
                                                                                                                                                     Apple   A   Untrusted
                             Issuer ON C=ph, L=Manlla, O=Comelec, CN=Comelec WebAdmln CA,
                                          ema1IAddress=Jesus.suarez@smartmallc.com                                                               Microsoft   A   Untrusted
                                   Serial Decimal: 12281028647573638623                                                                        Mozilla NSS   A   untrusted
                                          Hex. 0x;,,o6cfo7cbf05cddf

                               validity   2016·04·0912:33:00    to 2038·01·0100.00:01     (7936days, 11:27.01)

                                Names cn1fw02
                                                                                                                                          KeyUsage and Constraints
              Fingerprint
                                                                                                                                                Key Usage Content Commitment, Digital
                                                                                                                                                          Signature, Key Enclpherment
                              SHA-256 co6217eBb940ccSdB4 7dc306776 7eo f 9134034024c1 B597Bo77a3 f 58691 c6B fc

                                SHA-1 60df fo9506646cc         19604266590•lc6Bb 1 fa2a 72 f 5

                                   M05 ccd388f1476a851937cb1               f8b0bd3d12o

                                                                                                                                          CensysMetadata
              Public Key
                                                                                                                                               Updated At 2018·09·01 21:55:09
                             Key Type 204B·bll RSA,e = 65,537         --
                                                                                                                                                   Source Scan
                              Modulus     d9 :Be :aa :86 :bO :6c :91 :7b :09 :Sd :65: 10 :e6 :bd :38 :Of :c4 :5c: 16: ld:      -
                                                                                                                                                     Tags unknown,untrusted,unexpired



                                                                                                                                                     l!l     ···~*           ild\lD9~•8


                                            f j@jjiM               ea6217e8b940ce5d84 7dc306 776 7eaf 9 I 34034024c185978a77a3f 58691 c68f e
                                                                                                                                                                                          e
                      SPKI SHA-256 4039c3117b53c6736957eab9ce578c88b0bf                   19b5c f 5d6d522B107oc44dlc064        f
    )
              Signature

                            Algorithm     SHA256·RSA(1.2.B40.113549.1.1.11)

                             Signalure 48 :29 :Oa :64: fb :21 :2c :b9 :05 :90 :Be :f3 :94 :9d: fO :3a :71 :9e       :co :fa:   -


              Extensions

                           Auth Key ID 3908b6c1 f2c747e4e55f          d65f27d31a77d31640c0       (parents) (siblings)




                                                                                                                                                                                                   I
                      Subject KeyID 81o2a59750341c0c3e0bb2fa2d46b5o30c9c0d2d                     (children)

                            Key Usage Content Commi1ment.Digital Sfgnatme.Key Encipheunent

                           Constraints    Is CA: False

                                 SANS Q cntfw02



    5.   As can be seen in the images above the SSLcertificate used was registered by the email address
         jesus.suarez@smartmatic.com on the 9 th of April 2016.




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    comelec.gov.ph
      111Summary

     Attribute                                                                  Value

     25.smtp.starttls.ba!Vlff                                                   220 sulat.comelec.gov.phESMTPready.
     25.smlp.slarttls.ehlo                                                      250-sulat.comelec.gov.phHello worker-04.sfJ.censys-scanner.com
                                                                                                                                             [192 35 168 641
                                                                                250-SIZE52428800
                                                                                250-881TMIME
                                                                                250-PIPELINING
                                                                                250-STARTTLS
                                                                                250 HELP

    25.smtp.startlls.starttls                                                   220 TLSgo ahead
    25.smtp.starttls.tls.certincate.parsed.exlensions.autho,ity_key_ld          3908b6el f 2c747e4e55fd65f27d31a77d31640c0

    25.smtp.starttls.tls.cffiitlcate.parsed.exlensk>ns.bask_constrainls.is_ca   False

    25.smtp.starUls.Us.certincate.pamtd.extenstOns.koy_usage.content_c:ommitmcnt
                                                                         True
    25.smtp.starttls.tls.certincate.parsed.eitenstOns.kcy_us.ige.digitaLsignatureTrue

    25.smtp.slatltls.lls.ce,tincale.pa,sed.extenstOOs.key_usage.key_encipherment
                                                                              True
    25.smtp.starttts.tls.certifleate.pa,sed.exttilsions.key_usage.value         7

    25.smtp.starltls.tls.certincate.pa,se-d.extensions.subjtctalLnamt.dns:_names cntfw02

    25.smtp.starUts.Us.certincate.patsed,extMsioM.su~LkeyJd                     81e2a5975034t eoc3eObb2fa2d46b5e30c9cOd2d
    25.smtp.starttls.Us.certifk:ate.parsed,nngerprint_mdS                       ced388f I476a851937cbl f 8b8bd3dl 2a



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           - --------                  -----
                                NIE                    comelec.govph
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    25.smtp.startt1s.t1s.certlfk:,1te.parse<1.nn9erprinLshal                    60dffa9506646eel 960426659a4<:68blf a2a7215
)   25.sm1p.star1t1s.t1s.c-ertinc.11e.parsed.nngerprint_sha256                  ea62 I 7c8b940ce5d847dc3067767eaf9134034024c185978a77a3f58691c68f e

    25.smtp.starttls.tls.certitk:ate.parsed.issuer.common_name                  comelec WebAdrninCA

    25.smlp.slarHls.tls.certincate.parsed.issuer.country                        ph
    25.smtp.starttls.tls.certiflcate.pa,Sed.lssutt.emaitaddtess                 jesus.suarez@smartmatlc.com

    2s.smtp.startt1S.tls.«rtincate.pa,secUssuer.1ocality                        Manila

    2s.sm1p.starttfS.tls.cer1incate.pa,sed.issuer.or9aniza1ion                  Comelec

    2s.smtp.startt1s.t1s.certincate.pa,se<1.issuer_dn                           C=ph,L=Manila,O=Comelec,CN=ComelecWebAdmln CA,emallAddress=jesus.suarez@smartmatlc.com

    25.smtp.start11s.tls.certinc.tte.parsed.names                               cntfw02

    25.smlp.starttls.lls.certitk:ate.parsed.redacted                            False

    25.smtp.starttls.lls.certifk:ate.parsed.st-rial_number                      12281028647573638623
    25.smtp.starttfs.t11.certit\cate.parsed.signature.seltsigned                False

    25.smtp.starttts.tls.certif'lc:ate.parsed.stgnalure.signature_algCM'ithm.nameSHA256WithRSA

    25.smtp.starltls.tls.certincate.parsed.signature.slgnaturc_algCM'ithm.°'d   1.2.840.113549.1.t 11

    25.smtp.starttls.tls.certincate.parsed.signatwe.valid                       False

    25.smtp.starUls.lls.ceJtincate.parsed.signature.value                       SCkKZPshLLkFklZZIJ3wOn+ewPoSWCOOvllGHU2Ed05fZK07XtldeWa8rl6h6u6jTxs2/6rN5bE5qJ5cTILnd
                                                                                Gr8w4shgXTzoJyFpbnQtnhod8KRnoKdHCGeg9ucLJkOsp8i
                                                                                /RgPI/JP4HN8N5v6f7r682r8ISdN5CuTalMLJa9TuyebDUl'/eGX3GhWARdgOQIOYh8dV/4E/bp7+Vt+IOS
                                                                                /qvlOXZR6b84wSV/2ErEtJIGnlSaMOEhcAk
                                                                                /NsQa2k9NPJBE4prRbJiEAMYwcdjiGoR5rQxltvdpllOmnuF2JDgLuf7qulyPHGFLadJ3I
                                                                                                                                                  Id
                                                                                /qwWuH!QtLxvHVQQUwvxhw==
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     2s.smIp.stat1Us.t1s.certincaIe.parsed.signatute_algorilhm.name              SHA256WithRSA

     2S.smtp.starttls.us.certincate.parsed.s5gnature_algorlthm.old               1.2.840.113549.1.1.11

     25.smtp.starttls.Us.certiOcate.parstd.spki_subjecLnngerprint                Od8951ea3bd17cb530a077c61ba8d761cae184b46<19cl
                                                                                                                             87d886613e6691abec7

     25.smtp.startus.lls.certincate.pa,sed.sub:lecl.common_name                  cntfw02

     25.smtp.starllls.us.ce,tincate.parsed.slJbtect.country                      ph
     25.smtp.startll-s.Us.cer1i0cate.parseo.subject.locality                     Manila

     25.smlp.sIar1IIs.1I,.certincate.pa,sed.subject.o,ganizaIion                 Comelec

     25.smtp.slarttls.tls.cer1iOcate.parsed.subjecLdn                            C=ph,L=Manila, o,comelec, CN,cntfw02

     25.smtp.starttls.lls.certincate.parsed.subject_key_into.Onge,prinLstia256 4039e3 I 17b53c6736957eab9ce578e88b0blI 9bScl5d6d5228107ac44dle064f

     25.smtp.starttls.us.certiOcate.parsed.subjecLkeyJnfo.key_algorithm.name RSA

     25.smtp.startlls.tls.certincate.parsed.subjecLkeyJnfo.rsa_pubHc_key.exponent
                                                                             65S37

                                                                                  2048
     25.smlp.slarttls.tls.certiflcate.parsed.subjecLkey_into.rsa..public_key.lenglh

     25.smtp,starttls.tls.certitkate.pa,sed.subje,ct_key_into.,sa_public_key.modulus
                                                                                2Y6qhr8skXsJXWUQSr04j8ReFh101L548KrTelKr9F6HSHCJ72o4/HV9D6Wx9ToldoKOCxn019YbOMQ7rW
                                                                                GKiZot5+VcHJ6QbKVPIMDPdFJ36XcQy2oAB9zl3A9yuREBWIVU8UV/1
                                                                                                                                     ctkVNKH+Jgau+tHt am08ncaCFaZ
                                                                                FxYWCrylTTrkVke/X4uX6uzT
                                                                                                       +4sNN9rso
                                                                                /OMIAyebVyG2Zsk1bBfOQYu6AcE7LLJ06RXldMx5KUpXZGqykUISgE50IJRWFcpnv81'/WOdn6FfoETXZ1
                                                                                                                                                              YO
                                                                                wJbPeVOzJd3Tff,wJCEcC7oy04AyEVEVyAXgehOZ44AEs3bcRuMdrejKZk4tG97uw==

     25.smtp.slartus.tls.certiflcate.parsed.tbs_nngerprint                      ea9 t 1329B6addfSda6e2c00954b27eaf6da98I el 7d39e74b4c8cf 4aa6c673e44

     2 5.smtp.starttls.tls.certiflcata
                                    .pa,Hd.tbs_nocLnngerpc
                                                       inl                      ea91 I 32986addl5da6e2c00954b27eaf6da981el 7d39e74b4c8cf 4aa6c673e44

     25.smtp.starms.tls.certincate.parsed.validatlon.Jevet                      unknown
     25.smtp.slartll'S.tls.certincate.parsed.validity.end                       2038·0 l ·OI TOO:OO:O
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     25.smtp.starttts.tls.certincata.pa,sed.validity.length                     68S711621
 )   25.smtp.starttls.tls.certiflcate.parsed.validily.start                     2016·04·09T12:33"002

     25.smlp.starttls.tls.certincate.parffd.versk>n                             3

     2S.5mtp.starttls.Us.cipher_sui1e.id                                        Ox002F

     25.smtp.starttIs.t1s.cipher_suite.nan1v                                    TLS_RSA..WITH_AES_
                                                                                                128_CBC_SHA

     25.smtp.startlls.tls.oc:sp_stapling                                        False

     25.smtp.starttls.lls.validation.brows«_error                               x509: certificatesignedby unknownauthority

     25.smtp.s:tarttls.Us.validation.browser_trusted                            False

     25.smtp.starttls.Us.YefstOfl                                               TLSvl.2

     443.htlps.b.SUppcHt                                                        False

     443.https.clle_expo,1.support                                              False

     443.httpusa_export.support                                                 False

     atexa_rank                                                                 117344




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                                                                                25/smtp

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                        Linkedfm                      People .,..        Jesus Alberto                Suarez Mendez




                           Jesus Alberto Suarez Mendez                                         VISEO IBERIA
                           Senior Consultant at VISEO IBERIA
                           Alcorc6n, Community of Madrid, Spain · 500+ connections
                                                                                          II   Universidad de los Andes (VE)

                                                                                          tf> Blog~
                              Join to Connect




                           About
)                          DevOps SysAdmin and Information Security Professional with more than 20 years of experience.
                           Specialized in Security and IT Management, IT Risk Assessment and Management, IT architecture,
                           automatized deployments on Linux environment and cloud using DevOps tools. Very interested in
    <
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          (~        ~ ~      © iQ   M1ps,//es.linkedin.com/in;jesusalbertosuarez



                         Linkedfm                   People ,...     Jesus Alberto                       Suarez Mendez



                                     Master Information Security Specialist
                                     Smartmatic
                                     Aug 2008 - Mar 2017 · 8 years 8 months

                                     Caracas, Venezuela

                                     Design, deployment, operation and support on security of network and infrastructure in
                                     Sma11matic projects. Provide Security Architecture based on Risk Assessment. Develop Business
                                     Continuity and Disaster Recovery Plan. Perform Vulnerability assessment, ethical hacking and
                                     penetration testing. Advisor on information security issues.


                              "'~    Bancaribe
                              ~~
                               r     9 years 11 months

                                     Security Specialist
                                     Aug 2003 - Aug 2008 • 5 years 1 month
                                     Caracas, Venezuela
                                     Planification and Management of Information Security System. Vulnerability and Risk
                                     Management. Leader of risk assessment and security evaluation team on Software Development
                                     Life Cicle projects. Advisor on information security issues and methodologies. Support on
                                     Incident Response Team.

      )                              Information Security Administrator
                                     May 2001 - J\ug 003 · 2 years 4 months
                                     Caracas. Venezuela
          <

      6.      As seen from Jesus' Linked In profile, he was employed by Smartmatic as their Master Information Security Specialist
              from August 2008- March 2017, within the time frame of the registered SSLcertificate for Smartmatic and within
              Venezuela.
      7.      This evidence shows that Smartmatic was indeed connected to Venezuela as well as shows that their dealings with
              the Philippine's is still on-going as their website is in their election commission servers with matching and current
              SSLcertificates.



      I declare under penalty of perjury that the forgoing i                                                                         d
      this December 16th, 2020.




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                  DECLARATION OF

        I,                                   , hereby state the following:

             1.




             2.    I am an adult of sound mine. All statements in this declaration are based
                   on my personal knowledge and are true and correct .
                                                    ..
             3.    I am making this statement voluntarily and on my own initiative. I have
                   not been promised, nor do I expect to receive, anything in exchange for my
                   testimony and giving this statement. I have no expectation of any prnfit
                   or reward and understand that there are those who may seek to harm me
                   for what I say in this statement. I have not participated in any political
                   process in the United States, have not supported any candidate for office
                   in the United States, am not legally permitted to vote in the United
                   States, and have never attempted to vote in the United States.

             4.    I want to alert the public and let the world know the truth about the
                   corruption, manipulation, and lies being committed by a conspiracy of
,   )              people and companies intent upon betraying the honest people of the
                   United States and their legally constituted institutions and fundamental
                   rights as citizens. This conspiracy began more than a decade ago in
                   Venezuela and has spread to countries all over the world. It is a conspiracy
                   to wrongfully gain and keep power and wealth. It involves political
                   leaders, powerful companies, and other persons whose purpose is to gain
                   and keep power by changing the free will of the people and subverting the
                   proper course of governing.

             5.




             6.   Due to my training in special operations and my extensive military and
                  academic formations, I was selected for the national security guard detail
                  of the President of Venezuela.




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      7.

           -      Senor Cabello was a long-t;i1ne confederate of President Chavez and
           instrumental in his gaining power. In 2002, Senor Cabello had very b1·iefly
           taken over the duties of the p1·esidency while Hugo Chavez was
           imprisoned. Within hours of Senor Cabello taking over the presidency,
           Hugo Chavez was released from prison and 1·egained the office of
           President. On December 11, 2011, Cabello was installed as the Vice-
           President of the United Socialist Party - the party of President Chavez
           and became the second most powerful figure in the party after Hugo
           Chavez. Cabello was appointed president of the National Assembly in
           early 2012 and was re-elected to ,that post in January 2013. After Hugo
           Chavez's death, Cabello was next in line for the presidency of the country,
           but he remained president of the National Assembly and yielded to
           Nicolas Maduro holding the position of President of Venezuela.

     8.




                                                         President Chavez was very
           precise and exacting in his instructions in the details about meetings he
           wanted, where the meeting was to occur, who was to attend, what was to
           be done.




     9.



)                                                       - Page 2 of 8
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           sophisticated electronic voting syst(;lm that permitted the leaders of the
           Venezuelan government to manipulate the tabulation of votes for national
           and local elections and select the winner of those elections in order to gain
           and maintain their power.

      10. Importantly, I was a direct witness to the creation and operation of an
          electronic voting system in a conspiracy between a company known as
          Smartmatic     and the leaders of conspiracy with the Venezuelan
          government. This conspiracy specifically involved President Hugo Chavez
          Frias, the person in charge of the National Electoral Council named Jorge
          Rodriguez, and principals,        representatives,  and personnel from
          Smartmatic which included                                           . The
          purpose of this conspiracy was to create and operate a voting system that
          could change the votes in elections from votes against persons running
          the Venezuelan government to votes in their favor in order to maintain
          control of the government.

      11. In mid-February of 2009, there was a national referendum to change the
          Constitution of Venezuela to end term limits for elected officials, including
          the President of Venezuela. The referendum passed. This permitted Hugo
          Chavez to be re-elected an unlimited number of times.

)     12. After passage of the referendum, President Chavez instructed me to make
          arrangements for him to meet with Jorge Rodriguez, then President of the
          National Electoral Council, and, three executives from Smartmatic.
          Among the three Smartmatic representatives were

                         President Chavez. had multiple meetings with Rodriguez
          and the Smartmatic team at which I was present. In the first of four
          meetings, Jorge Rodriguez promoted the idea to create software that
          would manipulate elections. Chavez was very excited and made it clear
          that he would provide whatever Smartmatic needed. He wanted them
          immediately to create a voting system which would ensure that any time
          anything was going to be voted on the voting system would guarantee
          results that Chavez wanted. Chavez offered Smartmatic            many
          inducements, including large sums of money, for Smartmatic to create or
          modify the voting system so that it would guarantee Chavez would win
          every election cycle. Smartmatic's team agreed to create such a system
          and did so.

     13. I arranged and attended three more meetings between President Chavez
         and the representatives from Smartmatic at which details of the new

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          voting system were discussed ',and agreed upon. For each of these
          meetings, I communicated directly with                      on details of
          where and when to meet, where the participants would be picked up and
          delivered to the meetings, and what was to be accomplished. At these
          meetings, the participants called their project the "Chavez revolution."
          From that point on, Chavez never lost any election. In fact, he was able
          to ensure wins for himself, his party, Congress persons and mayors from
          townships.

      14. Smartmatic's electoral technology was called "Sistema de Gesti6n
          Electoral" (the "Electoral Management System"). Smartmatic was a
          pioneer in this area of computing systems. Their system provided for
          transmission of voting data over the internet to a computerized central
          tabulating center. The voting machines themselves had a digital display,
          fingerprint recognition feature to identify the voter, and printed out the
          voter's ballot. The voter's thumbprint was linked to a computerized record
          of that voter's identity. Smartmatic created and operated the entire
          system.

      15. Chavez was most insistent that Smartmatic design the system in a way
          that the system could change the vote of each voter without being
          detected. He wanted the software Itself to function in such a manner that
)         if the voter were to place their thumb print or fingerprint on a scanner,
          then the thumbprint would be tied to a record of the voter's name and
          identity as having voted, but that voter would not tracked to the changed
          vote. He made it clear that the system would have to be setup to not leave
          any evidence of the changed vote for a specific voter and that there would
          be no evidence to show and nothing to contradict that the name or the
          fingerprint or thumb print was going with a changed vote. Smartmatic
          agreed to create such a system and produced the software and hardware
          that accomplished that result for President Chavez.

          After the Smartmatic Electoral Management System was put in place, I
          closely observed several elections where the results were manipulated
          using Smartmatic software. One such election was in December 2006
          when Chavez was running against Rosales. Chavez won with a landslide
          over Manuel Rosales - a margin of nearly 6 million votes for Chavez versus
          3. 7 million for Rosales.

     17. On April 14, 2013, I witnessed another Venezuelan national election in
         which the Smartmatic Electoral· Management System was used to
         manipulate and change the results for the person to succeed Hugo Chavez

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       as President.   In that election, Nicolas Maduro ran against Capriles
       Radonsky.

      -             Inside that location was a control room in which there were
      multiple digital display screens_, TV screens-for results of voting in each
      state in Venezuela. The actual voting results were fed into that room and
      onto the displays over an internet feed, which was connected to a
      sophisticated computer system created by Smartmatic.          People in that
      room were able to see in "real time" whether the vote that came through
      the electronic voting system was in their favor or against them. If one
      looked at any particular screen, they could determine that the vote from
      any specific area or as a national total was going against either candidate.
      Persons controlling the vote tabulation computer had the ability to change
      the reporting of votes by moving votes from one candidate to another by
      using the Smartmatic software.

  18. By two o'clock in the afternoon on that election day Capriles Radonsky
      was ahead of Nicolas Maduro by two million votes. When Maduro and his
      supporters realized the size of Radonsky's lead they were worried that
      they were in a crisis mode and would lose the election. The Smartmatic
      machines used for voting in each state were connected to the internet and
      reported their information over the internet to the Caracas control center
      in real-time.    So, the decision was made to reset the entire system.
      Maduro's and his supporters ordered the network controllers to take the
      internet itself offline in practically all parts in Venezuela and to change
      the results.

 19. It took the voting system operators approximately two hours to make the
     adjustments in the vote from Ra:donsky to Maduro. Then, when they
     turned the internet back on and the on-line reporting was up and running
     again, they checked each screen state by state to be certain where they
     could see that each vote was changed in favor of Nicholas Maduro. At that
     moment the Smartmatic system .changed votes that were for Capriles
     Radonsky to Maduro. By the time the system operators finish, they had
     achieved a convincing, but narrow victory of 200,000 votes for Maduro.

      After Smartmatic created the voting system President Chavez wanted, he
      exported the software and system all over Latin America. It was sent to
      Bolivia, Nicaragua, Argentina, Ecuador, and Chile - countries that were
      in alliance with President Chavez. This was a group of leaders who
      wanted to be able to guarantee they maintained power in their countries.
      When Chavez died, Smartmatic was in a position of being the only

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           company that could guarantee .'results in Venezuelan elections for the
           party in power.

      21. I want to point out that the software and fundamental design of the
          electronic electoral system and software of Dominion and other election
          tabulating companies relies upon software that is a descendant of the
          Smartmatic Electoral Management System. In short, the Smartmatic
          software is in the DNA of every vote tabulating company's software and
          system.

      22. Dominion is one of three major companies that tabulates votes in the
           United States. Dominion uses the same methods and fundamentally same
           software design for the storage, transfer and computation of voter
          identification data and voting data. Dominion and Smartmatic did
          business together. The software, hardware and system have the same
          fundamental flaws which allow multiple opportunities to corrupt the data
          and mask the process in a way that the average person cannot detect any
          fraud or manipulation. The fact that the voting machine displays a voting
          result that the voter intends and then prints out a paper ballot which
          reflects that change does not matter. It is the software that counts the
          digitized vote and reports the results. The software itself is the one that
          changes the information electronic.ally to the result that the operator of
)         the software and vote counting system intends to produce that counts.
          That's how it is done. So the software, the software itself configures the
          vote and voting result -- changing the selection made by the voter. The
          software decides the result regardless of what the voter votes.

     23. All of the computer controlled voting tabulation is done in a closed
         environment so that the voter and any observer cannot detect what is
         taking place unless there is a malfunction or other event which causes the
         observer to question the process. I saw first-hand that the manipulation
         and changing of votes can be do:rie in real-time at the secret counting
         center which existed in Caracas, Venezuela. For me it was something
         very surprising and disturbing. I was in awe because I had never been
         present to actually see it occur and I saw it happen. So, I learned first-
         hand that it doesn't matter what the voter decides or what the paper
         ballot says. It's the software operator and the software that decides what
         counts - not the voter.

     24. If one questions the reliability of my observations, they only have to read
         the words of


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           which Smartmatic had possession 0f all the votes and the voting, the votes


          -          he was assuring that the voting system implemented or used
          by Smartmatic was completely secure, that it could not be compromised,
          was not able to be altered.
                                                                                -
           themselves and the voting information at their disposition in Venezuela.




      25. But later, in 2017 when there were elections where Maduro was running
          and elections for legislators in Venezuela, --        and Smartmatic broke
          their secrecy pact with the government of Venezuela. He made a public
          announcement through the media in which he stated that all the
          Smartmatic voting machines used during those elections were totally
          manipulated and they were manipulated by the electoral council of
          Venezuela back then. -              stated that all of the votes for Nicholas
          Maduro and the other persons running for the legislature were
          manipulated and they actually had lost. So I think that's the greatest
          proof that the fraud can be carried out and will be denied by the software
          company that-               admitted publicly that Smartmatic had created,
          used and still uses vote counting software that can be manipulated or
          altered.

      26. I am alarmed because of what is occurring in plain sight during this 2020
          election for President of the United States. The circumstances and events
          are eerily reminiscent of what ~appened with Smartmatic software
          electronically changing votes in_.. the 2013 presidential election in
          Venezuela. What happened in the United States was that the vote
          counting was abruptly stopped in five states using Dominion software. At
          the time that vote counting was stopped, Donald Trump was significantly
          ahead in the votes. Then during the wee hours of the morning, when there
          was no voting occurring and the vote count reporting was off-line,
          something significantly changed. When the vote reporting resumed the
          very next morning there was a very pronounced change in voting in favor
          of the opposing candidate, Joe Biden.

                                                          I have worked in gathering
          information, researching, and working with information technology.
          That's what I know how to do and the special knowledge that I have. Due
          to these recent election events, I contacted a number of reliable and
          intelligent ex-co-workers of mine that are still informants and work with
          the intelligence community. I asked for them to give me information that
          was up-to-date information in as far as how all these businesses are
          acting, what actions they are taking.

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    I declare under penalty of perjury that the foregoing is true and correct and that
this Declaration was prepared in Dallas County, State of Texas, and executed on
November 15, 2020.




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    Executive Orders


    Executive Order on Imposing Certain
    Sanctions in the Event of Foreign
    Interference in a United States Election
    Issued on: September 12, 2018



    By the authority vested in me as President by the Constitution and the laws of the United States
    of America, including the International Emergency Economic Powers Act (50 U.S.C. 1701 et
    seq.) (IEEPA), the National Emergencies Act (50 U.S.C. 1601 et seq.) (NEA), section 212(f) of
    the Immigration and Nationality Act of 1952 (8 U.S.C. 1 l 82(f)), and section 301 of title 3,
    United States Code,

    I, DONALD J. TRUMP, President of the United States of America, find that the ability of
    persons located, in whole or in substantial part, outside the United States to interfere in or
    undermine public confidence in United States elections, including through the unauthorized
    accessing of election and campaign infrastructure or the covert distribution of propaganda and
)   disinformation, constitutes an unusual and extraordinary threat to the national security and
    foreign policy of the United States. Although there has been no evidence of a foreign power
    altering the outcome or vote tabulation in any United States election, foreign powers have
    historically sought to exploit America's free and open political system. In recent years, the
    proliferation of digital devices and internet-based communications has created significant
    vulnerabilities and magnified the scope and intensity of the threat of foreign interference, as
    illustrated in the 2017 Intelligence Community Assessment. I hereby declare a national
    emergency to deal with this threat.

    Accordingly, I hereby order:

    Section 1. (a) Not later than 45 days after the conclusion of a United States election, the Director
    of National Intelligence, in consultation with the heads of any other appropriate executive
    departments and agencies (agencies), shall conduct an assessment of any information indicating
    that a foreign government, or any person acting as an agent of or on behalf of a foreign
    government, has acted with the intent or purpose of interfering in that election. The assessment
    shall identify, to the maximum extent ascertainable, the nature of any foreign interference and
    any methods employed to execute it, the persons involved, and the foreign government or
    governments that authorized, directed, sponsored, or supported it. The Director of National
    Intelligence shall deliver this assessment and appropriate supporting information to the President,
    the Secretary of State, the Secretary of the Treasury, the Secretary of Defense, the Attorney
    General, and the Secretary of Homeland Security.
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          (b) Within 45 days ofreceiving the assessment and information described in section 1(a) of this
          order, the Attorney General and the Secretary of Homeland Security, in consultation with the
          heads of any other appropriate agencies and, as appropriate, State and local officials, shall
          deliver to the President, the Secretary of State, the Secretary of the Treasury, and the Secretary of
          Defense a report evaluating, with respect to the United States election that is the subject of the
          assessment described in section l(a):

         (i) the extent to which any foreign interference that targeted election infrastructure materially
         affected the security or integrity of that infrastructure, the tabulation of votes, or the timely
         transmission of election results; and

         (ii) if any foreign interference involved activities targeting the infrastructure ot: or pertaining to,
         a political organization, campaign, or candidate, the extent to which such activities materially
         affected the security or integrity of that infrastructure, including by unauthorized access to,
         disclosure or threatened disclosure of, or alteration or falsification of, information or data.

         The report shall identify any material issues of fact with respect to these matters that the
         Attorney General and the Secretary of Homeland Security are unable to evaluate or reach
         agreement on at the time the report is submitted. The report shall also include updates and
         recommendations, when appropriate, regarding remedial actions to be taken by the United States
         Government, other than the sanctions described in sections 2 and 3 of this order.

         (c) Heads of all relevant agencies shall transmit to the Director of National Intelligence any
     )   information relevant to the execution of the Director's duties pursuant to this order, as
         appropriate and consistent with applicable law. If relevant information emerges after the
         submission of the report mandated by section l(a) of this order, the Director, in consultation with
         the heads of any other appropriate agencies, shall amend the report, as appropriate, and the
         Attorney General and the Secretary of Homeland Security shall amend the report required by
         section I (b), as appropriate.

         (d) Nothing in this order shall prevent the head of any agency or any other appropriate official
         from tendering to the President, at any time through an appropriate channel, any analysis,
         information, assessment, or evaluation of foreign interference in a United States election.

         (e) If information indicating that foreign interference in a State, tribal, or local election within the
         United States has occurred is identified, it may be included, as appropriate, in the assessment
         mandated by section 1(a) of this order or in the report mandated by section I (b) of this order, or
         submitted to the President in an independent report.

         (f) Not later than 30 days following the date of this order, the Secretary of State, the Secretary of
         the Treasury, the Attorney General, the Secretary of Homeland Security, and the Director of
         National Intelligence shall develop a framework for the process that will be used to carry out
         their respective responsibilities pursuant to this order. The framework, which may be classified
         in whole or in part, shall focus on ensuring that agencies fulfill their responsibilities pursuant to
         this order in a manner that maintains methodological consistency; protects law enforcement or
_)       other sensitive information and intelligence sources and methods; maintains an appropriate
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     separation between intelligence functions and policy and legal judgments; ensures that efforts to
     protect electoral processes and institutions are insulated from political bias; and respects the
     principles of free speech and open debate.

     Sec. 2. (a) All property and interests in property that are in the United States, that hereafter come
     within the United States, or that are or hereafter come within the possession or control of any
     United States person of the following persons are blocked and may not be transferred, paid,
     exported, withdrawn, or otherwise dealt in: any foreign person determined by the Secretary of
     the Treasury, in consultation with the Secretary of State, the Attorney General, and the Secretary
     of Homeland Security:

     (i) to have directly or indirectly engaged in, sponsored, concealed, or otherwise been complicit in
     foreign interference in a United States election;

     (ii) to have materially assisted, sponsored, or provided financial, material, or technological
     support for, or goods or services to or in support of, any activity described in subsection (a)(i) of
     this section or any person whose property and interests in property are blocked pursuant to this
     order; or

     (iii) to be owned or controlled by, or to have acted or purported to act for or on behalf of, directly
     or indirectly, any person whose property or interests in property are blocked pursuant to this
     order.

 )   (b) Executive Order 13694 of April 1, 2015, as amended by Executive Order 13757 of December
     28, 2016, remains in effect. This order is not intended to, and does not, serve to limit the
     Secretary of the Treasury's discretion to exercise the authorities provided in Executive Order
     13694. Where appropriate, the Secretary of the Treasury, in consultation with the Attorney
     General and the Secretary of State, may exercise the authorities described in Executive Order
     13694 or other authorities in conjunction with the Secretary of the Treasury's exercise of
     authorities provided in this order.

     (c) The prohibitions in subsection (a) of this section apply except to the extent provided by
     statutes, or in regulations, orders, directives, or licenses that may be issued pursuant to this order,
     and notwithstanding any contract entered into or any license or permit granted prior to the date of
     this order.

     Sec. 3. Following the transmission of the assessment mandated by section l(a) and the report
     mandated by section l(b):

     (a) the Secretary of the Treasury shall review the assessment mandated by section l(a) and the
     report mandated by section 1(b), and, in consultation with the Secretary of State, the Attorney
     General, and the Secretary of Homeland Security, impose all appropriate sanctions pursuant to
     section 2(a) of this order and any appropriate sanctions described in section 2(b) of this order;
     and

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       (b) the Secretary of State and the Secretary of the Treasury, in consultation with the heads of
       other appropriate agencies, shall jointly prepare a recommendation for the President as to
       whether additional sanctions against foreign persons may be appropriate in response to the
       identified foreign interference and in light of the evaluation in the report mandated by section
       I (b) of this order, including, as appropriate and consistent with applicable law, proposed
       sanctions with respect to the largest business entities licensed or domiciled in a country whose
       government authorized, directed, sponsored, or supported election interference, including at least
       one entity from each of the following sectors: financial services, defense, energy, technology,
       and transportation (or, if inapplicable to that country's largest business entities, sectors of
       comparable strategic significance to that foreign government). The recommendation shall
       include an assessment of the effect of the recommended sanctions on the economic and national
       security interests of the United States and its allies. Any recommended sanctions shall be
       appropriately calibrated to the scope of the foreign interference identified, and may include one
       or more of the following with respect to each targeted foreign person:

       (i) blocking and prohibiting all transactions in a person's property and interests in property
       subject to United States jurisdiction;

       (ii) export license restrictions under any statute or regulation that requires the prior review and
       approval of the United States Government as a condition for the expo1t or re-export of goods or
       services;

       (iii) prohibitions on United States financial institutions making loans or providing credit to a
  )    person;

       (iv) restrictions on transactions in foreign exchange in which a person has any interest;

       (v) prohibitions on transfers of credit or payments between financial institutions, or by, through,
       or to any financial institution, for the benefit of a person;

       (vi) prohibitions on United States persons investing in or purchasing equity or debt of a person;

       (vii) exclusion of a person's alien corporate officers from the United States;

       (viii) imposition on a person's alien principal executive officers of any of the sanctions described
       in this section; or

       (ix) any other measures authorized by law.

       Sec. 4. I hereby determine that the making of donations of the type of articles specified in section
       203(b)(2) of IEEPA (50 U.S.C. l 702(b)(2)) by, to, or for the benefit of any person whose
       property and interests in property are blocked pursuant to this order would seriously impair my
       ability to deal with the national emergency declared in this order, and I hereby prohibit such
       donations as provided by section 2 of this order.

·__J   Sec. 5. The prohibitions in section 2 of this order include the following:
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    (a) the making of any contribution or provision of funds, goods, or services by, to, or for the
    benefit of any person whose property and interests in property are blocked pursuant to this order;
    and

    (b) the receipt of any contribution or provision of funds, goods, or services from any such
    person.

    Sec. 6. I hereby find that the unrestricted immigrant and nonimmigrant entry into the United
    States of aliens whose property and interests in property are blocked pursuant to this order would
    be detrimental to the interests of the United States, and I hereby suspend entry into the United
    States, as immigrants or nonimmigrants, of such persons. Such persons shall be treated as
    persons covered by section 1 of Proclamation 8693 of July 24, 2011 (Suspension of Entry of
    Aliens Subject to United Nations Security Council Travel Bans and International Emergency
    Economic Powers Act Sanctions).

    Sec. 7. (a) Any transaction that evades or avoids, has the purpose of evading or avoiding, causes
    a violation of, or attempts to violate any of the prohibitions set forth in this order is prohibited.

    (b) Any conspiracy formed to violate any of the prohibitions set forth in this order is prohibited.

    Sec. 8. For the purposes of this order:

    (a) the term "person" means an individual or entity;
)
    (b) the term "entity" means a partnership, association, trust, joint venture, corporation, group,
    subgroup, or other organization;

    (c) the term "United States person" means any United States citizen, permanent resident alien,
    entity organized under the laws of the United States or any jurisdiction within the United States
    (including foreign branches), or any person (including a foreign person) in the United States;

    (d) the term "election infrastructure" means information and communications technology and
    systems used by or on behalf of the Federal Government or a State or local government in
    managing the election process, including voter registration databases, voting machines, voting
    tabulation equipment, and equipment for the secure transmission of election results;

    (e) the term "United States election" means any election for Federal office held on, or after, the
    date of this order;

    (f) the term "foreign interference," with respect to an election, includes any covert, fraudulent,
    deceptive, or unlawful actions or attempted actions of a foreign government, or of any person
    acting as an agent of or on behalf of a foreign government, undertaken with the purpose or effect
    of influencing, undermining confidence in, or altering the result or reported result of, the
    election, or undermining public confidence in election processes or institutions;
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    (g) the term "foreign government" means any national, state, provincial, or other governing
    authority, any political party, or any official of any governing authority or political party, in each
    case of a country other than the United States;

    (h) the term "covert," with respect to an action or attempted action, means characterized by an
    intent or apparent intent that the role of a foreign government will not be apparent or
    acknowledged publicly; and

    (i) the term "State" means the several States or any of the territories, dependencies, or
    possessions of the United States.

    Sec. 9. For those persons whose property and interests in property are blocked pursuant to this
    order who might have a constitutional presence in the United States, I find that because of the
    ability to transfer funds or other assets instantaneously, prior notice to such persons of measures
    to be taken pursuant to this order would render those measures ineffectual. I therefore determine
    that for these measures to be effective in addressing the national emergency declared in this
    order, there need be no prior notice of a listing or determination made pursuant to section 2 of
    this order.

    Sec. 10. Nothing in this order shall prohibit transactions for the conduct of the official business
    of the United States Government by employees, grantees, or contractors thereof.

    Sec. 11. The Secretary of the Treasury, in consultation with the Attorney General and the
)   Secretary of State, is hereby authorized to take such actions, including the promulgation of rules
    and regulations, and to employ all powers granted to the President by JEEPA as may be
    necessary to carry out the purposes of this order. The Secretary of the Treasury may re-delegate
    any of these functions to other officers within the Department of the Treasury consistent with
    applicable law. All agencies of the United States Government are hereby directed to take all
    appropriate measures within their authority to carry out the provisions of this order.

    Sec. 12. The Secretary of the Treasury, in consultation with the Attorney General and the
    Secretary of State, is hereby authorized to submit the recurring and final reports to the Congress
    on the national emergency declared in this order, consistent with section 401(c) of the NEA (50
    U.S.C. 1641(c)) and section 204(c) oflEEPA (50 U.S.C. 1703(c)).

    Sec. 13. This order shall be implemented consistent with 50 U.S.C. 1702(b)(l) and (3).

    Sec. 14. (a) Nothing in this order shall be construed to impair or otherwise affect:

    (i) the authority granted by law to an executive department or agency, or the head thereof; or

    (ii) the functions of the Director of the Office of Management and Budget relating to budgetary,
    administrative, or legislative proposals.

    (b) This order shall be implemented consistent with applicable law and subject to the availability
)   of appropriations.
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(c) This order is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable at law or in equity by any party against the United States, its
departments, agencies, or entities, its officers, employees, or agents, or any other person.

                                       DONALD J. TRUMP

THE WHITE HOUSE,

September 12, 2018.

WhiteHouse.gov
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50 U.S. Code § 1702 - Presidential authorities
(a) In general
(1) At the times and to the extent specified in section 170 I of this title, the President may, under
such regulations as he may prescribe, by means of instructions, licenses, or otherwise- (A)
investigate, regulate, or prohibit-
(i)
any transactions in foreign exchange,
(ii)
transfers of credit or payments between, by, through, or to any banking institution, to the extent
that such transfers or payments involve any interest of any foreign country or a national thereof,
(iii)
the importing or exporting of currency or securities,
by any person, or with respect to any property, subject to the jurisdiction of the United States;
(B)
investigate, block during the pendency of an investigation, regulate, direct and compel, nullify,
void, prevent or prohibit, any acquisition, holding, withholding, use, transfer, withdrawal,
transportation, importation or exportation of, or dealing in, or exercising any right, power, or
privilege with respect to, or transactions involving, any property in which any foreign country or
a national thereof has any interest by any person, or with respect to any property, subject to the
jurisdiction of the United States; and.ill
(C) when the United States is engaged in armed hostilities or has been attacked by a foreign
country or foreign nationals, confiscate any property, subject to the jurisdiction of the United
States, of any foreign person, foreign organization, or foreign country that he determines has
planned, authorized, aided, or engaged in such hostilities or attacks against the United States; and
all right, title, and interest in any property so confiscated shall vest, when, as, and upon the terms
directed by the President, in such agency or person as the President may designate from time to
time, and upon such terms and conditions as the President may prescribe, such interest or
property shall be held, used, administered, liquidated, sold, or otherwise dealt with in the interest
of and for the benefit of the United States, and such designated agency or person may perform
any and all acts incident to the accomplishment or furtherance of these purposes.
(2)
In exercising the authorities granted by paragraph (1), the President may require any person to
keep a full record of, and to furnish under oath, in the form of reports or otherwise, complete
information relative to any act or transaction referred to in paragraph (I) either before, during, or
after the completion thereof, or relative to any interest in foreign property, or relative to any
property in which any foreign country or any national thereof has or has had any interest, or as
may be otherwise necessary to enforce the provisions of such paragraph. In any case in which a
report by a person could be required under this paragraph, the President may require the
production of any books of account, records, contracts, letters, memoranda, or other papers, in
the custody or control of such person.
(3)
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Compliance with any regulation, instruction, or direction issued under this chapter shall to the
extent thereof be a full acquittance and discharge for all purposes of the obligation of the person
making the same. No person shall be held liable in any court for or with respect to anything done
or omitted in good faith in connection with the administration of, or pursuant to and in reliance
on, this chapter, or any regulation, instruction, or direction issued under this chapter.
(b) Exceptions to grant of authorityThe authority granted to the President by this section does not
include the authority to regulate or prohibit, directly or indirectly-
( 1)
any postal, telegraphic, telephonic, or other personal communication, which does not involve a
transfer of anything of value;
(2)
donations, by persons subject to the jurisdiction of the United States, of articles, such as food,
clothing, and medicine, intended to be used to relieve human suffering, except to the extent that
the President determines that such donations (A) would seriously impair his ability to deal with
any national emergency declared under section 1701 of this title, (B) are in response to coercion
against the proposed recipient or donor, or (C) would endanger Armed Forces of the United
States which are engaged in hostilities or are in a situation where imminent involvement in
hostilities is clearly indicated by the circumstances; or ill
(3)
the importation from any country, or the exportation to any country, whether commercial or
otherwise, regardless of format or medium of transmission, of any information or informational
materials, including but not limited to, publications, films, posters, phonograph records,
photographs, microfilms, microfiche, tapes, compact disks, CD RO Ms, artworks, and news wire
feeds. The exports exempted from regulation or prohibition by this paragraph do not include
those which are otherwise controlled for export under section 4604 ill of this title, or under
section 4605 [3] of this title to the extent that such controls promote the nonproliferation or
antiterrorism policies of the United States, or with respect to which acts are prohibited by chapter
37 of title 18; or
(4)
any transactions ordinarily incident to travel to or from any country, including importation of
accompanied baggage for personal use, maintenance within any country including payment of
living expenses and acquisition of goods or services for personal use, and arrangement or
facilitation of such travel including nonscheduled air, sea, or land voyages. (c) Classified
information

In any judicial review of a determination made under this section, if the determination was based
on classified information (as defined in section l(a) of the Classified Information Procedures
Act) such information may be submitted to the reviewing court ex parte and in camera. This
subsection does not confer or imply any right to judicial review.

(Pub. L. 95-223. title II.§ 203, Dec. 28, 1977, 91 Stat. 1626; Pub. L. 100-418. title TI.
§ 2502(b)(l), Aug. 23, 1988, 102 Stat. 1371; Pub. L. 103-236, title V, § 525(c)(l), Apr. 30,
I 994, I 08 Stat. 474; Pub. L. I 07-56, title I, § 106, Oct. 26, 2001, 115 Stat. 277.)
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                                      October 6, 2006

Henry M. Paulson, Jr.
Secretary
Department of the Treasury
1500 PennsylvaniaAve., N.W.
Washington, D.C. 20220

Dear Mr. Secretary:

        I am writing to follow up on my letter of May 4. 2006, to Secretary Snow, seeking review
by the Committee on Foreign Investment in the United States of the acquisition of Sequoia Voting
Systems by Smartrnatic,a foreign-ownedcompany. I believe this transaction raises exactly the sort
of foreign ownership issues that CFIUS is best positioned to examine for national securityconcerns.
As discussed below, publicly reported information about Smartmatic's ownership and about the
vulnerability of electronic voting machines to tampering raises serious concerns. I strongly urge
CFITJSto independently verify the information provided to American officials and the public by
Sequoia/Smartmatic, and to take all appropriate measures to safeguard our national security.

        It is undisputed that Smartmatic is foreign-owned and it has acquired Sequoia, one of the
three major voting machine companies doing business in the U.S. According to a Sequoia press
release in May2006 (copy attached) Sequoia voting machines were used to record over 125 million
votes during the 2004 Presidential election in the United States. As we confront another election,
Americans deserve to know that the Administration has made sure that any foreign ownership of
voting machines poses no national security threat.

       Although many press reports have tried, it appears that it is not possible to discern the true
owners of Smartmaticfrom information availableto the public. Smartmaticnow acknowledgesthat
Antonio Mugica, a Venezuelan businessman, has a controlling interest in Smartmatic, but the
company.has not revealed who all the other Smartmatic owners are. According to the press,
Smartmatic's owners arehidden through a web of off.shore private entities. (See attached articles.)

         The opaque nature of Smartmatic's ownershipis particularlytroubling since Smartmatichas
been associatedby the press with the Venezuelangovernment led by Hugo Chavez, which is openly
hostile to the United States. According to press reports, Smartmatic shared a founder, officers,
directors and a principal place of business with Bizta, a companyin which, accordingto Smartmatic,
the Venezuelan government previously held a 28% stake. Mugica is also a director of Bizta.




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   Henry M. Paulson, Jr.
   October 6, 2006
   Page2

According to Srnartmatic press releases, (copies attached) Smartmatic and Bizta were part of the
consortium that received the government contract to provide the voting machines for the 2004
referendum election to recall Chavez as Venezuela's president, and have since been awarded other
contracts by the Venezuelan government.

        Smartmatic' s possible connection to the Venezuelan government poses a potential national
security concern in the context of its acquisition of Sequoia because electronic voting machines are
susceptible to tampering and insiders are in the best position to engage in such tampering. The 2005
Government Accountability Office Report on electronic voting, GAO-05-956, and other private
sector studies consistently support this conclusion. Thus, the reports that Sequoia brought
Venezuelan nationals to the United States to work on the Chicago 2006 primary election raises
questions about whether these individuals are subject to direction from a foreign interest that might
pose a threat to the integrity of the election. Similarly, the use of Srnartmaticsoftware and machines
developed in Venezuela, such as the HAAT software ~at was at issue in Chicago, raises questions
as to whether this software is susceptible to manipulation by its unknown creators. Reportedly,
Smartmatic may soon be introducing into the United States the type of electronic voting machines
that were used (with Bizta software) in the controversial 2004 Venezuelan recall election, under the
label AVC Edge Il Plus.

        In reviewing the Smartmatic acquisition of Sequoia, it is important that CFIUS understand
the products and services that are of Venezuelan origin and evaluate Smartmatic's ownership to
determine who could have influence and control over these and other Sequoia products and services
that are in use or intended for use in U.S. elections. In light ofSmartmatic's failure fully to answer
these questions to date, this issue demands the most thorough independent investigationby CFilJS.

        Thank you for your consideration of this letter.

                                       Sincerely,




                                       ~
                                       Carolyn8a1oney
                                                      13.
                                       Member of Congress



Attachments
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                                            December6, 2019

Michael McCarthy
Chainnan
McCarth Grou        LLC



Dear Mr. McCarthy:

We are writing to request infonnation regarding McCarthy Group, LLC's (McCarthy Group)
investment in Election Systems & Software (ES&S), one of three election technology vendors
responsiblefor developing,manufacturingand maintainingthe vast majority of voting machines
and software in the United States, and to request information about your finn's structure and
finances as it relates to this company.

Some private equity funds operate lllldera model where they purchase controlling interests in
companies and implement drastic cost-cutting measures at the expenseof consumers, workers,
communities. and taxpayers. Recent examples include Toys "R" Us and Shopko.1 For that
reason, we have concerns about the spread and effect of private equity investment in many
sectors of the economy, including the election technologyindustry-an integral part of our
nation"s democraticprocess. We are particularly concerned that secretive and '"trouble-plagued
companies,"2 owned by private equity firms and responsible for manufacturingand maintaining
voting machines and other election administration equipment, "have long skimped on security in
favor of convenience,'' leaving voting systems across the country "prone to security problems."3
In light of these concerns, we request that you provide information about your fi~ the portfolio
companies in which it has invested, the perfonnance of those investments, and the ownership and
financial structure of your funds.

Over the last two decades, the election technology industry has become highly concentrated,
with a handful of consolidated vendors controlling the vast majority of the market. In the early



1 Atlantic,"The Demise ofToys 'R' Us Is a Warning."' Bryce CQ'Vert,July/August 2018 issue,
h.ltps://www,thcalan1icco r · , ·:r c/a · · noI /0 /to s-r- s-b nkru tc - rivatc- uit 15617 8,: Axios, "How
workers suffered tiomSbopko's bankruptcy while Sun Capital made money," Dan Primack. "How workers suffered
from Shopko's bankruptcy while Sun Capital made money.'' June 11, 2019, https://www.axjos.com/shopko-
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2 ProPubli(a. "The Market for Voting Machines Is Broken. This Company Has Thrived in It.," Jessica Huseman,

October 28, 2019, htt s:t,ww, . o b ·ca     arfc e/ -       e -for-votin •-m ines-is-b ken-thi.-co an - ·
thrived-in-it.
' Associated Press News, "US Election Integrity Dependson Security-Challenged Finns," Frank Bajak, October
                                                                                                         28,
2019, https://apnews.com/f6876669cb6b4e4c9850844ffle0t 5b4c.
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2000s, ahnost twenty vendors competed in the election technology market. 4 Today. three large
vendors-----ES&S,  Dominion Voting Systems, and Hart lnterCivic--collectively provide voting
machines and software that facilitate voting for over 90% of all eligib]e voters in the United
States.5 Private equity finns reportedly own or control each of these vendors, withvery limited
"information available in the public domain about their operations and financial perfonnance."6
While expertsestimate that the total revenue for election technology vendors is about $300
million, there is no publicly available information on how much those vendors dedicateto
research and development, maintenanceof voting systems, or profits and executive
compensation.7

Concentrationin the election technologymarket and the fact that vendors are often "more
seasoned in voting machine and technical services contract negotiations" than Jocalelection
officials, give these companies incredible power in their negotiations with local and state
governments. As a result, jurisdictions are often caught in expensive agreements in which the
same vendor both sells or leases, and repairs and maintains voting systems-leaving local officials
dependent on the vendor, and the vendor with little incentive to substantiallyoverhaul and
improve its products.8 In fact, the Election Assistance Commission (EAC), the primaryfederal
body responsible for developing voluntary &Uidanceon voting technology standards, advises
state and local officials to consider ''the cost to purchase or lease, operate, and maintain a voting
system over its life span ... [and to] know how the vendor(s) plan to be profitable" when signing
contracts, because vendors typically make their profits by ensuring '"that they will be arowtd to
maintain it after the sale." The EAC has warned election officials that "[i]fyou do not manage
the vendors, they will manage you." 9

Election security experts have noted for yearsthat our nation's election systems and
infrastructureare under serious threat. In January 2017, the U.S. Department of Homeland
Security designated the United States' election infrastructure as ''critical infrastructure"in order
to prioritize the protection of our elections and to more effectively assist state and local election
officials in addressing these risks.10 However, voting machines are reportedly falling apart across
the country, as vendors neglect to innovate and improve important voting systems, putting our


4
 Bloomberg, "Private Equity Controls the Gatekeepers of American Democracy," Anders Melinand ReadePickert,
November 3,201 S, hUps://www.bloomberg.com/news/articles/20   t 8-11-03/private-eguitv-controls-the-gatekeepers-
of-american-democracy.                                            .·
5 PeM WhartonPubllcPolicy Initiative,"TheBusinessofVotiog," July2018,
hqps://publj1cpolicy.
                  wharton.upenn.cdu/1ive/files/270-the-busincss-of-voting.
6Jd.
7Id.
8
  BremianCenterfor Justice,"America'sVotingMachinesat Risk,"LawrenceNordenandChristopher      Famighetti,
                                                                  AmericasVoting Machines At Risk.pdf;
20 Is, https://www.brennancenter.org/sjtes/default/files/publications/
Penn Wharton Public Policy Initiative. "The Business of Voting,"July 2018,
httJ)s://publicpolicy,
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   U.S. Election Assistance Commission, "Ten Things to Know About Selectinga Voting System." October 14,
20 I 7. https:l/www,eac.®vldocuments/2017/   I0/14/ten-things-to-know-about-selectjng-a-voting-system-
cybersecurity-votjng-systcms-voting-tcchnology/.
• 0 Department of Homeland Security, ''Statement by Secretary Jeh Johnsonon theDesignation of Election
Infrastructure as a Crltk:al Infrastructure Subsector," January 6, 2017,
https://www.dhs.gov/ncwsl2017/01/06/statement-secretary-johnson-designution-election-;n.frai,tructure-critical.
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elections at avoidable and increased risk.11 In 2015, election officials in at least 31 states,
representingapproximately40 million registeredvoters, reported that their voting machines
needed to be updated, with almost every state "using some machines that are no longer
manufactured."12 Moreover, even when state and local officials work on replacing antiquated
machines, many continue to "run on old software that will soon be outdated and more vulnerable
to hackers.'' 13

In 2018 alone ''voters in South Carolina [were] reporting machines that switchedtheir votes after
they•d inputted them, scanners [were] rejecting paper ballots in Missouri, and busted machines
 [were] causing long Jines in htdiana"t 4 In addition, researchers recently uncoveredpreviously
undisclosed vulnerabilities in '11earlythree dozen backend election systems in 10 states,"1s And,
just this year, after the Democratic candidate's electronic tally showed he received an improbable
 164 votes out of 55,000 cast in a Pennsylvaniastate judicial election in 2019, the county's
Republican Chairwomansaid, "[n)othing went right on Election Day. Everything went wrong.
That's a problem."16 These problems threaten the integrity of om elections and demonstratethe
importanceof election systems that are strong, durable, and not vulnerable to attack.

 McCarthy Group reportedly owns or has had investments in ES&S, a major election technology
vendor. In order to help us understand your firm's role in this sector, we ask that you provide
answers to the following questions no later than December 20, 2019.

           1. Please provide the disclosure documents and information enumerated in Sections 501
              and 503 of the Stop Wall Street LootingAct.11

           2. Which election technology companies, including all affiliates or related entities, does
              McCarthy Group have a stake in or own? Please provide the name of and a brief
              description of the services each company provides.

                   a. Which election technology companies, including all affiliates or related
                      entities, has McCarthy Group had a stake in or owned in the past twenty


11 AP News, "US   election integrity depends on security-challerigcdfirms," Frank Bajak, October 29, 2018,
https://apnews.com/ffi876669cb6b4c4c9850844f8e0      I Sb4c:Penn Wharton Public Policy Initiative,"The Businessof
Voting," July 2018, https://publicpolicy.wharton.upenn.edu/1ive/files/270-the-busine!ls-of-voting.
12 BrennanCenter for Justice,"America's Voting Machinesat Risk," LawrenceNorden and ChristopherFamighetti.

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is Associated Press, "AP Exclusive: New election systems use vulnerable software:;'Tami Abdotlah,July 13, 2019,
https://aonews.com/e5e070c3    l f3c497fa9e6875f426ccde  1.
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are-brokcn-and-the•1ines-are-cxtremely-long.
15 Vice, "Exclusive: CriticalU.S. ElectionSystemsHaveBeen LeftExposedOnlineDespiteOfficialDenials,"Kim
Zetter.August8, 2019, https://www.vice.com/en     us/article/3kxzk9/ex.clusjve-critica1-us-election-systems-han-
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16 New YorkTimes,"A Pennsylvania       Country'sElectionDay NightmareUnderscoresVoting MachineConcerns,"
Nick Corusaniti, Novernber30, 2019, https://www.nytimes.com/2019/1      1/30/us/politics/pennsylvania-voting-
machines.html.
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     Stop Wall StreetLootingAct, S.21ss.https://www.congress.gov/bilVl
                                                                    J6th-congress/senate-bil1/2155.
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             years? Please provide the name of and a brief description of the services each
             company provides or provided.

         b. For each election technology company McCarthy Group had a stake in or
            owned in the past twenty years, including all affiliates or related entities,
            please provide the following infonnation for each year that the firm has had a
            stake in or owned this company and the five years precedingthe finn' s
            investment.
                  1. The name of the company
                 ii. Ownership stake
               m. Total revenue
                iv. Net income
                 v. Percentage of revenue dedicated to research and development
                vi. Total number of employees
               vii. A list of all state and local jurisdictions with which the company has a
                     contract to pi:-ovideelection related products or services
              viii. Other private-equity finns that own a stake in the company

  3. Has any election technology company, including all affiliates or related entities, in
     which McCarthy Group has an ownership stake or has had an ownership stake in the
     last twenty years, been found to have been in noncompliance with the EAC's
     Voluntary Votjng System Guidelines? If so, please provide a copy of each EAC
     noncompliancenotice received by the company and a description of what steps the
     company took to resolve each issue.

  4. Has any election technology company, including all affiliates or related entities, in
     which McCarthy Group has an ownership stake or has had an ownership stake in the
     last twenty years, been found to have been  in noncompliance with any state or local
     voting system guidelines or practices? If so, please provide a list of all such instances
     and a description of what steps the company took to resolve each issue.

  5. Has any election technology company, including all affiliates or related entities, in
     which McCarthy Group has an ownership stake or has had an ownership stake in the
     last twenty years, been found to have violated any federal or state laws or
      regulations? If so, please provide a complete list, including the date and description,
      of all such violations.

  6. Has any election technology company, including all affiliates or related entities, in
     which McCarthyGroup has an ownership stake or has had an ownership stake in the
     last twenty years,reached a settlement with any federal or state law enforcement
     entity related to a potential violation of any federal or state laws or regulations? If so,
     please provide a complete list, including the date and description, of ansuch
     settlements.

  7. Has any election technology company, h1cludingall affiliates or related entities, in
     which McCarthy Group has an ownership stake or has had an ownership stake in the

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          includingthe date and description,of all such settlements.

Thank you for your attentionto this matter.

                                          Sincerely,




 ElizabethWarren
 United States Senator                          United States Senator




 Ron Wyden                                      Mark Pocan
 United States Senator                          Member of Congress




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                                              December 6, 2019

Sami Mnaymneh
Founderand Co-Chief ExecutiveOfficer
H.I.G.Capital, LLC



Tony Tamer
Founder and Co-Chief Executive Officer
H.I.G. Ca ital. LLC



Dear Messrs. Mnaymneh and Tamer:

We are writing to request information regarding H.I.G: Capital's (H.I.G.) investment in Hart
InterCivicInc. (Hart InterCivic) one of three election technology vendors responsible for
developing,manufacturingand maintainingthe vasi majority of voting machines and software in
the United States, and to request informationabout your firm's structure and finances as it relates
to this company.

Some private equity funds operate under a model where they purchase controlling interests in
companiesand implement drastic cost-cuttingmeasures at the expense of consumers,workers,
communities,and taxpayers. Recent examples include Toys ''R" Us and Shopko.1 For that
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1   Atlantic."The Demise ofToys 'R' Us Is a Warning," Bryce Covert, July/August2018 issue,
It  ··//y. \\ w theatla til.:.com/ma ,azine/archive/2018/07/to    s-r-us- · kru tc - rivatc-c uit · 175 , ; Axios, "How
workers suffered from Sbopko's bankruptcywhileSun Capital made money," Dan Primack, "How worken suffered
from Shopko'sbankrupn:ywhi1eSun Capitalmade money," June 11, 2019, https://www.axio:;.com/shopko-
bankruptc;y-sUQ:£api1a1-547b97ba-90       tc-420l-92cc-6d3    I 68357fa3.htmt.
2 ProPublh:a."TheMarketfor Voting Ma.chinesIs Broken. This Company Has Thrived in It.," Jessica Huseman,

October 28, 2019, https://www.propuhlica.org/article/the-market-for-voting-machincs-js-brokcn-this-company-has-
thrived-in-jt.
J   Associated Press News, "US Election lntegrity Depends on Security-ChallengedFirms," Frank Bajak. October 28,
2019, https://apnews.com/f6876669cb6b4c4c9850844f8eQ15b4c.
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November3, 2018, tt s: 'Ww\\ o 1b r, co 1/n , , 'artic s/.20I - 1-03/ riva -e ui -contra -the• atckec ers-
of-americall:democracy.                                  .,
$ PennWhartonPublicPolicyInitiative,"TheBusinessof Voting,''July2018,
https://publjcpolicy,wharton.uoenn.edu/livc/filcs/270-the:busincss-of-voting.
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  Id.
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• BrennanConterforJustice,••America's VotingMachinesat Risk,"LawrenceNordenandChristopher      Famighetti,
                                                                           Voting Machines At Rlsk.pdf;
2015, https://www.brcnnancenter.org/sites/default/flles/publications/Americas
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9 U.S. Election AssistanceCommission,"Ten Things to Know AboutSelecting a Voting System," October14,

2017, https://www.eac.gov/documents/2017 /l 0/14/ten-things-to-know-about-selecting-a-voting-system-
cybersecurity-voting-svstems-voting.-technology/.
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              H.I.G. have a stake in or own? Please provide the name of and a brief description of
              the services each company provides.

10
   Departmentof Homeland Security,"Statement by SecretaryJeh Johnson on the Designationof Election
Infrastructureas a Critical lntrastructun, Subsector,"
                                                    January6, 2017,
hnps://www.dhs.gov/news/20      11101/06/statcment-secrctarv-johnson-designarion-election
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11 AP News, "US election integrity depends on security-challengedfirms," Frank Bajnk, October 29, 2018,

https://apncws,com/f6876669cb6b4c4c9850844f8e015b4c;      Penn Wharton Public Polley Initiative,..The Businessof
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11 BreMari Center for Justice, "America's Voting Machines at Risk," LawrenceNorden and Christopher Famighctti,
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        https://www.brennancenter,org/sites/default/files/pyblicatjons/Amerjcas
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                                          1.
14 Vice, "Here's Why AJIthe Voting MachinesAre Broken and the Lines Are ExtremelyLong,"Jason Koehler and
MatthewGault, November6, 2018, httl)s://www,vice.com/en us/article/59yzgn/heres-why-all-thc-yotini-mach.ines-
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         a. Which election technologycon,.panies.includingall affiliates or related
            entities, has H.I.G. had a stake in pl' owned in the past twenty years? Please
            provide the name of and a brief description of the serviceseach company
            provides or provided.

         b. For each election technologycompany H.I.G. had a stake in or owned in the
            past twenty years, including all·affiliates or related entities, please provide the
            followinginformationfor each year that the finn has had a stake in or owned
            this company and the five years preceding the finn's investment.
                  i. The name of the company
                 ii. Ownershipstake
               m. Total revenue
                iv. Net income
                 v. Percentageof revenue ded~catedto researchand development
                vi. Total numberof employees
               vii. A list of all state and local Jurisdictionswith which the company has a
                     contract to provide election related products or services
              viii. Other private-equityfirms ihat own a stake in the company

  3. Has any election technologycompany, including all affiliatesor related entities, in
     which H.I.G. has an ownership stake or bas had an ownershipstake in the last twenty
     years, been fotmd to have been in noncompliancewith the EAC's Voluntary Voting
     System Guidelines?If so, please provide a copy of each EAC noncompliancenotice
     received by the company and a description of what steps the companytook to resolve
     each issue.

  4. Has any election technology company, including all affiliatesor related entities, in
     which H.I.G. has an ownershipstake or ~as had an ownershipstake in the last twenty
     years, been found to have been in noncompliance with any state or local voting
     system guidelines or practices? If so. please provide a list of all such instances and a
     description of what steps the company took to resolve each issue.

     Has any election technologycompany, including all affiliatesor related entities, in
     which H.I.G. has an ownershipstake or h~ had an ownershipstake in the last twenty
     years, been foundto have violatedany federal or state laws or regulations? If so,
     please provide a complete list, includingthe date and description,of all such
     violations.

  6. Has any election technologycompany, including all affiliatesor related entities, in
     which H.I.G. has an ownership stake or has had an ownershipstake in the last twenty
     years, reached a settlementwith any federal or state law enforcemententity relatedto
     a potential violation of any federal or statelaws or regulations?If so, please provide a
     complete list. including the date and description, of all such settlements.



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       7. Has any election technologycompany, including all affiliates or related entities, in
          which H.I.G. has an ownershipstake or.has had an ownershipstake in the past twenty
          years,reached a settlement with any state or local jurisdiction related to a potential
          violationof or breach of contract? If so, please provide a complete list, including the
          date and description,of aUsuch settlements.

Thank you for your attention to this matter.

                                           Sincerely,




 Elizabeth Warren
 United States Senator



                                                 M~---
 Ron Wyden
 UnitedStates Senator                            Me~ber of Congress




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